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    UNITED STATES BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF
                             TEXAS, DALLAS DIVISION
In Re: Highland Capital Management, L.P § Case No. 19-34054-SGJ11
Charitable DAF Fund, L.P et al
                          Appellant       §
vs.                                       §         21-03067
Highland Capital Management, L.P          §

                            Appellee              §           3:23-CV-01503-B
  [167] Order granting Defendant Highland Capital Management, L.P.'s Renewed motion to dismiss
adversary proceeding (related document # 122) Entered on 6/25/2023.

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PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No. 143717)
Robert J. Feinstein (NY Bar No. 1767805)
John A. Morris (NY Bar No. 266326)
Gregory V. Demo (NY Bar No. 5371992)
Judith Elkin (TX Bar No. 06522200)
Hayley R. Winograd (NY Bar No. 5612569)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD PLLC
Melissa S. Hayward
Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for Highland Capital Management, L.P.



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                       §
 CHARITABLE DAF FUND, L.P., AND CLO
                                                       §
 HOLDCO LTD.,
                                                       §
                                                       §
                                  Plaintiffs,
                                                       § Case No. 3:21-cv-00842-B
                                                       §
 vs.
                                                       §
                                                       §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                       §
 HIGHLAND HCF ADVISOR, LTD., AND
                                                       §
 HIGHLAND CLO FUNDING, LTD.,
                                                       §
                                                       §
                                  Defendants.

                DEFENDANT HIGHLAND CAPITAL MANAGEMENT, L.P.’S
                        MOTION TO DISMISS COMPLAINT

        Highland Capital Management, L.P., the plaintiff in the above-captioned case (the

“Debtor” or “Highland”), by and through its undersigned counsel, files this motion (the “Motion”)



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seeking entry of an order dismissing the Original Complaint [Docket No. 1] (the “Complaint”)

filed by Plaintiffs Charitable DAF Fund, L.P. (the “DAF”) and CLO Holdco, Ltd. (“CLOH”)

(together, “Plaintiffs”). In support of its Motion, the Debtor states as follows:

                                     JURISDICTION AND VENUE

       1.      This Court has jurisdiction over the Motion pursuant to section 1331 and 1367 of

title 11 of the United States Code (the “Bankruptcy Code”).

       2.      Venue is proper in this judicial district pursuant to 28 U.S.C. § 1409.

       3.      The predicates for the relief requested in the Motion are 28 U.S.C. § 1391.

                                         RELIEF REQUESTED

       4.      The Debtor requests that this Court issue the proposed form of order attached as

Exhibit A (the “Proposed Order”) pursuant to Rule 12(b) of the Federal Rules of Civil Procedure.

       5.      For the reasons set forth more fully in Defendant Highland Capital Management,

L.P.’s Memorandum of Law in Support of Motion to Dismiss Complaint (the “Memorandum of

Law”), filed contemporaneously with this Motion, the Debtor requests that the Court: (a) dismiss

the Complaint in its entirety and (b) grant the Debtor such other and further relief as the Court

deems just and proper under the circumstances.

       6.      In accordance with Rule 7.1 of the Local Civil Rules of the United States District

Court for the Northern District of Texas (the “Local Rules”), contemporaneously herewith and in

support of this Motion, the Debtor is filing: (a) its Memorandum of Law, and (b) the Appendix in

Support of Defendant Highland Capital Management L.P.’s Motion to Dismiss the Complaint (the

“Appendix”) together with the exhibits annexed thereto.




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       7.      Based on the exhibits annexed to the Appendix, and the arguments contained in the

Memorandum of Law, the Debtor is entitled to the relief requested herein as set forth in the

Proposed Order.

       8.      Notice of this Motion has been provided to all parties. The Debtor submits that no

other or further notice need be provided.

       WHEREFORE, the Debtor respectfully requests that the Court (i) enter the Proposed Order

substantially in the formed annexed hereto as Exhibit A granting the relief requested herein, and

(ii) grant the Debtor such other and further relief as the Court may deem proper.




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 Dated: May 27, 2021                PACHULSKI STANG ZIEHL & JONES LLP

                                    Jeffrey N. Pomerantz (CA Bar No. 143717)
                                    Robert J. Feinstein (NY Bar No. 1767805)
                                    John A. Morris (NY Bar No. 266326)
                                    Gregory V. Demo (NY Bar No. 5371992)
                                    Judith Elkin (TX 06522200)
                                    Hayley R. Winograd (NY Bar No. 5612569)
                                    10100 Santa Monica Blvd., 13th Floor
                                    Los Angeles, CA 90067
                                    Telephone: (310) 277-6910
                                    Facsimile: (310) 201-0760
                                    Email: jpomerantz@pszjlaw.com
                                            rfeinstein@pszjlaw.com
                                            jmorris@pszjlaw.com
                                            gdemo@pszjlaw.com
                                            jelkin@pszjlaw.com
                                            hwinograd@pszjlaw.com

                                    -and-
                                    HAYWARD PLLC
                                    /s/ Zachery Z. Annable
                                    Melissa S. Hayward
                                    Texas Bar No. 24044908
                                    MHayward@HaywardFirm.com
                                    Zachery Z. Annable
                                    Texas Bar No. 24053075
                                    ZAnnable@HaywardFirm.com
                                    10501 N. Central Expy, Ste. 106
                                    Dallas, Texas 75231
                                    Tel: (972) 755-7100
                                    Fax: (972) 755-7110
                                    Counsel for Highland Capital Management, L.P.




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                                 EXHIBIT A




                                                                      001200
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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

                                                           §
    CHARITABLE DAF FUND, L.P., AND CLO
                                                           §
    HOLDCO LTD.,
                                                           §
                                                           §
                                 Plaintiffs,
                                                           § Case No. 3:21-cv-00842-B
                                                           §
    vs.
                                                           §
                                                           §
    HIGHLAND CAPITAL MANAGEMENT, L.P.,
                                                           §
    HIGHLAND HCF ADVISOR, LTD., AND
                                                           §
    HIGHLAND CLO FUNDING, LTD.,
                                                           §
                                                           §
                                 Defendants.

                 ORDER GRANTING MOTION TO DISMISS COMPLAINT

          Before the Court is Defendant Highland Capital Management L.P.’s Motion to Dismiss the

Complaint [Docket No. __] (the “Motion”). 1 Having considered: (a) the Motion; (b) Defendant

Highland Capital Management, L.P.’s Memorandum of Law in Support of Motion for an Order to

Enforce the Order of Reference [Docket No. __] (the “Memorandum of Law”); and (c) the

Appendix in Support of Highland Capital Management’s Motion to Dismiss the Complaint [Docket

No. __] (the “Appendix”) and the exhibits annexed thereto; and this Court having jurisdiction over

this matter pursuant to 28 U.S.C. § 1331; and this Court having found that venue of this proceeding

and the Motion in this District is proper pursuant to 28 U.S.C. § 1391; and this Court having found

that the Complaint should be dismissed in its entirety because: (a) the Claims asserted therein are

barred by the doctrine of res judicata; (b) the Claims are barred by the doctrine of judicial estoppel;

and (c) the Complaint fails to allege any Claim for relief that is plausible for relief under Rule

12(b)(6) of the Federal Rules of Civil Procedure; and this Court having found that the Debtor’s


1
 Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to them in the
Memorandum of Law.



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notice of the Motion and opportunity for a hearing on the Motion were appropriate under the

circumstances and that no other notice need be provided; and this Court having determined that

the legal and factual bases set forth in the Motion establish good cause for the relief granted herein;

and upon all of the proceedings had before this Court; and after due deliberation and sufficient

cause appearing therefor and for the reasons set forth in the record on this Motion, it is HEREBY

ORDERED THAT:

       1.      The Motion is GRANTED as set forth herein.

       2.      This Complaint is dismissed in its entirety.



   It is so ordered this ______ day of ________________, 2021.



                                               ____________________________________
                                               The Honorable Jane J. Boyle
                                               United States District Judge




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PACHULSKI STANG ZIEHL & JONES LLP
Jeffrey N. Pomerantz (CA Bar No. 143717)
Robert J. Feinstein (NY Bar No. 1767805)
John A. Morris (NY Bar No. 266326)
Gregory V. Demo (NY Bar No. 5371992)
Judith Elkin (TX Bar No. 06522200)
Hayley R. Winograd (NY Bar No. 5612569)
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910
Facsimile: (310) 201-0760

HAYWARD PLLC
Melissa S. Hayward
Texas Bar No. 24044908
MHayward@HaywardFirm.com
Zachery Z. Annable
Texas Bar No. 24053075
ZAnnable@HaywardFirm.com
10501 N. Central Expy, Ste. 106
Dallas, Texas 75231
Tel: (972) 755-7100
Fax: (972) 755-7110

Counsel for Highland Capital Management, L.P.

                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 CHARITABLE DAF FUND, L.P., AND CLO                 §
 HOLDCO LTD.,                                       §
                                                    § Case No. 3:21-cv-00842-B
                                  Plaintiffs,       §
                                                    §
 vs.                                                §
                                                    §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                 §
 HIGHLAND HCF ADVISOR, LTD., AND                    §
 HIGHLAND CLO FUNDING, LTD.,                        §
                                                    §
                                  Defendants.       §

       APPENDIX IN SUPPORT OF HIGHLAND CAPITAL MANAGEMENT, L.P.’S
                     MOTION TO DISMISS THE COMPLAINT




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           Highland Capital Management, L.P., a defendant in the above-captioned case (the “Debtor”

or “Highland”), hereby files this appendix in support of Highland Capital Management, L.P.’s

Motion to Dismiss the Complaint (the “Motion”). 1

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    Appx.                                                 Description


               HarbourVest 2017 Global Fund L.P. Proof of Claim No. 143, HarbourVest 2017
               Global AIF L.P., Proof of Claim No. 147, HarbourVest Dover Street IX Investment
       1       L.P., Proof of Claim No. 150, HV International VIII Secondary L.P., Proof of Claim
               No. 153, HarbourVest Skew Base AIF L.P., Proof of Claim No. 154, and HarbourVest
               Partners L.P., Proof of Claim No, 149.
               Motion for Entry of an Order Approving Settlement with HarbourVest (Claim Nos.
       2       143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent Therewith [Docket
               No. 1625]
               Settlement Agreement and Transfer Agreement for Ordinary Shares of Highland CLO
       3
               Funding, Ltd. [Docket No. 1631-1]
               Objection to the Debtor’s Motion for Entry of an Order Approving Settlement with
       4
               HarbourVest, [Docket No. 1697]
               Objection to the Debtor’s Motion for Entry of an Order Approving Settlement with
       5       HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions
               Consistent Therewith [Docket No. 1706]
       6       Objection to HarbourVest Settlement [Docket No. 1707]
       7       Deposition Transcript of Michael Pugatch, January 21, 2021
               Omnibus Reply in Support of Debtor’s Motion for Entry of an Order Approving
       8       Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and
               Authorizing Actions Consistent Therewith [Docket No. 1731]
       9       Hearing Transcript, January 14, 2021
               Order Approving Debtor’s Settlement with HarbourVest (Claim Nos. 143, 147, 149,
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               150, 153, 154) and Authorizing Actions Consistent Therewith [Docket No. 1788]
      11       Original Complaint, Case No. 21-00842-B, Docket No. 1 (N.D. Tex. Apr. 12, 2001)
      12       Deposition Transcript of Grant Scott, January 21, 2021
      13       Members Agreement, November 15, 2017


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    All capitalized terms used but not defined herein have the meanings given to them in the Motion.


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 Dated: May 27, 2021                PACHULSKI STANG ZIEHL & JONES LLP

                                    Jeffrey N. Pomerantz (CA Bar No. 143717)
                                    Robert J. Feinstein (NY Bar No. 1767805)
                                    John A. Morris (NY Bar No. 266326)
                                    Gregory V. Demo (NY Bar No. 5371992)
                                    Judith Elkin (TX Bar No. 06522200)
                                    Hayley R. Winograd (NY Bar No. 5612569)
                                    10100 Santa Monica Blvd., 13th Floor
                                    Los Angeles, CA 90067
                                    Telephone: (310) 277-6910
                                    Facsimile: (310) 201-0760
                                    Email: jpomerantz@pszjlaw.com
                                            rfeinstein@pszjlaw.com
                                            jmorris@pszjlaw.com
                                            gdemo@pszjlaw.com
                                            jelkin@pszjlaw.com
                                            hwinograd@pszjlaw.com

                                    -and-

                                    HAYWARD PLLC
                                    /s/ Zachery Z. Annable
                                    Melissa S. Hayward
                                    Texas Bar No. 24044908
                                    MHayward@HaywardFirm.com
                                    Zachery Z. Annable
                                    Texas Bar No. 24053075
                                    ZAnnable@HaywardFirm.com
                                    10501 N. Central Expy, Ste. 106
                                    Dallas, Texas 75231
                                    Tel: (972) 755-7100
                                    Fax: (972) 755-7110

                                    Counsel for Highland Capital Management, L.P.




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                              APPENDIX 




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 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
                                  HarbourVest 2017 Global Fund L.P.
   creditor?
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               HarbourVest 2017 Global Fund L.P.                                               See summary page
   creditor be sent?
                                 Attn: Erica Weisgerber
                                 Name                                                                            Name
                                 Debevoise  and Plimpton LLP
    Federal Rule of              919 Third Avenue
    Bankruptcy Procedure         Number   Street                                                                 Number          Street
    (FRBP) 2002(g)               New York, NY 10022, U.S.A.
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone      2129096000                                                   Contact phone       6173483773
                                 Contact email      eweisgerber@debevoise.com                                    Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
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                                                                                        1443
12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director - Company: HarbourVest 2017 Global Fund L.P., by Harbo
                                  Company                    by HarbourVest GP LLC, its General Partner, by HarbourVest Partners, LL
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




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                              Document  Electronic
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                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
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       District:
               1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ
       Creditor:                                                        Has Supporting Documentation:
               +DUERXU9HVW*OREDO)XQG/3                               <HVVXSSRUWLQJGRFXPHQWDWLRQVXFFHVVIXOO\XSORDGHG
               $WWQ(ULFD:HLVJHUEHU                                   Related Document Statement:
               'HEHYRLVHDQG3OLPSWRQ//3
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              86$
              Phone:                                                    Filing Party:
                                                                      $XWKRUL]HGDJHQW
              Phone 2:

              Fax:

              Email:
              HZHLVJHUEHU#GHEHYRLVHFRP
       Disbursement/Notice Parties:
              +DUERXU9HVW*OREDO)XQG/3FR+DUERXU9HVW
              3DUWQHUV//&

              2QH)LQDQFLDO&HQWHU

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              Phone:
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              Phone 2:

              Fax:

              E-mail:
              DJRUHQ#KDUERXUYHVWFRP
              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                    Amends Claim:
                                                                                1R
                                                                        Acquired Claim:
                                                                                1R
       Basis of Claim:                                                  Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                         1R
       Total Amount of Claim:                                           Includes Interest or Charges:
              6HH$QQH[                                                         1RQH
       Has Priority Claim:                                              Priority Under:
              1R
       Has Secured Claim:                                               Nature of Secured Amount:
              1R                                                        Value of Property:
       Amount of 503(b)(9):                                             Annual Interest Rate:
              1R
                                                                        Arrearage Amount:
       Based on Lease:
              1R                                                        Basis for Perfection:
       Subject to Right of Setoff:                                      Amount Unsecured:
              1R
       Submitted By:
              0LFKDHO3XJDWFKRQ$SUSP(DVWHUQ7LPH
       Title:
              0DQDJLQJ'LUHFWRU&RPSDQ\+DUERXU9HVW*OREDO)XQG/3E\+DUERXU9HVW*OREDO$VVRFLDWHV/3LWV*HQ
              3DUWQHU
       Company:
              E\+DUERXU9HVW*3//&LWV*HQHUDO3DUWQHUE\+DUERXU9HVW3DUWQHUV//&LWV0DQDJLQJ0HPEHU


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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


In re:                                           Chapter 11

Highland Capital Management, L.P.                Case No. 19-34054 (SGJ)

                      Debtor.




                                ANNEX TO PROOF OF CLAIM

         1.   This annex (the “Annex”) is part of and is incorporated by reference into the

attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

detail the claims of HarbourVest 2017 Global Fund L.P. (the “Claimant”) against the debtor

Highland Capital Management, L.P. (the “Debtor”).

         2.   The Claimant is a limited partner in one of the Debtor’s managed vehicles,

Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis

Capital Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for chapter

11 in the United States Bankruptcy Court for the Northern District of Texas (the “Court”) on

January 30, 2018. The Acis bankruptcy filing resulted from a dispute between Debtor and its

former employee, Joshua Terry, who served as portfolio manager for Debtor’s collateral loan

obligations funds (“CLO”) business. See, e.g., Findings of Fact and Conclusions of Law in

Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy Petition

(“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118]. As noted in more

detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A) Final Approval of

Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third Amended Joint Plan

(“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and related filings in the Acis




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bankruptcy cases, there has been extensive litigation regarding alleged improper conduct

associated with the management of, and transactions relating to, Acis, including transactions

with and related to HCLOF.         See, e.g., id.; Second Amended Complaint [Case No. 18-

03078(SGJ), Dkt. No. 157].

       3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

includes, but is not limited to, financial harm resulting from, among other things (i) court orders

in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

(ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

       4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

connection with and relating to the foregoing harm, including for any amounts due or owed

under the various agreements with the Debtor in connection with HCLOF (including, but not

limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

action relating to the foregoing harm.

       5.      The Claimant has not attached the documentation supporting this Claim to this

Proof of Claim because the documentation is voluminous and the Debtor has copies of such




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documents.    However, any requested relevant documents will be provided to the Official

Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

event of a dispute regarding this Proof of Claim and will be made available for review by other

parties in interest as appropriate upon reasonable request and after consultation with the Debtor

and execution of appropriate confidentiality agreements.

       6.      This Proof of Claim is filed with a full reservation of rights, including the right to

amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

release of any of the Claimant’s rights against any person, entity or property accruing to it

against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

§ 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

any of the claims described herein, or any objection or other proceeding commenced with respect

to any of the claims described herein, or any other proceeding commenced in the Debtor’s

chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

orders entered only after de novo review by a United States District Judge; (f) an election of

remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

withdrawal of the reference with respect to any matter, including, without limitation, any matter

relating to this Proof of Claim.

       7.      Claimant’s express reservation of all rights and causes of action, includes, without

limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,




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as well as defenses, offsets and counterclaims. This description and classification of claims by

the Claimant is not a concession or admission as to the correct characterization or treatment of

any such claims or a waiver of any rights of the Claimant.

       8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

of claim for additional claims that may be based on the same or additional documents or facts or

other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

(b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

claims or rights of payment described above and any additional amounts; and (e) seek recovery

through any relevant third parties, including any of the Debtor’s insurance coverage providers.

       9.      This Proof of Claim does not encompass all claims that the Claimant or its

affiliates may have that arise after the Petition Date and are entitled to administrative priority,

and the Claimant expressly reserves its right to file such claim or any similar claim at the

appropriate time, including any such post-petition claims arising under these service contracts.

       10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

additional proofs of claim or requests for payment with respect to any other indebtedness,

liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

amendment or other action, waive any rights with respect to any scheduled claim.

       11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

for this Proof of Claim (including adding any additional contracts, agreements, obligations or




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other relationships between the Claimant and the Debtor), as well as the right to file any separate

or additional proofs of claim with respect to the claims set forth herein or otherwise, including

for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

to file additional proofs of claim in respect of additional amounts or for any other reason.

       12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

than with respect to this Proof of Claim against the Debtor, and does not waive or release any

rights or remedies against any other person or entity that may be liable for all or part of this

Proof of Claim.

       13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

       14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



                                                ***




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                                                                                        1451
 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
                                  HarbourVest 2017 Global AIF L.P.
   creditor?
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               HarbourVest 2017 Global AIF L.P.                                                See summary page
   creditor be sent?
                                 Attn: Erica Weisgerber
                                 Name                                                                            Name
                                 Debevoise  and Plimpton LLP
    Federal Rule of              919 Third Avenue
    Bankruptcy Procedure         Number   Street                                                                 Number          Street
    (FRBP) 2002(g)               New York, NY 10022, U.S.A.
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone      2129096000                                                   Contact phone       6173483773
                                 Contact email      eweisgerber@debevoise.com                                    Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director-Company: HarbourVest 2017 Global AIF L.P., by HarbourV
                                  Company                    Inv Fund Mgr, by HarbourVest Partners L.P., its Duly Appointed Investme
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




 Official Form 410                                                        Proof of Claim
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                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
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               1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ
       Creditor:                                                         Has Supporting Documentation:
               +DUERXU9HVW*OREDO$,)/3                                 <HVVXSSRUWLQJGRFXPHQWDWLRQVXFFHVVIXOO\XSORDGHG
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              86$
              Phone:                                                     Filing Party:
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              Phone 2:

              Fax:

              Email:
              HZHLVJHUEHU#GHEHYRLVHFRP
       Disbursement/Notice Parties:
              +DUERXU9HVW*OREDO$,)/3FR+DUERXU9HVW
              3DUWQHUV//&

              2QH)LQDQFLDO&HQWHU

              %RVWRQ0$

              Phone:
              
              Phone 2:

              Fax:

              E-mail:
              DJRUHQ#KDUERXUYHVWFRP
              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                     Amends Claim:
                                                                                 1R
                                                                         Acquired Claim:
                                                                                 1R
       Basis of Claim:                                                   Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                          1R
       Total Amount of Claim:                                            Includes Interest or Charges:
              6HH$QQH[                                                          1RQH
       Has Priority Claim:                                               Priority Under:
              1R
       Has Secured Claim:                                                 Nature of Secured Amount:
              1R                                                          Value of Property:
       Amount of 503(b)(9):                                               Annual Interest Rate:
              1R
                                                                          Arrearage Amount:
       Based on Lease:
              1R                                                          Basis for Perfection:
       Subject to Right of Setoff:                                        Amount Unsecured:
              1R
       Submitted By:
              0LFKDHO3XJDWFKRQ$SUSP(DVWHUQ7LPH
       Title:
              0DQDJLQJ'LUHFWRU&RPSDQ\+DUERXU9HVW*OREDO$,)/3E\+DUERXU9HVW3DUWQHUV,UHODQG/LPLWHGLWV$OWHUQDWLYH
       Company:
              ,QY)XQG0JUE\+DUERXU9HVW3DUWQHUV/3LWV'XO\$SSRLQWHG,QYHVWPHQW0DQDJHUE\+DUERXU9HVW3DUWQHUV//&LWV*HQ3WU




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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


In re:                                           Chapter 11

Highland Capital Management, L.P.                Case No. 19-34054 (SGJ)

                      Debtor.




                                ANNEX TO PROOF OF CLAIM

         1.   This annex (the “Annex”) is part of and is incorporated by reference into the

attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

detail the claims of HarbourVest 2017 Global AIF L.P. (the “Claimant”) against the debtor

Highland Capital Management, L.P. (the “Debtor”).

         2.   The Claimant is a limited partner in one of the Debtor’s managed vehicles,

Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis

Capital Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for chapter

11 in the United States Bankruptcy Court for the Northern District of Texas (the “Court”) on

January 30, 2018. The Acis bankruptcy filing resulted from a dispute between Debtor and its

former employee, Joshua Terry, who served as portfolio manager for Debtor’s collateral loan

obligations funds (“CLO”) business. See, e.g., Findings of Fact and Conclusions of Law in

Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy Petition

(“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118]. As noted in more

detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A) Final Approval of

Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third Amended Joint Plan

(“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and related filings in the Acis




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bankruptcy cases, there has been extensive litigation regarding alleged improper conduct

associated with the management of, and transactions relating to, Acis, including transactions

with and related to HCLOF.         See, e.g., id.; Second Amended Complaint [Case No. 18-

03078(SGJ), Dkt. No. 157].

       3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

includes, but is not limited to, financial harm resulting from, among other things (i) court orders

in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

(ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

       4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

connection with and relating to the foregoing harm, including for any amounts due or owed

under the various agreements with the Debtor in connection with HCLOF (including, but not

limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

action relating to the foregoing harm.

       5.      The Claimant has not attached the documentation supporting this Claim to this

Proof of Claim because the documentation is voluminous and the Debtor has copies of such




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documents.    However, any requested relevant documents will be provided to the Official

Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

event of a dispute regarding this Proof of Claim and will be made available for review by other

parties in interest as appropriate upon reasonable request and after consultation with the Debtor

and execution of appropriate confidentiality agreements.

       6.      This Proof of Claim is filed with a full reservation of rights, including the right to

amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

release of any of the Claimant’s rights against any person, entity or property accruing to it

against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

§ 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

any of the claims described herein, or any objection or other proceeding commenced with respect

to any of the claims described herein, or any other proceeding commenced in the Debtor’s

chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

orders entered only after de novo review by a United States District Judge; (f) an election of

remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

withdrawal of the reference with respect to any matter, including, without limitation, any matter

relating to this Proof of Claim.

       7.      Claimant’s express reservation of all rights and causes of action, includes, without

limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,




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as well as defenses, offsets and counterclaims. This description and classification of claims by

the Claimant is not a concession or admission as to the correct characterization or treatment of

any such claims or a waiver of any rights of the Claimant.

       8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

of claim for additional claims that may be based on the same or additional documents or facts or

other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

(b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

claims or rights of payment described above and any additional amounts; and (e) seek recovery

through any relevant third parties, including any of the Debtor’s insurance coverage providers.

       9.      This Proof of Claim does not encompass all claims that the Claimant or its

affiliates may have that arise after the Petition Date and are entitled to administrative priority,

and the Claimant expressly reserves its right to file such claim or any similar claim at the

appropriate time, including any such post-petition claims arising under these service contracts.

       10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

additional proofs of claim or requests for payment with respect to any other indebtedness,

liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

amendment or other action, waive any rights with respect to any scheduled claim.

       11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

for this Proof of Claim (including adding any additional contracts, agreements, obligations or




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other relationships between the Claimant and the Debtor), as well as the right to file any separate

or additional proofs of claim with respect to the claims set forth herein or otherwise, including

for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

to file additional proofs of claim in respect of additional amounts or for any other reason.

       12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

than with respect to this Proof of Claim against the Debtor, and does not waive or release any

rights or remedies against any other person or entity that may be liable for all or part of this

Proof of Claim.

       13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

       14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



                                                ***




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 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  HarbourVest Dover Street IX Investment L.P.
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               See summary page                                                                See summary page
   creditor be sent?
                                 Name                                                                            Name
    Federal Rule of
    Bankruptcy Procedure         Number          Street                                                          Number          Street
    (FRBP) 2002(g)
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone       2129096000                                                  Contact phone       6173483773
                                 Contact email       eweisgerber@debevoise.com                                   Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director-Company: HarbourVest Dover Street IX Investment L.P.,
                                  Company                    Inv Fund Mgr, by HarbourVest Partners L.P., its Duly Appointed Investme
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




 Official Form 410                                                        Proof of Claim
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                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
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       District:
               1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ
       Creditor:                                                         Has Supporting Documentation:
               +DUERXU9HVW'RYHU6WUHHW,;,QYHVWPHQW/3                      <HVVXSSRUWLQJGRFXPHQWDWLRQVXFFHVVIXOO\XSORDGHG
               $WWQ(ULFD:HLVJHUEHU                                    Related Document Statement:
               'HEHYRLVHDQG3OLPSWRQ//3
                                                                         Has Related Claim:
               7KLUG$YHQXH
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              86$
              Phone:                                                     Filing Party:
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              Phone 2:

              Fax:

              Email:
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       Disbursement/Notice Parties:
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              +DUERXU9HVW3DUWQHUV//&

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              86$
              Phone:
              
              Phone 2:

              Fax:

              E-mail:
              DJRUHQ#KDUERXUYHVWFRP
              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                     Amends Claim:
                                                                                 1R
                                                                         Acquired Claim:
                                                                                 1R
       Basis of Claim:                                                   Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                          1R
       Total Amount of Claim:                                            Includes Interest or Charges:
              6HH$QQH[                                                          1RQH
       Has Priority Claim:                                               Priority Under:
              1R
       Has Secured Claim:                                                 Nature of Secured Amount:
              1R                                                          Value of Property:
       Amount of 503(b)(9):                                               Annual Interest Rate:
              1R
                                                                          Arrearage Amount:
       Based on Lease:
              1R                                                          Basis for Perfection:
       Subject to Right of Setoff:                                        Amount Unsecured:
              1R
       Submitted By:
              0LFKDHO3XJDWFKRQ$SUSP(DVWHUQ7LPH
       Title:
              0DQDJLQJ'LUHFWRU&RPSDQ\+DUERXU9HVW'RYHU6WUHHW,;,QYHVWPHQW/3E\+DUERXU9HVW3DUWQHUV,UHODQG/LPLWHGLWV$OWHU
       Company:
              ,QY)XQG0JUE\+DUERXU9HVW3DUWQHUV/3LWV'XO\$SSRLQWHG,QYHVWPHQW0DQDJHUE\+DUERXU9HVW3DUWQHUV//&LWV*HQ3WU



VN: 2FF3E3B762AB4570A51AF333808C6C3D                                                                                001231
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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


In re:                                           Chapter 11

Highland Capital Management, L.P.                Case No. 19-34054 (SGJ)

                      Debtor.




                                ANNEX TO PROOF OF CLAIM

         1.   This annex (the “Annex”) is part of and is incorporated by reference into the

attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

detail the claims of HarbourVest Dover Street IX Investment L.P. (the “Claimant”) against the

debtor Highland Capital Management, L.P. (the “Debtor”).

         2.   The Claimant is a limited partner in one of the Debtor’s managed vehicles,

Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis

Capital Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for chapter

11 in the United States Bankruptcy Court for the Northern District of Texas (the “Court”) on

January 30, 2018. The Acis bankruptcy filing resulted from a dispute between Debtor and its

former employee, Joshua Terry, who served as portfolio manager for Debtor’s collateral loan

obligations funds (“CLO”) business. See, e.g., Findings of Fact and Conclusions of Law in

Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy Petition

(“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118]. As noted in more

detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A) Final Approval of

Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third Amended Joint Plan

(“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and related filings in the Acis




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bankruptcy cases, there has been extensive litigation regarding alleged improper conduct

associated with the management of, and transactions relating to, Acis, including transactions

with and related to HCLOF.         See, e.g., id.; Second Amended Complaint [Case No. 18-

03078(SGJ), Dkt. No. 157].

       3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

includes, but is not limited to, financial harm resulting from, among other things (i) court orders

in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

(ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

       4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

connection with and relating to the foregoing harm, including for any amounts due or owed

under the various agreements with the Debtor in connection with HCLOF (including, but not

limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

action relating to the foregoing harm.

       5.      The Claimant has not attached the documentation supporting this Claim to this

Proof of Claim because the documentation is voluminous and the Debtor has copies of such




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documents.    However, any requested relevant documents will be provided to the Official

Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

event of a dispute regarding this Proof of Claim and will be made available for review by other

parties in interest as appropriate upon reasonable request and after consultation with the Debtor

and execution of appropriate confidentiality agreements.

       6.      This Proof of Claim is filed with a full reservation of rights, including the right to

amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

release of any of the Claimant’s rights against any person, entity or property accruing to it

against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

§ 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

any of the claims described herein, or any objection or other proceeding commenced with respect

to any of the claims described herein, or any other proceeding commenced in the Debtor’s

chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

orders entered only after de novo review by a United States District Judge; (f) an election of

remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

withdrawal of the reference with respect to any matter, including, without limitation, any matter

relating to this Proof of Claim.

       7.      Claimant’s express reservation of all rights and causes of action, includes, without

limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,




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as well as defenses, offsets and counterclaims. This description and classification of claims by

the Claimant is not a concession or admission as to the correct characterization or treatment of

any such claims or a waiver of any rights of the Claimant.

       8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

of claim for additional claims that may be based on the same or additional documents or facts or

other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

(b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

claims or rights of payment described above and any additional amounts; and (e) seek recovery

through any relevant third parties, including any of the Debtor’s insurance coverage providers.

       9.      This Proof of Claim does not encompass all claims that the Claimant or its

affiliates may have that arise after the Petition Date and are entitled to administrative priority,

and the Claimant expressly reserves its right to file such claim or any similar claim at the

appropriate time, including any such post-petition claims arising under these service contracts.

       10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

additional proofs of claim or requests for payment with respect to any other indebtedness,

liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

amendment or other action, waive any rights with respect to any scheduled claim.

       11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

for this Proof of Claim (including adding any additional contracts, agreements, obligations or




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other relationships between the Claimant and the Debtor), as well as the right to file any separate

or additional proofs of claim with respect to the claims set forth herein or otherwise, including

for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

to file additional proofs of claim in respect of additional amounts or for any other reason.

       12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

than with respect to this Proof of Claim against the Debtor, and does not waive or release any

rights or remedies against any other person or entity that may be liable for all or part of this

Proof of Claim.

       13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

       14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



                                                ***




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                                                                                        1471
 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
                                  HV International VIII Secondary L.P.
   creditor?
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               HV International VIII Secondary L.P.                                            See summary page
   creditor be sent?
                                 Attn: Erica Weisgerber
                                 Name                                                                            Name
                                 Debevoise  and Plimpton LLP
    Federal Rule of              919 Third Avenue
    Bankruptcy Procedure         Number   Street                                                                 Number          Street
    (FRBP) 2002(g)               New York, NY 10022, U.S.A.
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone      2129096000                                                   Contact phone       6173483773
                                 Contact email      eweisgerber@debevoise.com                                    Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director-Company: HV International VIII Secondary L.P.,                                              by HIP
                                  Company                    by HarbourVest GP LLC, its General Partner, by HarbourVest Partners, LL
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




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                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
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       District:
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       Creditor:                                                          Has Supporting Documentation:
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              E-mail:
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              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                      Amends Claim:
                                                                                  1R
                                                                          Acquired Claim:
                                                                                  1R
       Basis of Claim:                                                    Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                           1R
       Total Amount of Claim:                                             Includes Interest or Charges:
              6HH$QQH[                                                           1RQH
       Has Priority Claim:                                                Priority Under:
              1R
       Has Secured Claim:                                               Nature of Secured Amount:
              1R                                                        Value of Property:
       Amount of 503(b)(9):                                             Annual Interest Rate:
              1R
                                                                        Arrearage Amount:
       Based on Lease:
              1R                                                        Basis for Perfection:
       Subject to Right of Setoff:                                      Amount Unsecured:
              1R
       Submitted By:
              0LFKDHO3XJDWFKRQ$SUSP(DVWHUQ7LPH
       Title:
              0DQDJLQJ'LUHFWRU&RPSDQ\+9,QWHUQDWLRQDO9,,,6HFRQGDU\/3E\+,3(39,,,$VVRFLDWHV/3LWV*HQHUDO3DUWQHU
       Company:
              E\+DUERXU9HVW*3//&LWV*HQHUDO3DUWQHUE\+DUERXU9HVW3DUWQHUV//&LWV0DQDJLQJ0HPEHU



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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


In re:                                           Chapter 11

Highland Capital Management, L.P.                Case No. 19-34054 (SGJ)

                      Debtor.




                                ANNEX TO PROOF OF CLAIM

         1.   This annex (the “Annex”) is part of and is incorporated by reference into the

attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

detail the claims of HV International VIII Secondary L.P. (the “Claimant”) against the debtor

Highland Capital Management, L.P. (the “Debtor”).

         2.   The Claimant is a limited partner in one of the Debtor’s managed vehicles,

Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis

Capital Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for chapter

11 in the United States Bankruptcy Court for the Northern District of Texas (the “Court”) on

January 30, 2018. The Acis bankruptcy filing resulted from a dispute between Debtor and its

former employee, Joshua Terry, who served as portfolio manager for Debtor’s collateral loan

obligations funds (“CLO”) business. See, e.g., Findings of Fact and Conclusions of Law in

Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy Petition

(“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118]. As noted in more

detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A) Final Approval of

Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third Amended Joint Plan

(“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and related filings in the Acis




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bankruptcy cases, there has been extensive litigation regarding alleged improper conduct

associated with the management of, and transactions relating to, Acis, including transactions

with and related to HCLOF.         See, e.g., id.; Second Amended Complaint [Case No. 18-

03078(SGJ), Dkt. No. 157].

       3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

includes, but is not limited to, financial harm resulting from, among other things (i) court orders

in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

(ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

       4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

connection with and relating to the foregoing harm, including for any amounts due or owed

under the various agreements with the Debtor in connection with HCLOF (including, but not

limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

action relating to the foregoing harm.

       5.      The Claimant has not attached the documentation supporting this Claim to this

Proof of Claim because the documentation is voluminous and the Debtor has copies of such




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documents.    However, any requested relevant documents will be provided to the Official

Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

event of a dispute regarding this Proof of Claim and will be made available for review by other

parties in interest as appropriate upon reasonable request and after consultation with the Debtor

and execution of appropriate confidentiality agreements.

       6.      This Proof of Claim is filed with a full reservation of rights, including the right to

amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

release of any of the Claimant’s rights against any person, entity or property accruing to it

against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

§ 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

any of the claims described herein, or any objection or other proceeding commenced with respect

to any of the claims described herein, or any other proceeding commenced in the Debtor’s

chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

orders entered only after de novo review by a United States District Judge; (f) an election of

remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

withdrawal of the reference with respect to any matter, including, without limitation, any matter

relating to this Proof of Claim.

       7.      Claimant’s express reservation of all rights and causes of action, includes, without

limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,




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as well as defenses, offsets and counterclaims. This description and classification of claims by

the Claimant is not a concession or admission as to the correct characterization or treatment of

any such claims or a waiver of any rights of the Claimant.

       8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

of claim for additional claims that may be based on the same or additional documents or facts or

other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

(b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

claims or rights of payment described above and any additional amounts; and (e) seek recovery

through any relevant third parties, including any of the Debtor’s insurance coverage providers.

       9.      This Proof of Claim does not encompass all claims that the Claimant or its

affiliates may have that arise after the Petition Date and are entitled to administrative priority,

and the Claimant expressly reserves its right to file such claim or any similar claim at the

appropriate time, including any such post-petition claims arising under these service contracts.

       10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

additional proofs of claim or requests for payment with respect to any other indebtedness,

liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

amendment or other action, waive any rights with respect to any scheduled claim.

       11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

for this Proof of Claim (including adding any additional contracts, agreements, obligations or




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other relationships between the Claimant and the Debtor), as well as the right to file any separate

or additional proofs of claim with respect to the claims set forth herein or otherwise, including

for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

to file additional proofs of claim in respect of additional amounts or for any other reason.

       12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

than with respect to this Proof of Claim against the Debtor, and does not waive or release any

rights or remedies against any other person or entity that may be liable for all or part of this

Proof of Claim.

       13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

       14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



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 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
                                  HarbourVest Skew Base AIF L.P.
   creditor?
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               HarbourVest Skew Base AIF L.P.                                                  See summary page
   creditor be sent?
                                 Attn: Erica Weisgerber
                                 Name                                                                            Name
                                 Debevoise  and Plimpton LLP
    Federal Rule of              919 Third Avenue
    Bankruptcy Procedure         Number   Street                                                                 Number          Street
    (FRBP) 2002(g)               New York, NY 10022, U.S.A.
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone      2129096000                                                   Contact phone       6173483773
                                 Contact email      eweisgerber@debevoise.com                                    Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director-Company: HarbourVest Skew Base AIF L.P., by HarbourVes
                                  Company                    Fund Manager, by HarbourVest Partners L.P., its Duly Appointed Investme
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




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              Phone:
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              Phone 2:

              Fax:

              E-mail:
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              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                     Amends Claim:
                                                                                 1R
                                                                         Acquired Claim:
                                                                                 1R
       Basis of Claim:                                                   Last 4 Digits:        Uniform Claim Identifier:
              6HH$QQH[                                                          1R
       Total Amount of Claim:                                            Includes Interest or Charges:
              6HH$QQH[                                                          1RQH
       Has Priority Claim:                                               Priority Under:
              1R
       Has Secured Claim:                                                Nature of Secured Amount:
              1R                                                         Value of Property:
       Amount of 503(b)(9):                                              Annual Interest Rate:
              1R
                                                                         Arrearage Amount:
       Based on Lease:
              1R                                                         Basis for Perfection:
       Subject to Right of Setoff:                                       Amount Unsecured:
              1R
       Submitted By:
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       Company:
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              3WU



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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


In re:                                            Chapter 11

Highland Capital Management, L.P.                 Case No. 19-34054 (SGJ)

                      Debtor.




                                ANNEX TO PROOF OF CLAIM

         1.   This annex (the “Annex”) is part of and is incorporated by reference into the

attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

detail the claims of HarbourVest Skew Base AIF L.P. (the “Claimant”) against the debtor

Highland Capital Management, L.P. (the “Debtor”).

         2.   The Claimant is a limited partner in one of the Debtor’s managed vehicles,

Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis

Capital Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for

chapter 11 in the United States Bankruptcy Court for the Northern District of Texas (the

“Court”) on January 30, 2018. The Acis bankruptcy filing resulted from a dispute between

Debtor and its former employee, Joshua Terry, who served as portfolio manager for Debtor’s

collateral loan obligations funds (“CLO”) business. See, e.g., Findings of Fact and Conclusions

of Law in Support of Orders for Relief Issued After Trial on Contested Involuntary Bankruptcy

Petition (“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118]. As noted in

more detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A) Final

Approval of Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third Amended

Joint Plan (“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and related filings




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in the Acis bankruptcy cases, there has been extensive litigation regarding alleged improper

conduct associated with the management of, and transactions relating to, Acis, including

transactions with and related to HCLOF. See, e.g., id.; Second Amended Complaint [Case No.

18-03078(SGJ), Dkt. No. 157].

       3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

includes, but is not limited to, financial harm resulting from, among other things (i) court orders

in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

(ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

       4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

connection with and relating to the foregoing harm, including for any amounts due or owed

under the various agreements with the Debtor in connection with HCLOF (including, but not

limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

action relating to the foregoing harm.

       5.      The Claimant has not attached the documentation supporting this Claim to this

Proof of Claim because the documentation is voluminous and the Debtor has copies of such




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documents.    However, any requested relevant documents will be provided to the Official

Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

event of a dispute regarding this Proof of Claim and will be made available for review by other

parties in interest as appropriate upon reasonable request and after consultation with the Debtor

and execution of appropriate confidentiality agreements.

       6.      This Proof of Claim is filed with a full reservation of rights, including the right to

amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

release of any of the Claimant’s rights against any person, entity or property accruing to it

against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

§ 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

any of the claims described herein, or any objection or other proceeding commenced with respect

to any of the claims described herein, or any other proceeding commenced in the Debtor’s

chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

orders entered only after de novo review by a United States District Judge; (f) an election of

remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

withdrawal of the reference with respect to any matter, including, without limitation, any matter

relating to this Proof of Claim.

       7.      Claimant’s express reservation of all rights and causes of action, includes, without

limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,




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as well as defenses, offsets and counterclaims. This description and classification of claims by

the Claimant is not a concession or admission as to the correct characterization or treatment of

any such claims or a waiver of any rights of the Claimant.

       8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

of claim for additional claims that may be based on the same or additional documents or facts or

other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

(b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

claims or rights of payment described above and any additional amounts; and (e) seek recovery

through any relevant third parties, including any of the Debtor’s insurance coverage providers.

       9.      This Proof of Claim does not encompass all claims that the Claimant or its

affiliates may have that arise after the Petition Date and are entitled to administrative priority,

and the Claimant expressly reserves its right to file such claim or any similar claim at the

appropriate time, including any such post-petition claims arising under these service contracts.

       10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

additional proofs of claim or requests for payment with respect to any other indebtedness,

liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

amendment or other action, waive any rights with respect to any scheduled claim.

       11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

for this Proof of Claim (including adding any additional contracts, agreements, obligations or




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other relationships between the Claimant and the Debtor), as well as the right to file any separate

or additional proofs of claim with respect to the claims set forth herein or otherwise, including

for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

to file additional proofs of claim in respect of additional amounts or for any other reason.

       12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

than with respect to this Proof of Claim against the Debtor, and does not waive or release any

rights or remedies against any other person or entity that may be liable for all or part of this

Proof of Claim.

       13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

       14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



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 Fill in this information to identify the case:


 Debtor             Highland Capital Management, L.P.

 United States Bankruptcy Court for the:   Northern                      District of Texas
                                                                                        (State)

 Case number       19-34054




Official Form 410
Proof of Claim                                                                                                                                                              /1
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies or any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:    Identify the Claim

1. Who is the current
   creditor?
                                  HarbourVest Partners L.P. on behalf of funds and accounts under management
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor


2. Has this claim been           ✔ No
   acquired from
   someone else?                        Yes.     From whom?

3. Where should                  Where should notices to the creditor be sent?                                   Where should payments to the creditor be sent? (if
   notices and                                                                                                   different)
   payments to the               See summary page                                                                See summary page
   creditor be sent?
                                 Name                                                                            Name
    Federal Rule of
    Bankruptcy Procedure         Number          Street                                                          Number          Street
    (FRBP) 2002(g)
                                 City                                State                 ZIP Code              City                                State                 ZIP Code

                                 Contact phone       2129096000                                                  Contact phone       6173483773
                                 Contact email       eweisgerber@debevoise.com                                   Contact email       agoren@harbourvest.com


                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___ ___


4. Does this claim               ✔ No
   amend one already
   filed?                               Yes.     Claim number on court claims registry (if known)                                         Filed on
                                                                                                                                                       MM    /   DD   /    YYYY

5. Do you know if                ✔ No
   anyone else has filed
   a proof of claim for                 Yes. Who made the earlier filing?
   this claim?




  Official Form 410                                                       Proof of Claim
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Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number         ✔ No
   you use to identify the
   debtor?                            Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: ___ ___ ___ ___


7. How much is the claim?        $ See Annex                                  . Does this amount include interest or other charges?
                                                                                      No

                                                                                      Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                           charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.


                                 See Annex


9. Is all or part of the claim    ✔ No
   secured?
                                      Yes. The claim is secured by a lien on property.
                                             Nature or property:

                                                  Real estate: If the claim is secured by the debtor’s principle residence, file a Mortgage Proof of
                                                  Claim Attachment (Official Form 410-A) with this Proof of Claim.

                                                  Motor vehicle

                                                  Other. Describe:



                                             Basis for perfection:
                                             Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                             example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien
                                             has been filed or recorded.)



                                             Value of property:                             $
                                             Amount of the claim that is secured:           $
                                             Amount of the claim that is unsecured:         $                     (The sum of the secured and unsecured
                                                                                                                  amount should match the amount in line 7.)


                                             Amount necessary to cure any default as of the date of the petition:             $


                                             Annual Interest Rate (when case was filed)                %
                                                  Fixed

                                                  Variable


10. Is this claim based on a      ✔ No
    lease?
                                      Yes. Amount necessary to cure any default as of the date of the petition.                   $

11. Is this claim subject to a
                                  ✔ No
    right of setoff?
                                      Yes. Identify the property:




 Official Form 410                                             Proof of Claim
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12. Is all or part of the claim       ✔ No
    entitled to priority under
    11 U.S.C. § 507(a)?                      Yes. Check all that apply:                                                                              Amount entitled to priority

    A claim may be partly                             Domestic support obligations (including alimony and child support) under
    priority and partly                               11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,                                                                                                                        $
    in some categories, the                           Up to $,* of deposits toward purchase, lease, or rental of property
    law limits the amount                             or services for personal, family, or household use. 11 U.S.C. § 507(a)(7).                     $
    entitled to priority.
                                                      Wages, salaries, or commissions (up to $,*) earned withLQ
                                                      days before the bankruptcy petition is filed or the debtor’s business ends,                    $
                                                      whichever is earlier. 11 U.S.C. § 507(a)(4).

                                                      Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                          $
                                                      Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                              $
                                                      Other. Specify subsection of 11 U.S.C. § 507(a)(__) that applies.                              $

                                             * Amounts are subject to adjustment on 4/01/ and every 3 years after that for cases begun on or after the date of adjustment.

13. Is all or part of the claim       ✔ No
    pursuant to 11 U.S.C.
    § 503(b)(9)?                             Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20
                                             days before the date of commencement of the above case, in which the goods have been sold to the Debtor in
                                             the ordinary course of such Debtor’s business. Attach documentation supporting such claim.

                                             $


Part 3:    Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                         I am the creditor.
FRBP 9011(b).
                                  ✔       I am the creditor’s attorney or authorized agent.
If you file this claim
electronically, FRBP                      I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
5005(a)(2) authorizes courts
to establish local rules                  I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
specifying what a signature
is.
                                  I understand that an authorized signature on this Proof of Claim serves as an acknowledgement that when calculating
A person who files a              the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
fraudulent claim could be
                                  I have examined the information in this Proof of Claim and have reasonable belief that the information is true and correct.
fined up to $500,000,
imprisoned for up to 5            I declare under penalty of perjury that the foregoing is true and correct.
years, or both.
18 U.S.C. §§ 152, 157, and
                                  Executed on date             04/08/2020
3571.                                                               MM / DD / YYYY




                                   /s/Michael Pugatch
                                          Signature

                                  Print the name of the person who is completing and signing this claim:
                                  Name                       Michael Pugatch
                                                             First name                             Middle name                            Last name

                                  Title                      Managing Director
                                  Company                    HarbourVest Partners L.P., on behalf of funds and accounts under manage
                                                             Identify the corporate servicer as the company if the authorized agent is a servicer.


                                  Address
                                                             Number              Street


                                                             City                                                                  State             ZIP Code

                                  Contact phone                                                                                    Email




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                                  For phone assistance: Domestic (877) 573-3984 | International (310) 751-1829
       Debtor:
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       District:
               1RUWKHUQ'LVWULFWRI7H[DV'DOODV'LYLVLRQ
       Creditor:                                                         Has Supporting Documentation:
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               XQGHUPDQDJHPHQW                                          Related Document Statement:
               $WWQ(ULFD:HLVJHUEHU
               'HEHYRLVHDQG3OLPSWRQ//3                                Has Related Claim:
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                                                                         Related Claim Filed By:
               1HZ<RUN1<
              86$                                                    Filing Party:
              Phone:                                                            $XWKRUL]HGDJHQW
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              Fax:

              Email:
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       Disbursement/Notice Parties:
              +DUERXU9HVW3DUWQHUV/3FR+DUERXU9HVW3DUWQHUV//&

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              DISBURSEMENT ADDRESS

       Other Names Used with Debtor:                                    Amends Claim:
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                                                                        Acquired Claim:
                                                                                1R
       Basis of Claim:                                                  Last 4 Digits:        Uniform Claim Identifier:
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       Total Amount of Claim:                                           Includes Interest or Charges:
              6HH$QQH[                                                         1RQH
       Has Priority Claim:                                              Priority Under:
              1R
       Has Secured Claim:                                                 Nature of Secured Amount:
              1R                                                          Value of Property:
       Amount of 503(b)(9):                                               Annual Interest Rate:
              1R
                                                                          Arrearage Amount:
       Based on Lease:
              1R                                                          Basis for Perfection:
       Subject to Right of Setoff:                                        Amount Unsecured:
              1R
       Submitted By:
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       Title:
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       Company:
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                        UNITED STATES BANKRUPTCY COURT
                          NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION


In re:                                            Chapter 11

Highland Capital Management, L.P.                 Case No. 19-34054 (SGJ)

                      Debtor.




                                ANNEX TO PROOF OF CLAIM

         1.   This annex (the “Annex”) is part of and is incorporated by reference into the

attached proof of claim (together with the Annex, the “Proof of Claim”) and describes in more

detail the claims of HarbourVest Partners L.P. on behalf of funds and accounts under

management (the “Claimant”) against the debtor Highland Capital Management, L.P. (the

“Debtor”).

         2.   The Claimant manages investment funds that are limited partners in one of the

Debtor’s managed vehicles, Highland CLO Funding, Ltd. (“HCLOF”).                  Acis Capital

Management GP, L.L.C. and Acis Capital Management L.P. (together, “Acis”), the portfolio

manager for HCLOF, filed for chapter 11 in the United States Bankruptcy Court for the Northern

District of Texas (the “Court”) on January 30, 2018. The Acis bankruptcy filing resulted from a

dispute between Debtor and its former employee, Joshua Terry, who served as portfolio manager

for Debtor’s collateral loan obligations funds (“CLO”) business. See, e.g., Findings of Fact and

Conclusions of Law in Support of Orders for Relief Issued After Trial on Contested Involuntary

Bankruptcy Petition (“Involuntary Petition Ruling”) [Case No. 18-30264 (SGJ), Dkt. No. 118].

As noted in more detail in the Court’s Bench Ruling and Memorandum of Law in Support of: (A)

Final Approval of Disclosure Statement; and (B) Confirmation of Chapter 11 Trustee’s Third




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Amended Joint Plan (“Confirmation Ruling”) [Case No. 18-30264 (SGJ), Dkt. No 827] and

related filings in the Acis bankruptcy cases, there has been extensive litigation regarding alleged

improper conduct associated with the management of, and transactions relating to, Acis,

including transactions with and related to HCLOF.      See, e.g., id.; Second Amended Complaint

[Case No. 18-03078(SGJ), Dkt. No. 157].

       3.      Due to the Acis bankruptcy and certain conduct alleged to have been undertaken

by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were

officers, employees, and agents of Acis), the Claimant has suffered significant harm. Such harm

includes, but is not limited to, financial harm resulting from, among other things (i) court orders

in the Acis bankruptcy that prevented certain CLOs in which HCLOF was invested from being

refinanced or reset and court orders that otherwise regulated the activity of HCLOF; and

(ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.

See, e.g., Involuntary Petition Ruling ¶ 27; see also Confirmation Ruling.

       4.      Claimant hereby files this Claim to assert any and all of its rights to payment,

remedies, and other claims (including contingent or unliquidated claims) against the Debtor in

connection with and relating to the foregoing harm, including for any amounts due or owed

under the various agreements with the Debtor in connection with HCLOF (including, but not

limited to, the Subscription and Transfer Agreement for Ordinary Shares Highland CLO

Funding, Ltd., dated as of November 15, 2017, the Members Agreement Relating to the

Company, dated as of November 15, 2017, the Highland CLO Funding, Ltd. Offering

Memorandum dated November 15, 2017), and any and all legal and equitable claims or causes of

action relating to the foregoing harm.




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       5.      The Claimant has not attached the documentation supporting this Claim to this

Proof of Claim because the documentation is voluminous and the Debtor has copies of such

documents.    However, any requested relevant documents will be provided to the Official

Committee of Unsecured Creditors, the Court, the United States Trustee and the Debtor in the

event of a dispute regarding this Proof of Claim and will be made available for review by other

parties in interest as appropriate upon reasonable request and after consultation with the Debtor

and execution of appropriate confidentiality agreements.

       6.      This Proof of Claim is filed with a full reservation of rights, including the right to

amend, update, modify, supplement or otherwise revise this Proof of Claim in any respect at any

time. The filing of this Proof of Claim is not and should not be construed to be: (a) a waiver or

release of any of the Claimant’s rights against any person, entity or property accruing to it

against the Debtor and its estate; (b) a waiver of the Claimant’s rights to assert that 28 U.S.C.

§ 157(b)(2)(C) is unconstitutional; (c) a consent or submission by the Claimant, or waiver of the

Claimant’s rights to object, to the jurisdiction of this Court with respect to the subject matter of

any of the claims described herein, or any objection or other proceeding commenced with respect

to any of the claims described herein, or any other proceeding commenced in the Debtor’s

chapter 11 case against or otherwise involving the Claimant; (d) a waiver or release of any right

of the Claimant, or consent by the Claimant, to a trial by jury in this or any other court or

proceeding; (e) a waiver or release of, or any limitation on, any right of the Claimant to have

orders entered only after de novo review by a United States District Judge; (f) an election of

remedies; or (g) a waiver of, or any other limitation on, any right of the Claimant to request

withdrawal of the reference with respect to any matter, including, without limitation, any matter

relating to this Proof of Claim.




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       7.      Claimant’s express reservation of all rights and causes of action, includes, without

limitation, contingent or unliquidated rights that it or its affiliates may have against the Debtor,

as well as defenses, offsets and counterclaims. This description and classification of claims by

the Claimant is not a concession or admission as to the correct characterization or treatment of

any such claims or a waiver of any rights of the Claimant.

       8.      Furthermore, the Claimant expressly reserves its rights to (a) file additional proofs

of claim for additional claims that may be based on the same or additional documents or facts or

other liability or indebtedness of the Debtor to the Claimant under contract or otherwise;

(b) assert claims for cure of defaults in any agreement that the Debtor or any trustee appointed in

this chapter 11 case may seek to assume; (c) assert any and all other claims, causes of action,

defenses, offsets or counterclaims against the Debtor or any other parties; (d) file a request for

payment of an administrative expense under 11 U.S.C. §§ 503 and 507 for any or all of the

claims or rights of payment described above and any additional amounts; and (e) seek recovery

through any relevant third parties, including any of the Debtor’s insurance coverage providers.

       9.      This Proof of Claim does not encompass all claims that the Claimant or its

affiliates may have that arise after the Petition Date and are entitled to administrative priority,

and the Claimant expressly reserves its right to file such claim or any similar claim at the

appropriate time, including any such post-petition claims arising under these service contracts.

       10.     This Proof of Claim is filed without prejudice to the filing by the Claimant of

additional proofs of claim or requests for payment with respect to any other indebtedness,

liability or obligation of the Debtor. The Claimant does not, by this Proof of Claim or any

amendment or other action, waive any rights with respect to any scheduled claim.




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       11.     The Claimant reserves the right to withdraw, amend, clarify, modify or

supplement this Proof of Claim to assert additional claims, causes of action or additional grounds

for this Proof of Claim (including adding any additional contracts, agreements, obligations or

other relationships between the Claimant and the Debtor), as well as the right to file any separate

or additional proofs of claim with respect to the claims set forth herein or otherwise, including

for the purpose of fixing and liquidating any contingent or unliquidated claim set forth herein, or

to file additional proofs of claim in respect of additional amounts or for any other reason.

       12.     In executing and filing this Proof of Claim, the Claimant does not submit to the

jurisdiction of the Bankruptcy Court for the Northern District of Texas for any purpose other

than with respect to this Proof of Claim against the Debtor, and does not waive or release any

rights or remedies against any other person or entity that may be liable for all or part of this

Proof of Claim.

       13.     The Claimant otherwise reserves its rights, and nothing herein shall prejudice the

Claimant’s rights, under any order of the Court previously entered in this chapter 11 case.

       14.     Payments on account of this Proof of Claim should be sent to the Claimant at the

address specified for notices to the Claimant in Part 1.3 of the Proof of Claim.



                                                ***




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                              APPENDIX 




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 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (CA Bar No. 143717) (admitted pro hac vice)
 Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
 John A. Morris (NY Bar No. 266326) (admitted pro hac vice)
 Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
 Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: (310) 277-6910
 Facsimile: (310) 201-0760

 HAYWARD & ASSOCIATES PLLC
 Melissa S. Hayward (TX Bar No. 24044908)
 MHayward@HaywardFirm.com
 Zachery Z. Annable (TX Bar No. 24053075)
 ZAnnable@HaywardFirm.com
 10501 N. Central Expy, Ste. 106
 Dallas, TX 75231
 Telephone: (972) 755-7100
 Facsimile: (972) 755-7110

 Counsel for the Debtor and Debtor-in-Possession


                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                    DALLAS DIVISION

                                                                 §
 In re:                                                          § Chapter 11
                                                                 §
 HIGHLAND CAPITAL MANAGEMENT, L.P., 1                            § Case No. 19-34054-sgj11
                                                                 §
                                    Debtor.                      §


           DEBTOR’S MOTION FOR ENTRY OF AN ORDER APPROVING
     SETTLEMENT WITH HARBOURVEST (CLAIM NOS. 143, 147, 149, 150, 153, 154)
            AND AUTHORIZING ACTIONS CONSISTENT THEREWITH


 TO THE HONORABLE STACEY G. C. JERNIGAN,
 UNITED STATES BANKRUPTCY JUDGE:


 1
   The last four digits of the Debtor’s taxpayer identification number are 6725. The headquarters and service address
 for the Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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         Highland Capital Management, L.P., the above-captioned debtor and debtor-in-

 possession (“Highland” or the “Debtor”), files this motion (the “Motion”) for entry of an order,

 substantially in the form attached hereto as Exhibit A, pursuant to Rule 9019 of the Federal

 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), approving a settlement agreement (the

 “Settlement Agreement”), 2 a copy of which is attached as Exhibit 1 to the Declaration of John A.

 Morris in Support of the Debtor’s Motion for Entry of an Order Approving Settlement with

 HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent

 Therewith being filed simultaneously with this Motion (“Morris Dec.”), that, among other things,

 fully and finally resolves the proofs of claim filed by HarbourVest 2017 Global Fund L.P.,

 HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P., HV

 International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest Partners

 L.P. (collectively, “HarbourVest”). In support of this Motion, the Debtor represents as follows:

                                              JURISDICTION

                  1.         This Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157

 and 1334. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b)(2). Venue

 in this District is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

                  2.         The statutory predicates for the relief sought herein are sections 105(a)

 and 363 of title 11 of the United States Code (the “Bankruptcy Code”), and Rule 9019 of the

 Bankruptcy Rules.




 2
  All capitalized terms used but not defined herein shall have the meanings given to them in the Settlement
 Agreement.

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                                          RELEVANT BACKGROUND

 A.         Procedural Background

                     3.       On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary

 petition for relief under chapter 11 of the Bankruptcy Code in the Bankruptcy Court for the

 District of Delaware, Case No. 19-12239 (CSS) (the “Delaware Court”).

                     4.       On October 29, 2019, the official committee of unsecured creditors (the

 “Committee”) was appointed by the U.S. Trustee in the Delaware Court.

                     5.       On December 4, 2019, the Delaware Court entered an order transferring

 venue of the Debtor’s case to this Court [Docket No. 186]. 3

                     6.       On December 27, 2019, the Debtor filed that certain Motion of the Debtor

 for Approval of Settlement with the Official Committee of Unsecured Creditors Regarding

 Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

 281] (the “Settlement Motion”). This Court approved the Settlement Motion on January 9, 2020

 [Docket No. 339] (the “Settlement Order”).

                     7.       In connection with the Settlement Order, an independent board of

 directors was constituted at the Debtor’s general partner, Strand Advisors, Inc., and certain

 operating protocols were instituted.

                     8.       On July 16, 2020, this Court entered an order appointing James P. Seery,

 Jr., as the Debtor’s chief executive officer and chief restructuring officer [Docket No. 854].

                     9.       The Debtor has continued in the possession of its property and has

 continued to operate and manage its business as a debtor-in-possession pursuant to sections

 1107(a) and 1108 of the Bankruptcy Code. No trustee or examiner has been appointed in this

 chapter 11 case.


 3
     All docket numbers refer to the docket maintained by this Court.

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 B.       Overview of HarbourVest’s Claims

                   10.       HarbourVest’s claims against the Debtor’s estate arise from its $80 million

 investment in Highland CLO Funding, f/k/a Acis Loan Funding, Ltd. (“HCLOF”), pursuant to

 which HarbourVest obtained a 49 percent interest in HCLOF (the “Investment”).

                   11.       In brief, HarbourVest contends that it was fraudulently induced into

 entering into the Investment based on the Debtor’s misrepresentations and omissions concerning

 certain material facts, including that the Debtor: (1) failed to disclose that it never intended to

 pay an arbitration award obtained by a former portfolio manager, (2) failed to disclose that it

 engaged in a series of fraudulent transfers for the purpose of preventing the former portfolio

 manager from collecting on his arbitration award and misrepresented the reasons changing the

 portfolio manager for HCLOF immediately prior to the Investment, (3) indicated that the dispute

 with the former portfolio manager would not impact investment activities, and (4) expressed

 confidence in the ability of HCLOF to reset or redeem the collateralized loan obligations

 (“CLOs”) under its control.

                   12.       HarbourVest seeks to rescind its Investment and claims damages in excess

 of $300 million based on theories of fraud, fraudulent inducement, fraudulent concealment,

 fraudulent misrepresentation, negligent misrepresentation, and breach of fiduciary duty (under

 Guernsey law), and on alleged violations of state securities laws and the Racketeer Influenced

 Corrupt Organization Act (“RICO”).

                   13.       HarbourVest’s allegations are summarized below. 4




 4
   Solely for purposes of this Motion, and not for any other reason, the facts set forth herein are adopted largely from
 the HarbourVest Response to Debtor’s First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated
 Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E) No-Liability Claims; and (F) Insufficient-Documentation
 Claims [Docket No. 1057] (the “Response”).

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 C.      Summary of HarbourVest’s Factual Allegations

                  14.        At the time HarbourVest made its Investment, the Debtor was embroiled

 in an arbitration against Joshua Terry (“Mr. Terry”), a former employee of the Debtor and

 limited partner of Acis Capital Management, L.P. (“Acis LP”). Through Acis LP, Mr. Terry

 managed Highland’s CLO business, including CLO-related investments held by Acis Loan

 Funding, Ltd. (“Acis Funding”).

                  15.        The litigation between Mr. Terry and the Debtor began in 2016, after the

 Debtor terminated Mr. Terry and commenced an action against him in Texas state court. Mr.

 Terry asserted counterclaims for wrongful termination and for the wrongful taking of his

 ownership interest in Acis LP and subsequently had certain claims referred to arbitration where

 he obtained an award of approximately $8 million (the “Arbitration Award”) on October 20,

 2017.

                  16.        HarbourVest alleges that the Debtor responded to the Arbitration Award

 by engaging in a series of fraudulent transfers and corporate restructurings, the true purposes of

 which were fraudulently concealed from HarbourVest.

                  17.        For example, according to HarbourVest, the Debtor changed the name of

 the target fund from Acis Funding to “Highland CLO Funding, Ltd.” (“HCLOF”) and “swapped

 out” Acis LP for Highland HCF Advisor, Ltd. as portfolio manager (the “Structural Changes”).

 The Debtor allegedly told HarbourVest that it made these changes because of the “reputational

 harm” to Acis LP resulting from the Arbitration Award. The Debtor further told HarbourVest

 that in lieu of redemptions, resetting the CLOs was necessary, and that it would be easier to reset

 them under the “Highland” CLO brand instead of the Acis CLO brand.

                  18.        In addition, HarbourVest also alleges that the Debtor had no intention of

 allowing Mr. Terry to collect on his Arbitration Award, and orchestrated a scheme to “denude”


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 Acis of assets by fraudulently transferring virtually all of its assets and attempting to transfer its

 profitable portfolio management contracts to non-Acis, Debtor-related entities.

                  19.        Unaware of the fraudulent transfers or the true purposes of the Structural

 Changes, and in reliance on representations made by the Debtor, HarbourVest closed on its

 Investment in HCLOF on November 15, 2017.

                  20.        After discovering the transfers that occurred between Highland and Acis

 between October and December 2017 following the Arbitration Award (the “Transfers”), on

 January 24, 2018, Terry moved for a temporary restraining order (the “TRO”) from the Texas

 state court on the grounds that the Transfers were pursued for the purpose of rendering Acis LP

 judgment-proof. The state court granted the TRO, enjoining the Debtor from transferring any

 CLO management contracts or other assets away from Acis LP.

                  21.        On January 30, 2018, Mr. Terry filed involuntary bankruptcy petitions

 against Acis LP and its general partner, Acis Capital Management GP, LLC. See In re Acis

 Capital Management, L.P., Case No. 18-30264-sgj11 (Bankr. N.D. Tex. 2018) and In re Acis

 Capital Management GP, LLC, Case No. 18-30265-sgj11 (Bankr. N.D. Tex. 2018) (collectively,

 the “Acis Bankruptcy Case”). The Bankruptcy Court overruled the Debtor’s objection, granted

 the involuntary petitions, and appointed a chapter 11 trustee (the “Acis Trustee”). A long

 sequence of events subsequently transpired, all of which relate to HarbourVest’s claims,

 including:

         x    On May 31, 2018, the Court issued a sua sponte TRO preventing any actions in
              furtherance of the optional redemptions or other liquidation of the Acis CLOs.

         x    On June 14, 2018, HCLOF withdrew optional redemption notices.

         x    The TRO expired on June 15, 2018, and HCLOF noticed the Acis Trustee that it was
              requesting an optional redemption.




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         x    HCLOF’s request was withdrawn on July 6, 2018, and on June 21, 2018, the Acis
              Trustee sought an injunction preventing Highland/HCLOF from seeking further
              redemptions (the “Preliminary Injunction”).

         x    The Court granted the Preliminary Injunction on July 10, 2018, pending the Acis
              Trustee’s attempts to confirm a plan or resolve the Acis Bankruptcy.

         x    On August 30, 2018, the Court denied confirmation of the First Amended Joint Plan
              for Acis, and held that the Preliminary Injunction must stay in place on the ground
              that the “evidence thus far has been compelling that numerous transfers after the Josh
              Terry judgment denuded Acis of value.”

         x    After the Debtor made various statements implicating HarbourVest in the Transfers,
              the Acis Trustee investigated HarbourVest’s involvement in such Transfers, including
              extensive discovery and taking a 30(b)(6) deposition of HarbourVest’s managing
              director, Michael Pugatch, on November 17, 2018.

         x    On March 20, 2019, HCLOF sent a letter to Acis LP stating that it was not interested
              in pursuing, or able to pursue, a CLO reset transaction.

 D.      The Parties’ Pleadings and Positions Concerning HarbourVest’s
         Proofs of Claim

                  22.        On April 8, 2020, HarbourVest filed proofs of claim against Highland that

 were subsequently denoted by the Debtor’s claims agents as claim numbers 143, 147, 149, 150,

 153, and 154, respectively (collectively, the “Proofs of Claim”). Morris Dec. Exhibits 2-7.

                  23.        The Proofs of Claim assert, among other things, that HarbourVest suffered

 significant harm due to conduct undertaken by the Debtor and the Debtor’s employees, including

 “financial harm resulting from (i) court orders in the Acis Bankruptcy that prevented certain

 CLOs in which HCLOF was invested from being refinanced or reset and court orders that

 otherwise relegated the activity of HCLOF [i.e., the Preliminary Injunction]; and (ii) significant

 fees and expenses related to the Acis Bankruptcy that were charged to HCLOF.” See, e.g.,

 Morris Dec. Exhibit 2 ¶3.

                  24.        HarbourVest also asserted “any and all of its right to payment, remedies,

 and other claims (including contingent or unliquidated claims) against the Debtor in connection

 with and relating to the forgoing harm, including for any amounts due or owed under the various

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 agreements with the Debtor in connection with relating to” the Operative Documents “and any

 and all legal and equitable claims or causes of action relating to the forgoing harm.” See, e.g.,

 Morris Dec. Exhibit 2 ¶4.

                  25.        Highland subsequently objected to HarbourVest’s Proofs of Claim on the

 grounds that they were no-liability claims. [Docket No. 906] (the “Claim Objection”).

                  26.        On September 11, 2020, HarbourVest filed its Response. The Response

 articulated specified claims under U.S. federal and state and Guernsey law, including claims for

 fraud, fraudulent concealment, fraudulent inducement, fraudulent misrepresentation, negligent

 misrepresentation (collectively, the “Fraud Claims”), U.S. State and Federal Securities Law

 Claims (the “Securities Claims”), violations of the Federal Racketeer Influenced and Corrupt

 Organizations Act (“RICO”), breach of fiduciary duty and misuse of fund assets, and an unfair

 prejudice claim under Guernsey law (collectively, with the Proofs of Claim, the “HarbourVest

 Claims”).

                  27.        On October 18, 2020, HarbourVest filed its Motion of HarbourVest

 Pursuant to Rule 3018 of the Federal Rules of Bankruptcy Procedure for Temporary Allowance

 of Claims for Purposes of Voting to Accept or Reject the Plan [Docket No. 1207] (the “3018

 Motion”). In its 3018 Motion, HarbourVest sought for its Claims to be temporarily allowed for

 voting purposes in the amount of more than $300 million (based largely on a theory of treble

 damages).

 E.      Settlement Discussions

                  28.        In October, the parties discussed the possibility of resolving the Rule 3018

 Motion.

                  29.        In November, the parties broadened the discussions in an attempt to reach

 a global resolution of the HarbourVest Claims. In the pursuit thereof, the parties and their


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 counsel participated in several conference calls where they engaged in a spirited exchange of

 perspectives concerning the facts and the law.

                  30.        During follow up meetings, the parties’ interests became more defined.

 Specifically, HarbourVest sought to maximize its recovery while fully extracting itself from the

 Investment, while the Debtor sought to minimize the HarbourVest Claims consistent with its

 perceptions of the facts and law.

                  31.        After the parties’ interests became more defined, the principals engaged in

 a series of direct, arm’s-length, telephonic negotiations that ultimately lead to the settlement,

 whose terms are summarized below.

 F.        Summary of Settlement Terms

                  32.        The Settlement Agreement contains the following material terms, among

 others:

           x   HarbourVest shall transfer its entire interest in HCLOF to an entity to be designated
               by the Debtor; 5

           x   HarbourVest shall receive an allowed, general unsecured, non-priority claim in the
               amount of $45 million and shall vote its Class 8 claim in that amount to support the
               Plan;

           x   HarbourVest shall receive a subordinated, allowed, general unsecured, non-priority
               claim in the amount of $35 million and shall vote its Class 9 claim in that amount to
               support the Plan;

           x   HarbourVest will support confirmation of the Debtor’s Plan, including, but not
               limited to, voting its claims in support of the Plan;

           x   The HarbourVest Claims shall be allowed in the aggregate amount of $45 million for
               voting purposes;

           x   HarbourVest will support the Debtor’s pursuit of its pending Plan of Reorganization;
               and

           x   The parties shall exchange mutual releases.

 5
  The NAV for HarbourVest’s 49.98% interest in HCLOF was estimated to be approximately $22 million as of
 December 1, 2020.

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  See generally Morris Dec. Exhibit 1.

                                    BASIS FOR RELIEF REQUESTED

                   33.        Bankruptcy Rule 9019 governs the procedural prerequisites to approval of

  a settlement, providing that:

             On motion by the trustee and after notice and a hearing, the court may
             approve a compromise or settlement. Notice shall be given to creditors, the
             United States trustee, the debtor, and indenture trustees as provided in Rule
             2002 and to any other entity as the court may direct.

  FED. R. BANKR. P. 9019(a).

                   34.        Settlements in bankruptcy are favored as a means of minimizing litigation,

  expediting the administration of the bankruptcy estate, and providing for the efficient resolution

  of bankruptcy cases. See Myers v. Martin (In re Martin), 91 F.3d 389, 393 (3d Cir. 1996);

  Rivercity v. Herpel (In re Jackson Brewing Co.), 624 F.2d 599, 602 (5th Cir. 1980). Pursuant to

  Bankruptcy Rule 9019(a), a bankruptcy court may approve a compromise or settlement as long

  as the proposed settlement is fair, reasonable, and in the best interest of the estate. See In re Age

  Ref. Inc., 801 F.3d 530, 540 (5th Cir. 2015). Ultimately, “approval of a compromise is within

  the sound discretion of the bankruptcy court.” See United States v. AWECO, Inc. (In re AWECO,

  Inc.), 725 F.2d 293, 297 (5th Cir. 1984); Jackson Brewing, 624 F.2d at 602–03.

                   35.        In making this determination, the United States Court of Appeals for the

  Fifth Circuit applies a three-part test, “with a focus on comparing ‘the terms of the compromise

  with the rewards of litigation.’” Official Comm. of Unsecured Creditors v. Cajun Elec. Power

  Coop. (In re Cajun Elec. Power Coop.), 119 F.3d 349, 356 (5th Cir. 1997) (citing Jackson

  Brewing, 624 F.2d at 602). The Fifth Circuit has instructed courts to consider the following

  factors: “(1) The probability of success in the litigation, with due consideration for the

  uncertainty of law and fact, (2) The complexity and likely duration of the litigation and any



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  attendant expense, inconvenience and delay, and (3) All other factors bearing on the wisdom of

  the compromise.” Id. Under the rubric of the third factor referenced above, the Fifth Circuit has

  specified two additional factors that bear on the decision to approve a proposed settlement. First,

  the court should consider “the paramount interest of creditors with proper deference to their

  reasonable views.” Id.; Conn. Gen. Life Ins. Co. v. United Cos. Fin. Corp. (In re Foster

  Mortgage Corp.), 68 F.3d 914, 917 (5th Cir. 1995). Second, the court should consider the

  “extent to which the settlement is truly the product of arms-length bargaining, and not of fraud or

  collusion.” Age Ref. Inc., 801 F.3d at 540; Foster Mortgage Corp., 68 F.3d at 918 (citations

  omitted).

                   36.        There is ample basis to approve the proposed Settlement Agreement based

  on the Rule 9019 factors set forth by the Fifth Circuit.

                   37.        First, although the Debtor believes that it has valid defenses to the

  HarbourVest Claims, there is no guarantee that the Debtor would succeed in its litigation with

  HarbourVest. Indeed, to establish its defenses, the Debtor would be required to rely, at least in

  part, on the credibility of witnesses whose veracity has already been called into question by this

  Court.      Moreover, it will be difficult to dispute that the Transfers precipitated the Acis

  Bankruptcy, and, ultimately, the imposition of the Bankruptcy Court’s TRO that restricted

  HCLOF’s ability to reset or redeem the CLOs and that is at the core of the HarbourVest Claims.

                   38.        The second factor—the complexity, duration, and costs of litigation—also

  weighs heavily in favor of approving the Settlement Agreement. As this Court is aware, the

  events forming the basis of the HarbourVest Claims—including the Terry Litigation and Acis

  Bankruptcy—proceeded for years in this Court and in multiple other forums, and has already

  cost the Debtor’s estate millions of dollars in legal fees. If the Settlement Agreement is not

  approved, then the parties will expend significant resources litigating a host of fact-intensive


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  issues including, among other things, the substance and materiality of the Debtor’s alleged

  fraudulent statements and omissions and whether HarbourVest reasonably relied on those

  statements and omissions.

                   39.        Third, approval of the Settlement Agreement is justified by the paramount

  interest of creditors. Specifically, the settlement will enable the Debtor to: (a) avoid incurring

  substantial litigation costs; (b) avoid the litigation risk associated with HarbourVest’s $300

  million claim; and (c) through the plan support provisions, increase the likelihood that the

  Debtor’s pending plan of reorganization will be confirmed.

                   40.        Finally, the Settlement Agreement was unquestionably negotiated at

  arm’s-length. The terms of the settlement are the result of numerous, ongoing discussions and

  negotiations between the parties and their counsel and represent neither party’s “best case

  scenario.” Indeed, the Settlement Agreement should be approved as a rational exercise of the

  Debtor’s business judgment made after due deliberation of the facts and circumstances

  concerning HarbourVest’s Claims.

                                           NO PRIOR REQUEST

                   41.        No previous request for the relief sought herein has been made to this, or

  any other, Court.

                                                   NOTICE


                   42.        Notice of this Motion shall be given to the following parties or, in lieu

  thereof, to their counsel, if known: (a) counsel for HarbourVest; (b) the Office of the United

  States Trustee; (c) the Office of the United States Attorney for the Northern District of Texas; (d)

  the Debtor’s principal secured parties; (e) counsel to the Committee; and (f) parties requesting

  notice pursuant to Bankruptcy Rule 2002. The Debtor submits that, in light of the nature of the

  relief requested, no other or further notice need be given.

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          WHEREFORE, the Debtor respectfully requests entry of an order, substantially in the

  form attached hereto as Exhibit A, (a) granting the relief requested herein, and (b) granting such

  other relief as is just and proper.



  Dated: December 23, 2020.                 PACHULSKI STANG ZIEHL & JONES LLP

                                            Jeffrey N. Pomerantz (CA Bar No. 143717)
                                            Ira D. Kharasch (CA Bar No. 109084)
                                            John A. Morris (NY Bar No. 266326)
                                            Gregory V. Demo (NY Bar No. 5371992)
                                            Hayley R. Winograd (NY Bar No. 5612569)
                                            10100 Santa Monica Blvd., 13th Floor
                                            Los Angeles, CA 90067
                                            Telephone: (310) 277-6910
                                            Facsimile: (310) 201-0760
                                            Email: jpomerantz@pszjlaw.com
                                                    ikharasch@pszjlaw.com
                                                    jmorris@pszjlaw.com
                                                    gdemo@pszjlaw.com
                                                    hwinograd@pszjlaw.com


                                            -and-
                                            HAYWARD & ASSOCIATES PLLC
                                            /s/ Zachery Z. Annable
                                            Melissa S. Hayward
                                            Texas Bar No. 24044908
                                            MHayward@HaywardFirm.com
                                            Zachery Z. Annable
                                            Texas Bar No. 24053075
                                            ZAnnable@HaywardFirm.com
                                            10501 N. Central Expy, Ste. 106
                                            Dallas, Texas 75231
                                            Tel: (972) 755-7100
                                            Fax: (972) 755-7110
                                            Counsel for the Debtor and Debtor-in-Possession




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                                 SETTLEMENT AGREEMENT

          This Settlement Agreement (the “Agreement”) is entered into as of December 23, 2020,
  between Highland Capital Management, L.P. (the “Debtor”), on the one hand, and HarbourVest
  2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX
  Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and
  HarbourVest Partners L.P. (each, a “HarbourVest Party,” and collectively, “HarbourVest”), on
  the other hand. Each of the foregoing are sometimes referred to herein collectively as the
  “Parties” and individually as a “Party.”

                                         RECITALS

          WHEREAS, on October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary
  petition for relief under chapter 11 of the Bankruptcy Code (the “Bankruptcy Case”) in the
  Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware
  Bankruptcy Court”);

          WHEREAS, on December 4, 2019, the Delaware Bankruptcy Court entered an order
  transferring venue of the Debtor’s case to the Bankruptcy Court for the Northern District of
  Texas, Dallas Division, Case No. 19-34054-sgj (the “Bankruptcy Court”);

          WHEREAS, prior to the Petition Date, HarbourVest invested in Highland CLO Funding,
  Ltd. f/k/a Acis Loan Funding, Ltd. (“HCLOF”) and acquired an a 49.98% ownership interest in
  HCLOF (the “HarbourVest Interests”);

         WHEREAS, the portfolio manager for HCLOF is Highland HCF Advisor, Ltd., a
  subsidiary of the Debtor;

         WHEREAS, on April 8, 2020, HarbourVest filed proofs of claim in the Bankruptcy
  Case, which are listed on the Debtor’s claims register as claim numbers 143, 147, 149, 150, 153,
  and 154 (the “HarbourVest Claims”), asserting claims against the Debtor relating to its
  investment in HCLOF;

         WHEREAS, on July 30, 2020, the Debtor filed the Debtor’s First Omnibus Objection to
  Certain (a) Duplicate Claims; (b) Overstated Claims; (c) Late-Filed Claims; (d) Satisfied
  Claims; (e) No Liability Claims; and (f) Insufficient-Documentation Claims [Docket No. 906], in
  which the Debtor objected to the HarbourVest Claims;

         WHEREAS, on September 11, 2020, HarbourVest filed the HarbourVest Response to
  Debtor’s First Omnibus Objection to Creation (a) Duplicate Claims; (b) Overstated Claims; (c)
  Late-Filed Claims; (d) Satisfied Claims; (e) No Liability Claims; and (f) Insufficient-
  Documentation Claims [Docket No. 1057] (the “HarbourVest Response”);

        WHEREAS, on October 18, 2020, HarbourVest filed the Motion of HarbourVest
  Pursuant to Rule 3018(a) of the Federal Rules of Bankruptcy Procedure for Temporary
  Allowance of Claims for Purposes of Voting to Accept or Reject the Plan [Docket No. 1207] (the
  “3018 Motion” and together with the HarbourVest Response, the “HarbourVest Pleadings”);

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         WHEREAS, in the HarbourVest Pleadings, HarbourVest asserted, among other things,
  that the HarbourVest Claims included claims against the Debtor arising from fraudulent
  inducement, fraudulent concealment, fraudulent misrepresentation, breach of fiduciary duty,
  breach of securities laws, and misuse of assets and sought damages in excess of $300,000,000;

             WHEREAS, the Debtor disputes the HarbourVest Claims;

         WHEREAS, on November 24, 2020, the Debtor filed the Fifth Amended Plan of
  Reorganization for Highland Capital Management, L.P. [Docket No. 1472] (as amended, the
  “Plan”).1

         WHEREAS, the Parties desire to enter into this Agreement which incorporates,
  formalizes, and finalizes the full and final resolution of the HarbourVest Claims and
  HarbourVest Pleadings; and

         WHEREAS, this Agreement will be presented to the Bankruptcy Court for approval
  pursuant to Federal Rule of Bankruptcy Procedure 9019 (“Rule 9019”).

         NOW THEREFORE, in consideration of the above recitals, the covenants, conditions,
  and promises made herein, and other good and valuable consideration, the receipt of which is
  hereby acknowledged, the Parties agree as follows:

             1.       Settlement of Claims.

                      (a)      In full and complete satisfaction of the HarbourVest Claims, HarbourVest
  will receive:

                      (i)     an allowed, nonpriority general unsecured claim in the aggregate
  amount of $45,000,000 (the “Allowed GUC Claim”); and

                       (ii)  an allowed subordinated claim in the aggregate amount of
  $35,000,000 (the “Allowed Subordinated Claim” and together with the Allowed GUC Claim, the
  “Allowed Claims”).

                  (b)    On the Effective Date, HarbourVest will transfer all of its rights, title, and
  interest in the HarbourVest Interests to the Debtor or its nominee pursuant to the terms of the
  Transfer Agreement for Ordinary Shares of Highland CLO Funding, Ltd., attached hereto as
  Exhibit A (the “Transfer Agreements”) and the Debtor or its nominee will become a shareholder
  of HCLOF with respect to the HarbourVest Interests. The terms of the Transfer Agreements are
  incorporated into this Agreement by reference.

             2.       Releases.

                  (a)    Upon the Effective Date, and to the maximum extent permitted by law,
  each HarbourVest Party on behalf of itself and each of its current and former advisors, trustees,
  directors, officers, managers, members, partners, employees, beneficiaries, shareholders, agents,

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      All capitalized terms used but not defined herein shall have the meanings given to them in the Plan.
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  participants, subsidiaries, parents, successors, designees, and assigns hereby forever, finally,
  fully, unconditionally, and completely releases, relieves, acquits, remises, and exonerates, and
  covenants never to sue, the Debtor, HCLOF, HCLOF’s current and former directors, and the
  Debtor’s current and former advisors, trustees, directors, officers, managers, members, partners,
  employees, beneficiaries, shareholders, agents, participants, subsidiaries, parents, affiliates,
  successors, designees, and assigns, except as expressly set forth below (the “Debtor Released
  Parties”), for and from any and all claims, debts, liabilities, demands, obligations, promises, acts,
  agreements, liens, losses, costs and expenses (including, without limitation, attorney’s fees and
  related costs), damages, injuries, suits, actions, and causes of action of whatever kind or nature,
  whether known or unknown, suspected or unsuspected, matured or unmatured, liquidated or
  unliquidated, contingent or fixed, at law or in equity, statutory or otherwise, including, without
  limitation, any claims, defenses, and affirmative defenses, whether known or unknown,
  including, without limitation, those which were or could have been asserted in, in connection
  with, or with respect to the Bankruptcy Case (collectively, the “HarbourVest Released Claims”).

                  (b)     Upon the Effective Date, and to the maximum extent permitted by law, the
  Debtor hereby forever, finally, fully, unconditionally, and completely releases, relieves, acquits,
  remises, and exonerates, and covenants never to sue (i) each HarbourVest Party and (ii) each
  HarbourVest Party’s current and former advisors, trustees, directors, officers, managers,
  members, partners, employees, beneficiaries, shareholders, agents, participants, subsidiaries,
  parents, affiliates, successors, designees, and assigns (the “HarbourVest Released Parties”), for
  and from any and all claims, debts, liabilities, demands, obligations, promises, acts, agreements,
  liens, losses, costs and expenses (including, without limitation, attorney’s fees and related costs),
  damages, injuries, suits, actions, and causes of action of whatever kind or nature, whether known
  or unknown, suspected or unsuspected, matured or unmatured, liquidated or unliquidated,
  contingent or fixed, at law or in equity, statutory or otherwise, including, without limitation, any
  claims, defenses, and affirmative defenses, whether known or unknown, which were or could
  have been asserted in, in connection with, or with respect to the Bankruptcy Case (collectively,
  the “Debtor Released Claims”); provided, however, that notwithstanding anything herein to the
  contrary, the release contained in this Section 2(b) will apply to the HarbourVest Released
  Parties set forth in subsection (b)(ii) only with respect to Debtor Released Claims arising from or
  relating to HarbourVest’s ownership of the HarbourVest Interests.

                  (c)     Notwithstanding anything in this Agreement to the contrary, the releases
  set forth herein will not apply with respect to (i) the Allowed Claims, (ii) the claims of Charlotte
  Investor IV, L.P., or (iii) the duties, rights, or obligations of any Party under this Agreement or
  the Transfer Agreements.

          3.      Agreement Subject to Bankruptcy Court Approval. The effectiveness of this
  Agreement and the Parties’ obligations hereunder are conditioned in all respects on the approval
  of this Agreement by the Bankruptcy Court. The Parties agree to cooperate and use reasonable
  efforts to have this Agreement approved by the Bankruptcy Court. The “Effective Date” will be
  the date of an order entered by the Bankruptcy Court approving this Agreement pursuant to a
  motion filed under Rule 9019.




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          4.       Representations and Warranties. Subject in all respects to Section 3 hereof:

                  (a)     each HarbourVest Party represents and warrants that (i) it has full
  authority to enter into this Agreement and to release the HarbourVest Released Claims and has
  not sold, transferred, or assigned any HarbourVest Released Claim to any other person or entity,
  (ii) no person or entity other than such HarbourVest Party has been, is, or will be authorized to
  bring, pursue, or enforce any HarbourVest Released Claim on behalf of, for the benefit of, or in
  the name of (whether directly or derivatively) of such HarbourVest Party; and (iii) HarbourVest
  owns all of the HCLOF Interests free and clear of any claims or interests; and

                  (b)     the Debtor represents and warrants to HarbourVest that (i) it has full
  authority to enter into this Agreement and to release the Debtor Released Claims and (ii) no
  person or entity other than the Debtor has been, is, or will be authorized to bring, pursue, or
  enforce any Debtor Released Claim on behalf of, for the benefit of, or in the name of (whether
  directly or derivatively) of the Debtor Party.

          5.       Plan Support.

                  (a)     Each HarbourVest Party hereby agrees that it will (a) vote all HarbourVest
  Claims held by such HarbourVest Party to accept the Plan, by delivering its duly executed and
  completed ballots accepting the Plan on a timely basis; and (b) not (i) change, withdraw, or
  revoke such vote (or cause or direct such vote to be changed withdrawn or revoked); (ii) exercise
  any right or remedy for the enforcement, collection, or recovery of any claim against the Debtor
  except in a manner consistent with this Agreement or the Plan, (iii) object to, impede, or take any
  action other action to interfere with, delay or postpone acceptance or confirmation of the Plan;
  (iv) directly or indirectly solicit, propose, file, support, participate in the formulation of or vote
  for, any restructuring, sale of assets (including pursuant to 11 U.S.C. § 363), merger, workout, or
  plan of reorganization of the Debtor other than the Plan; or (v) otherwise take any action that
  would in any material respect interfere with, delay, or postpone the consummation of the Plan;
  provided, however, that such vote may be revoked (and, upon such revocation, deemed void ab
  initio) by such HarbourVest Party at any time following the termination of this agreement or the
  occurrence of a Support Termination Event (it being understood that any termination of this
  agreement shall entitle each HarbourVest Party to change its vote in accordance with section
  1127(d) of the Bankruptcy Code), notwithstanding any voting deadline established by the
  Bankruptcy Court including without limitation the January 5, 2021, 5:00 p.m. (prevailing Central
  Time) deadline established by the Order Approving Form of Ballots, Voting Deadline and
  Solicitation Procedures [Docket No. 1476].

                (b)     In full resolution of the 3018 Motion, HarbourVest will have a general
  unsecured claim for voting purposes only in the amount of $45,000,000.

                  (c)     The obligations of the HarbourVest Parties under this Section 5 shall
  automatically terminate upon the occurrence of any of the following (each a “Support
  Termination Event”): (i) the effective date of the Plan, (ii) the withdrawal of the Plan, (iii) the
  entry of an order by the Bankruptcy Court (A) converting the Bankruptcy Case to a case under
  chapter 7 of the Bankruptcy Code or (B) appointing an examiner with expanded powers beyond
  those set forth in sections 1106(a)(3) and (4) of the Bankruptcy Code or a trustee in Bankruptcy

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  Case, or (iv) the failure of the Court to enter an order approving the terms of this Agreement and
  the settlement described herein pursuant to Rule 9019 prior to confirmation of the Plan.

         6.      No Admission of Liability. The Parties acknowledge that there is a bona fide
  dispute with respect to the HarbourVest Claims. Nothing in this Agreement will imply, an
  admission of liability, fault or wrongdoing by the Debtor, HarbourVest, or any other person, and
  the execution of this Agreement does not constitute an admission of liability, fault, or
  wrongdoing on the part of the Debtor, HarbourVest, or any other person.

         7.       Successors-in-Interest. This Agreement shall be binding upon and shall inure to
  the benefit of each of the Parties and their successors, and assigns.

          8.      Notice. Each notice and other communication hereunder will be in writing and
  will be sent by email and delivered or mailed by registered mail, receipt requested, and will be
  deemed to have been given on the date of its delivery, if delivered, and on the fifth full business
  day following the date of the mailing, if mailed to each of the Parties thereto at the following
  respective addresses or such other address as may be specified in any notice delivered or mailed
  as set forth below:

          HARBOURVEST

          HarbourVest Partners L.P.
          Attention: Michael J. Pugatch
          One Financial Center
          Boston, MA 02111
          Telephone No. 617-348-3712
          E-mail: mpugatch@harbourvest.com

          with a copy (which shall not constitute notice) to:

          Debevoise & Plimpton LLP
          Attention: M. Natasha Labovitz, Esq.
          919 Third Avenue
          New York, NY 10022
          Telephone No. 212-909-6649
          E-mail: nlabovitz@debevoise.com

          THE DEBTOR

          Highland Capital Management, L.P.
          300 Crescent Court, Suite 700
          Dallas, Texas 75201
          Attention: James P. Seery, Jr.
          Telephone No.: 972-628-4100
          Facsimile No.: 972-628-4147
          E-mail: jpseeryjr@gmail.com


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          with a copy (which shall not constitute notice) to:

          Pachulski Stang Ziehl & Jones LLP
          Attention: Jeffrey Pomerantz, Esq.
          10100 Santa Monica Blvd., 13th Floor
          Los Angeles, CA 90067
          Telephone No.: 310-277-6910
          Facsimile No.: 310-201-0760
          E-mail: jpomerantz@pszjlaw.com

          9.     Advice of Counsel. Each Party represents that it has: (a) been adequately
  represented by independent legal counsel of its own choice, throughout all of the negotiations
  that preceded the execution of this Agreement; (b) executed this Agreement upon the advice of
  such counsel; (c) read this Agreement, and understands and assents to all the terms and
  conditions contained herein without any reservations; and (d) had the opportunity to have this
  Agreement and all the terms and conditions contained herein explained by independent counsel,
  who has answered any and all questions asked of such counsel, or which could have been asked
  of such counsel, including, but not limited to, with regard to the meaning and effect of any of the
  provisions of this Agreement.

          10.    Entire Agreement. This Agreement and the Transfer Agreement contain the
  entire agreement and understanding concerning the subject matter of this Agreement, and
  supersede and replace all prior negotiations and agreements, written or oral and executed or
  unexecuted, concerning such subject matter. Each of the Parties acknowledges that no other
  Party, nor any agent of or attorney for any such Party, has made any promise, representation or
  warranty, express or implied, written or oral, not otherwise contained in this Agreement to
  induce any Party to execute this Agreement. The Parties further acknowledge that they are not
  executing this Agreement in reliance on any promise, representation or warranty not contained in
  this Agreement, and that any such reliance would be unreasonable. This Agreement will not be
  waived or modified except by an agreement in writing signed by each Party or duly authorized
  representative of each Party.

          11.    No Party Deemed Drafter. The Parties acknowledge that the terms of this
  Agreement are contractual and are the result of arms’-length negotiations between the Parties
  and their chosen counsel. Each Party and its counsel cooperated in the drafting and preparation
  of this Agreement. In any construction to be made of this Agreement, the Agreement will not be
  construed against any Party.

        12.    Future Cooperation. The Parties agree to cooperate and execute such further
  documentation as is reasonably necessary to effectuate the intent of this Agreement.

          13.     Counterparts. This Agreement may be executed in counterparts with the same
  force and effect as if executed in one complete document. Each Party’s signature hereto will
  signify acceptance of, and agreement to, the terms and provisions contained in this Agreement.
  Photographic, electronic, and facsimile copies of signed counterparts may be used in lieu of the
  originals of this Agreement for any purpose.


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          14.     Governing Law; Venue; Attorneys’ Fees and Costs. The Parties agree that this
  Agreement will be governed by and will be construed according to the laws of the State of Texas
  without regard to conflict-of-law principles. Each of the Parties hereby submits to the exclusive
  jurisdiction of the Bankruptcy Court during the pendency of the Bankruptcy Case and thereafter
  to the exclusive jurisdiction of the state and federal courts located in the Northern District of
  Texas, Dallas Division, with respect to any disputes arising from or out of this Agreement. In
  any action to enforce this Agreement, the prevailing party shall be entitled to recover its
  reasonable and necessary attorneys’ fees and costs (including experts).

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  IT IS HEREBY AGREED.

                                          HIGHLAND CAPITAL MANAGEMENT, L.P.


                                          By:   /s/ James P. Seery, Jr.
                                          Name: James P. Seery, Jr.
                                          Its:  CEO/CRO

  HarbourVest 2017 Global Fund L.P., by HarbourVest 2017 Global Associates L.P., its
  General Partner, by HarbourVest GP LLC, its General Partner, by HarbourVest Partners,
  LLC, its Managing Member


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director

  HarbourVest 2017 Global AIF L.P., by HarbourVest Partners (Ireland) Limited, its
  Alternative Investment Fund Manager, by HarbourVest Partners L.P., its Duly Appointed
  Investment Manager, by HarbourVest Partners, LLC, its General Partner


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director

  HarbourVest Dover Street IX Investment L.P., by HarbourVest Partners L.P., its Duly
  Appointed Investment Manager, by HarbourVest Partners, LLC, its General Partner


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director

  HarbourVest Partners L.P., on behalf of funds and accounts under management, by
  HarbourVest Partners, LLC, its General Partner


  By:   /s/ Michael Pugatch
  Name: Michael Pugatch
  Its:  Managing Director




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 HarbourVest Skew Base AIF L.P., by HarbourVest Partners (Ireland) Limited, its
 Alternative Investment Fund Manager, by HarbourVest Partners L.P., its Duly Appointed
 Investment Manager, by HarbourVest Partners, LLC, its General Partner


 By:   /s/ Michael Pugatch
 Name: Michael Pugatch
 Its:  Managing Director


 HV International VIII Secondary L.P., by HIPEP VIII Associates L.P., its General
 Partner, by HarbourVest GP LLC, its General Partner, by HarbourVest Partners, LLC,
 its Managing Member


 By:   /s/ Michael Pugatch
 Name: Michael Pugatch
 Its:  Managing Director




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                                    TRANSFER AGREEMENT

                                  FOR ORDINARY SHARES OF

                               HIGHLAND CLO FUNDING, LTD.

 This Transfer Agreement, dated as of December [__], 2020 (this “Transfer Agreement”), is
 entered into by and among Highland CLO Funding, Ltd. (the “Fund”), Highland HCF Advisor,
 Ltd. (the “Portfolio Manager”), HCMLP Investments, LLC (the “Transferee”) and each of the
 following: HarbourVest Dover Street IX Investment L.P., HarbourVest 2017 Global AIF L.P.,
 HarbourVest 2017 Global Fund L.P., HV International VIII Secondary L.P., and HarbourVest
 Skew Base AIF L.P. (collectively, the “Transferors”).

 WHEREAS, each Transferor is the record, legal and beneficial owner of the number of ordinary
 shares (“Shares”) of the Fund set forth opposite such Transferor’s name on Exhibit A hereto
 (with respect to each Transferor, the “Transferred Shares”).

 WHEREAS the Transferee is an affiliate and wholly owned subsidiary of Highland Capital
 Management, L.P. (“HCMLP”) which is one of the initial members of the Fund.

 WHEREAS, each Transferor wishes to transfer and assign 100% of its rights, title and interest as
 a shareholder in the Fund, including the Transferred Shares (the “Interest”) on the terms set
 forth in this Transfer Agreement.

 WHEREAS, subject to and in connection with the approval of that certain Settlement
 Agreement, dated on or about the date hereof, by and among HCMLP and the Transferors (the
 “Settlement Agreement”), the Transferee desires that the Interest be transferred to Transferee
 and that thereafter the Transferee will become a Shareholder and the Transferors will no longer
 be Shareholders.

 WHEREAS, the Portfolio Manager desires to consent to such transfers and to the admission of
 Transferee as a Shareholder on the terms set forth herein, and the Transferors and Transferee
 agree to such terms.

 WHEREAS, the Fund desires to amend its records to reflect the foregoing transfers.

 NOW, THEREFORE, the parties hereto agree as follows:

 1. Transfer of Shares and Advisory Board

     a. Each Transferor hereby transfers and assigns all of its rights, title, and interest in its
        Interest to the Transferee, and the Transferee wishes to be admitted to the Fund as a
        Shareholder.

     b. In connection with the transfer of the Interest as contemplated herein, the Transferee shall
        be granted the right to appoint a representative to the Fund’s advisory board (the
        “Advisory Board”) to replace the Transferors’ appointed representative to the Advisory
        Board.


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     c. Transferee hereby assumes all of Transferor’s rights and obligations in respect of the
        Interest effective as of the Effective Date (as defined below) and acknowledge that
        thereafter Transferee shall be subject to the applicable terms and provisions of the
        Members’ Agreement dated as of November 15, 2017 (the “Members’ Agreement”), the
        Articles of Incorporation adopted November 15, 2017 (the “Articles”) and the
        Subscription and transfer Agreement, dated as of November 15, 2017 among each
        Transferor, the Fund and the Portfolio Manager (the “Subscription Agreement”, and
        together with the Members’ Agreement and the Articles, the “Fund Agreements”) with
        respect to the Interest. Transferee does not assume any liability or responsibility for any
        obligations or liabilities incurred by any Transferor prior to the Effective Date of the
        transfer.

     d. Following the transfer, each Transferor shall have no further rights or obligations to any
        party hereunder in respect of the Interest under the Fund Agreements.

     e. This Transfer Agreement, and the parties’ obligations hereunder, are conditioned in all
        respects on the approval by the Bankruptcy Court for the Northern District of Texas,
        Dallas Division pursuant to Federal Rule of Bankruptcy Procedure 9019 of (i) this
        Transfer Agreement and (ii) the Settlement Agreement, and each of the parties agree that
        no further action shall be required from any party for the transfer of the Interest to be
        effective except as described herein.

 2. Transferee’s Representations and Warranties. The Transferee represents and warrants to the
    Transferors, the Portfolio Manager, and the Fund as follows:

     a. This Transfer Agreement constitutes a valid and binding obligation of the Transferee,
        enforceable against it in accordance with its terms;

     b. This Transfer Agreement has been duly and validly executed and delivered by or on
        behalf of the Transferee and such execution and delivery have been duly authorized by all
        necessary trust action of the Transferee;

     c. The Transferee acknowledges receipt of, has read, and is familiar with, the Fund’s
        Offering Memorandum for Placing Shares dated November 15, 2017 (the “Offering
        Memorandum”) and the Fund Agreements;

     d. The Transferee hereby accepts and receives the Interest from the Transferors for
        investment, and not with a view to the sale or distribution of any part thereof, and the
        Transferee has no present intention of selling, granting participations in, or otherwise
        distributing the same, but subject nevertheless to any requirement of law that the
        disposition of the Transferee’s property shall at all times be within such Transferee’s
        control; and

     e. The Transferee is an “Eligible U.S. Investor” as defined in the Offering Memorandum.



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 3. Transferors’ Representations and Warranties. Each Transferor represents and warrants to the
    Transferee, the Portfolio Manager, and the Fund as follows:

     a. This Transfer Agreement constitutes a valid and binding obligation of the Transferor,
        enforceable against it in accordance with its terms;

     b. This Transfer Agreement has been duly authorized, and duly and validly executed and
        delivered by the Transferor and such execution and delivery have been duly authorized
        by all necessary action of the Transferor; and

     c. As of the date hereof, the Transferor has good and valid title to the Transferor’s Interest,
        free and clear of any liens, vesting requirements or claims by others.

 4. Consent to Transfer. Based in part on the representations and warranties of the Transferors
    and the Transferee which are included herein, and on the terms contained herein, the
    Portfolio Manager and the Fund hereby consent to the transfers of the Interest, the admission
    of the Transferee as a Shareholder and the Transferee’s appointment of a representative to the
    Advisory Board, the Portfolio Manager’s execution of this Transfer Agreement constituting
    its prior written consent to the transfers of the Interest for the purposes of article 18.1 of the
    Articles and this Transfer Agreement constituting express notice in writing to the Fund of the
    assignment set out at clause 1(c) above for the purposes of the Law of Property
    (Miscellaneous Provisions) (Guernsey) Law, 1979 (as amended).

 5. Completion: As of the date of approval by the Bankruptcy Court for the Northern District of
    Texas, Dallas Division pursuant to Federal Rule of Bankruptcy Procedure 9019 of (i) this
    Transfer Agreement and (ii) the Settlement Agreement (the “Effective Date”):

     a. each Transferor shall deliver or cause to be delivered to the Transferee a transfer
        instrument relating to the Transferred Shares duly executed and completed by that
        Transferor in favor of the Transferee; and

     b. the Transferee shall deliver to the Transferors and the Fund a duly executed and dated
        Adherence Agreement (as defined in the Members' Agreement).

      Prior to the Effective Date the Transferee shall procure that:

     c. the board of directors of the Fund shall hold a meeting at which the transfer of the Shares
        to the Transferee shall be approved and registration in the register of members of the
        Fund shall be effected on the Effective Date.

 6. Miscellaneous.

     a. Each of the parties hereto agree to execute any further instruments and perform any
        further acts which are or may become reasonably necessary to carry out the intent of this
        Transfer Agreement or are reasonably requested by the Portfolio Manager, the Fund or a
        Transferor to complete the transfer of the Interest.


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     b. The parties to this Transfer Agreement acknowledge that the terms of this Transfer
        Agreement are the result of arms’-length negotiations between the parties and their
        respective counsel. Each party and its counsel cooperated in the drafting and preparation
        of this Transfer Agreement. In any construction to be made of this Transfer Agreement,
        the language or drafting of this Transfer Agreement will not be construed against any
        party.

     c. This Transfer Agreement shall be governed by, and construed and enforced in accordance
        with, the internal substantive laws of the state of Delaware, without giving effect to
        conflicts of law principles.

     d. The representations, warranties and covenants of the Transferors and the Transferee shall
        remain in full force and effect following the transfer of the Interest, and the Fund and the
        Portfolio Manager thereafter may rely on all such representations, warranties and
        covenants.

     e. This Transfer Agreement may be executed in multiple counterparts, each of which shall
        be deemed to be an original, but all of which together shall constitute one and the same
        instrument. Photographic, electronic, and facsimile copies of signed counterparts may be
        used in lieu of the originals of this Transfer Agreement for any purpose.

     f. Captions of sections have been added only for convenience and shall not be deemed to be
        a part of this Transfer Agreement.

     g. This Transfer Agreement is among the parties hereto. No Person that is not a party
        hereto shall have any right herein as a third-party beneficiary or otherwise except as
        expressly contemplated hereby.

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         IN WITNESS WHEREOF, the undersigned have executed this Transfer Agreement as of
 the date first above written.



 TRANSFEREE:

 HCMLP Investments, LLC
 By: Highland Capital Management, L.P.
 Its: Member


 By: ______________________________
 Name: James P. Seery, Jr.
 Title: Chief Executive Officer




 PORTFOLIO MANAGER:

 Highland HCF Advisor, Ltd.


 By: ______________________________
 Name: James P. Seery, Jr.
 Title: President



 FUND:
 Highland CLO Funding, Ltd.


 By: ______________________________
 Name:
 Title:



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                         [Additional Signatures on Following Page]




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          IN WITNESS WHEREOF, the undersigned have executed this Transfer Agreement as of
  the date first above written.


 TRANSFERORS:

HarbourVest Dover Street IX Investment L.P.          HV International VIII Secondary L.P.
By: HarbourVest Partners L.P., its Duly Appointed By:       HIPEP VIII Associates L.P.
Investment Manager                                          Its General Partner
By: HarbourVest Partners, LLC
                                                     By:    HarbourVest GP LLC
                                                            Its General Partner
By: _____________________
                                                     By:    HarbourVest Partners, LLC
Name: Michael Pugatch                                       Its Managing Member
Title: Managing Director                             By: _____________________
                                                     Name: Michael Pugatch
                                                     Title: Managing Director


HarbourVest 2017 Global AIF L.P.                     HarbourVest Skew Base AIF L.P.
By:    HarbourVest Partners (Ireland) Limited        By:  HarbourVest Partners (Ireland) Limited
       Its Alternative Investment Fund Manager            Its Alternative Investment Fund
                                                     Manager
By:    HarbourVest Partners L.P.
       Its Duly Appointed Investment Manager         By:    HarbourVest Partners L.P.
                                                            Its Duly Appointed Investment
By:    HarbourVest Partners, LLC                            Manager
       Its General Partner
                                                     By:    HarbourVest Partners, LLC
                                                            Its General Partner
By: _____________________
Name: Michael Pugatch                                By: _____________________
Title: Managing Director                             Name: Michael Pugatch
                                                     Title: Managing Director




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HarbourVest 2017 Global Fund L.P.
By:    HarbourVest 2017 Global Associates L.P.
       Its General Partner

By:    HarbourVest GP LLC
       Its General Partner

By:    HarbourVest Partners, LLC
       Its Managing Member

By: _____________________
Name: Michael Pugatch
Title: Managing Director




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                                                                              Exhibit A



 Transferee Name                                   Number of Shares     Percentage

 HarbourVest Dover Street IX Investment L.P.           [_____]            [_____]

 HarbourVest 2017 Global AIF L.P.                      [_____]            [_____]

 HarbourVest 2017 Global Fund L.P.                     [_____]            [_____]

 HV International VIII Secondary L.P.                  [_____]            [_____]

 HarbourVest Skew Base AIF L.P.                        [_____]            [_____]




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                              APPENDIX 




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 D. Michael Lynn
 State Bar I.D. No. 12736500
 John Y. Bonds, III
 State Bar I.D. No. 02589100
 John T. Wilson, IV
 State Bar I.D. No. 24033344
 Bryan C. Assink
 State Bar I.D. No. 24089009
 BONDS ELLIS EPPICH SCHAFER JONES LLP
 420 Throckmorton Street, Suite 1000
 Fort Worth, Texas 76102
 (817) 405-6900 telephone
 (817) 405-6902 facsimile

 ATTORNEYS FOR JAMES DONDERO

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 IN RE:                       §
                              §
 HIGHLAND CAPITAL MANAGEMENT, §                              Case No. 19-34054
 L.P.,                        §
                              §
       Debtor.                §                              Chapter 11


        JAMES DONDERO’S OBJECTION TO DEBTOR’S MOTION FOR ENTRY
          OF AN ORDER APPROVING SETTLEMENT WITH HARBOURVEST
                          [Relates to Docket No. 1625]

        James Dondero (“Respondent”), a creditor, indirect equity security holder, and party in

 interest in the above-captioned bankruptcy case, hereby files this Objection to Debtor’s Motion for

 Entry of an Order Approving Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153,

 154) [Docket No. 1625] (the “Motion”) filed by Highland Capital Management, L.P. (the

 “Debtor”). Through the Motion, the Debtor seeks approval of its compromise with HarbourVest

 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX

 Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and

 HarbourVest Partners L.P. (collectively, “HarbourVest”) pursuant to Rule 9019 of the Federal




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 JAMES DONDERO’S OBJECTION TO THE DEBTOR’S MOTION FOR
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 Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). In support of this objection, Respondent

 respectfully represents as follows:

                                               I.    INTRODUCTION

            1.       Under Bankruptcy Rule 9019, the Bankruptcy Court is tasked with making an

 independent judgment on the merits of a proposed settlement to ensure that the proposed settlement

 is “fair, equitable, and in the best interest of the estate.” 1 While Respondent recognizes the

 Debtor’s efforts in arranging a settlement, there are at least three significant issues with the terms

 of the settlement that merit denial of the Motion: (i) the proposed settlement is not reasonable or

 in the best interest of the estate given the weakness of the HarbourVest Claim (as hereinafter

 defined); (ii) the proposed settlement is a blatant attempt to purchase votes in support of Debtor’s

 plan by giving HarbourVest a significant claim to which it would not otherwise be entitled; and

 (iii) the proposed settlement seeks to improperly classify the HarbourVest Claim 2 in two separate

 classes in order to gerrymander an affirmative vote on its reorganization plan. Moreover, the

 proposed settlement does not satisfy the factors for approval fixed by case law. On information

 and belief, Debtor’s CEO/CRO, Mr. Seery, has previously asserted on multiple occasions that the

 HarbourVest Claim had no value and that the Debtor could resolve such claim for no more than

 $5 million. While Respondent and Mr. Seery have had a number of disagreements in this case,

 Respondent agrees with Mr. Seery’s initial conclusion that the HarbourVest Claim is substantially

 without merit. Respondent understands that any settlement will not necessarily provide the best

 possible outcome for the Debtor, but in this instance the proposed settlement far exceeds the

 bounds of reasonableness and, on its face, is an attempt by the Debtor to purchase votes in favor


 1
     See In re Jackson Brewing Co., 624 F.2d 599, 602 (5th Cir. 1980).
 2
  While HarbourVest has filed a number of claims, each filed claim is exactly the same except in the name of the
 claimant. See Claim Nos. 143, 147, 149, 150, 153, and 154.

 JAMES DONDERO’S OBJECTION TO THE DEBTOR’S MOTION FOR
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 of confirmation of its Plan. Given the Debtor’s prior positions as to the merits of HarbourVest

 Claim it is necessary for the Court to closely scrutinize the settlement to determine why the Debtor

 now believes granting HarbourVest a net claim of nearly $60 million3 resulting from

 HarbourVest’s investment in a non-debtor entity (which was and is managed by a non-debtor) to

 be in the best interest of the estate. Upon close scrutiny, Respondent believes the Court will find

 that the proposed settlement is not reasonable or in the best interest of the estate and the Motion

 therefore should be denied.

                                             II.    BACKGROUND

         2.       On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition for

 relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in the U.S.

 Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the “Delaware Court”).

         3.       On October 29, 2019, the Official Committee of Unsecured Creditors (the

 “Committee”) was appointed by the U.S. Trustee in Delaware.

         4.       On December 4, 2019, the Delaware Court entered an order transferring venue of

 the Debtor’s Bankruptcy Case to this Court [Docket No. 186].

         5.       On December 27, 2019, the Debtor filed that certain Motion of the Debtor for

 Approval of Settlement with the Official Committee of Unsecured Creditors Regarding

 Governance of the Debtor and Procedures for Operations in the Ordinary Course [Docket No.

 281] (the “Settlement Motion”). This Court approved the Settlement Motion on January 9, 2020

 [Docket No. 339] (the “Settlement Order”).



 3
   The proposed settlement provides that HarbourVest shall receive an allowed general unsecured (Class 8) claim in
 the amount of $45 million and an allowed subordinated general unsecured (Class 9) claim in the amount of $35 million.
 As part of the settlement, HarbourVest will then transfer its entire interest in Highland CLO Funding, Ltd. (“HCLOF”)
 to an entity to be designated by the Debtor. The Debtor states that the value of this interest is approximately $22
 million as of December 1, 2020.

 JAMES DONDERO’S OBJECTION TO THE DEBTOR’S MOTION FOR
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         6.       In connection with the Settlement Order, an independent board of directors was

 appointed on January 9, 2020, for the Debtor’s general partner, Strand Advisors, Inc. (the

 “Board”). The members of the Board are James P. Seery, Jr., John S. Dubel, and Russell F. Nelms.

         7.       On July 16, 2020, this Court entered an order authorizing the Debtor to employ

 James P. Seery, Jr. as Chief Executive Officer and Chief Restructuring Officer of the Debtor. See

 Docket No. 854.

         8.       On April 8, 2020, HarbourVest filed Proofs of Claim Numbers 143, 149, 149, 150,

 153, and 154 (collectively, the “HarbourVest Claim”) 4.

         9.       On July 30, 2020, the Debtor filed Debtor’s First Omnibus Objection to Certain

 (A) Duplicate Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims; (E)

 No Liability Claims; and (F) Insufficient-Documentation Claims [Docket No. 906] (the “Debtor

 Objection”), which contained an objection to the HarbourVest Claim.

         10.      On September 11, 2020, HarbourVest filed HarbourVest Response to Debtor’s

 First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated Claims; (C) Late-Filed

 Claims; (D) Satisfied Claims; (E) No Liability Claims; and (F) Insufficient-Documentation Claims

 [Docket No. 1057] (the “HarbourVest Response”).

         11.      On December 23, 2020, the Debtor filed the Motion seeking approval of a proposed

 settlement of the HarbourVest Claim under Rule 9019. Docket No. 1625.

                                      III.     LEGAL STANDARD

         12.      The merits of a proposed compromise should be judged under the criteria set forth

 in Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414

 (1968). TMT Trailer requires that a compromise must be “fair and equitable.” TMT Trailer, 390


 4
  While HarbourVest has filed a number of claims, each filed claim is exactly the same except in the name of the
 claimant. See Claim Nos. 143, 147, 149, 150, 153, and 154.

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 U.S. at 424; In re AWECO, Inc., 725 F.2d 293, 298 (5th Cir. 1984). The terms “fair and equitable,”

 commonly referred to as the “absolute priority rule,” mean that (i) senior interests are entitled to

 full priority over junior interests; and (ii) the compromise is reasonable in relation to the likely

 rewards of litigation. In re Cajun Electric Power Coop., 119 F.3d 349, 355 (5th Cir. 1997); In re

 Jackson Brewing Co., 624 F.2d 599, 602 (5th Cir. 1980).

        13.     In determining whether a proposed compromise is fair and equitable, a Court should

 consider the following factors:

        (i)     the probabilities of ultimate success should the claim be litigated;

        (ii)    the complexity, expense, and likely duration of litigating the claim;

        (iii)   the difficulties of collecting a judgment rendered from such litigation; and,

        (iv)    all other factors relevant to a full and fair assessment of the wisdom of the

        compromise.

 TMT Trailer, 390 U.S. at 424.

        14.     In considering whether to approve a proposed compromise, the bankruptcy judge

 “may not simply accept the trustee’s word that the settlement is reasonable, nor may he merely

 ‘rubber stamp’ the trustee’s proposal.” In re Am. Res. Corp., 841 F.2d 159, 162 (7th Cir. 1987).

 “[T]he bankruptcy judge must apprise himself of all facts necessary to evaluate the settlement and

 make an informed and independent judgment about the settlement.” See TMT Trailer, 390 U.S. at

 424, 434.

        15.     While the trustee’s business judgment is entitled to a certain deference, “business

 judgment is not alone determinative of the issue of court approval.” See In re Endoscopy Ctr. of S.

 Nev., LLC, 451 B.R. 527, 536 (Bankr. D. Nev. 2011). Further, the business judgment rule does not

 provide a debtor with “unfettered freedom” to do as it wishes. See In re Pilgrim’s Pride Corp., 403

 B.R. 413, 426 (Bankr. N.D. Tex. 2009) (“[A]s a fiduciary holding its estate in trust and responsible

 JAMES DONDERO’S OBJECTION TO THE DEBTOR’S MOTION FOR
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 to the court, a debtor in possession must administer its case and conduct its business in a fashion

 amenable to the scrutiny to be expected from creditor and court oversight.”). The Court must

 conduct an “intelligent, objective and educated evaluation” 5 of the proposed settlement “to ensure

 that the settlement is fair, equitable, and in the best interest of the estate and creditors.” See In re

 Mirant Corp., 348 B.R. 725, 739 (Bankr. N.D. Tex. 2006) (quoting Conn. Gen. Life Ins. Co. v.

 Foster Mortgage Corp. (In re Foster Mortgage Corp.), 68 F.3d 914, 917 (5th Cir. 1995)).

                              IV.      ARGUMENT AND AUTHORITIES

         16.      As discussed in detail below, there are three significant issues with the terms of the

 settlement that merit denial of the Motion: (i) the proposed settlement is not reasonable or in the

 best interest of the estate given the weakness of the HarbourVest Claim; (ii) the proposed

 settlement is a blatant attempt to purchase votes in support of Debtor’s plan by giving HarbourVest

 a substantial claim to which it is not entitled; and (iii) the proposed settlement seeks to improperly

 classify HarbourVest’s one claim in two separate classes in order to gerrymander an affirmative

 vote on its reorganization plan. For these and certain additional reasons as discussed below, the

 Motion should be denied.

     A. Through its Claim, HarbourVest Seeks to Revisit this Court’s Orders in the Acis Case

         17.      As an initial matter, through its proofs of claim, HarbourVest appears to be second

 guessing the Court’s judgment in the Chapter 11 case of Acis Capital Management, LP and Acis

 Capital Management GP, LLC (collectively, “Acis”) and seeking to revisit the Court’s orders

 entered in that case years ago. HarbourVest appears to being arguing that the TRO and injunction




 5
   In re Jackson Brewing Co., 624 F.2d 599, 602 (5th Cir. 1980) (“To assure a proper compromise the bankruptcy
 judge, must be apprised of all the necessary facts for an intelligent, objective and educated evaluation. He must
 compare the terms of the compromise with the likely rewards of litigation.”).

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 entered in the Acis case that prevented redemptions or resets in the CLOs are now the root cause

 of the decrease in value of its investment in HCLOF.

         18.      Specifically, the claim states that HarbourVest incurred “financial harm resulting

 from, among other things (i) court orders in the Acis bankruptcy that prevented certain CLOs in

 which HCLOF was invested from being refinanced or reset and court orders that otherwise

 regulated the activity of HCLOF.” 6

         19.      Essentially, HarbourVest is saying that the orders entered in the Acis case did not

 actually protect the investors and their investments, but instead were a triggering cause for the

 alleged diminution in value of its investment in HCLOF. Nevertheless, even though the value of

 HCLOF dropped dramatically only after the Effective Date of Acis’s Plan, years later and despite

 the lack of Debtor involvement in managing HarbourVest’s investment, HarbourVest now seeks

 to impute liability to the Debtor through a flimsy narrative designed to recoup investment losses

 unrelated to the Debtor and for which the Debtor owed HarbourVest no duty.

         20.      That HarbourVest now, years later, seeks to revisit this Court’s Acis orders raises

 a number of issues, including those as to HarbourVest’s involvement (or lack thereof) in the Acis

 case, whether the orders, Plan, or Confirmation Order in the Acis case may bar some of the relief

 requested by HarbourVest here, and questions related to the merits of the HarbourVest Claim and

 the legal grounds allegedly supporting it.




 6
   See Proof of Claim 143, para. 3 (“Due to the Acis bankruptcy and certain conduct alleged to have been undertaken
 by the Debtor (to whom Acis subcontracted its functions) and Debtor’s employees (who were officers, employees,
 and agents of Acis), the Claimant has suffered significant harm. Such harm includes, but is not limited to, financial
 harm resulting from, among other things (i) court orders in the Acis bankruptcy that prevented certain CLOs in which
 HCLOF was invested from being refinanced or reset and court orders that otherwise regulated the activity of HCLOF;
 and (ii) significant fees and expenses related to the Acis bankruptcy that were charged to HCLOF.”).


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     B. The HarbourVest Claim Lacks Merit and the Proposed Settlement is Not Reasonable

         21.      Based on the HarbourVest Claim and its filed response to the Debtor’s objection,

 Respondent believes that the HarbourVest claim is meritless and the proposed settlement is not

 reasonable, fair and equitable, or in the best interest of the estate.

         22.      First, the proposed settlement is concerning particularly because HarbourVest’s

 bare bones proof of claim contains very little in terms of allegations of specific conduct against

 the Debtor that would give rise to a $60 million claim against this estate. While HarbourVest’s

 response to the Debtor’s claim objection is lengthy, it contains very little in real substance

 supporting its right to such a claim against the estate. The response also omits a number of key

 facts that are relevant and potentially fatal to its claim for damages against the Debtor’s estate.

 Among them is the fact that Acis (and thereafter Reorganized Acis), along with Mr. Joshua Terry,

 managed HarbourVest’s investment for years after it was made. 7 Despite this fact, HarbourVest’s

 alleged damages appear to be based largely on the difference between the value of its initial

 investment at confirmation of Acis’s Plan and the current value of the investment—which amount

 was directly determined by the performance of the CLOs that Acis managed during this time.8

 Neither the claim nor the response directly address the implications of Acis’s management of the

 CLOs during the period following HarbourVest’s investment. Nor does HarbourVest address or

 discuss performance of the CLOs, the market forces that may have caused HarbourVest’s

 investment to lose value, or other factors influencing the current value of its investment. The


 7
  See, e.g., HarbourVest Proof of Claim 143, p. 5 (“The Claimant is a limited partner in one of the Debtor’s managed
 vehicles, Highland CLO Funding, Ltd. (“HCLOF”). Acis Capital Management GP, L.L.C. and Acis Capital
 Management L.P. (together, “Acis”), the portfolio manager for HCLOF, filed for chapter 11 in the United States
 Bankruptcy Court for the Northern District of Texas (the “Court”) on January 30, 2018.”).
 8
  See HarbourVest Response, Docket No. 1057, para. 40 (“HarbourVest has been injured from the Investment: not
 only has the Investment failed to accrue value, its value plummeted. The Investment’s current value is far less than
 HarbourVest’s initial contribution.”).


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 speculative nature of the damages and the lack of specificity of the HarbourVest Claim and the

 role of Acis in the loss of value to HarbourVest all call into question the reliability of the allegations

 and the legal basis for the claim amount awarded in the settlement.

         23.     Also absent from Harbourvest’s papers is any discussion of any contract or

 agreement between (i) HarbourVest and the Debtor; and (ii) any agreement that was executed in

 conjunction with HarbourVest’s initial investment. While the proof of claim references a number

 of agreements, there is no explanation in the claim or in HarbourVest’s response to the Debtor’s

 claim objection of how these agreements give rise to liability against the Debtor. For example,

 neither the claim nor the HarbourVest Response (which includes more than 600 pages of

 attachments) attach any written agreement between HarbourVest and any other party. While

 HarbourVest has alleged a number of claims sounding in tort, many of those claims cannot exist

 absent a contract or other express relationship between the parties. Moreover, the terms of the

 relevant contracts themselves likely contain a number of provisions that may call into question

 Debtor’s liability or would be otherwise relevant to merits of the HarbourVest Claim. For example,

 HarbourVest in its papers appears to assert or imply that the Debtor made a number of false or

 fraudulent representations to solicit HarbourVest’s investment, but then fails to discuss or even

 identify the applicable agreements it alleges it was induced into signing in connection with its

 investment (this despite the substantial value of the investment when the Acis plan was confirmed).

         24.     Given these issues, among many others, the HarbourVest Claim is unsustainable

 both from a liability and damages standpoint and there are many very high hurdles HarbourVest

 would have to clear in seeking to prove liability against the Debtor and in proving its damages.

 For a long period of time, its investment was managed by Acis and the investment’s performance

 was directly tied to Acis’s inadequate performance as portfolio manager. Further, the value of



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  HarbourVest’s investment is also directly tied to various market forces that may have impacted its

  value. The HarbourVest Claim is largely lacking in relevant facts and omits much salient

  information, such as who it contracted with in connection with its investment, the terms of such

  agreements, who controlled its investment during the entire period from November 2017 to the

  present, and the performance of its investment during the last two years. Given these issues,

  HarbourVest will be unable to demonstrate a causal connection between any conduct of the Debtor

  and the alleged damages it suffered from a reduction in value of its investment.

         25.     Because of the speculative nature of the HarbourVest Claim, and the fact that very

  little pleading or litigation has occurred, the proposed settlement in granting such a large claim is

  unreasonable, not fair and equitable, and not in the best interest of the estate. The lack of pending

  litigation, narrowing of threshold questions, and lack of detail in HarbourVest Claim make it

  impossible to determine whether the huge claim awarded under the proposed settlement is justified

  under the facts. Accordingly, the Motion should be denied.

     C. The Proposed Settlement is an Improper Attempt by the Debtor to Purchase Votes in
        Support of its Plan and the Separate Classification of the HarbourVest Claim
        Constitutes Gerrymandering in Violation of 11 U.S.C. § 1122

         26.     The proposed settlement is a flagrant attempt by the Debtor to purchase votes in

  support of its Plan by giving HarbourVest a significant claim to which it has not shown itself

  entitled. Moreover, the separate classification of the HarbourVest Claim into two separate classes

  constitutes impermissible gerrymandering in violation of section 1122 of the Bankruptcy Code.

  The proposed settlement essentially gives HarbourVest a claim it is not entitled to in exchange for

  votes in two separate classes. This is not a proper basis for a settlement and the Court should deny

  the Motion.

         27.     Section 1122 of the Bankruptcy Code provides as follows:



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         (a) Except as provided in subsection (b) of this section, a plan may place a claim or
         an interest in a particular class only if such claim or interest is substantially similar
         to the other claims or interests of such class.

         (b) A plan may designate a separate class of claims consisting only of every
         unsecured claim that is less than or reduced to an amount that the court approves as
         reasonable and necessary for administrative convenience.

  11 U.S.C. § 1122.

         28.     “Chapter 11 requires classification of claims against a debtor for two reasons. Each

  class of creditors will be treated in the debtor's plan of reorganization based upon the similarity of

  its members' priority status and other legal rights against the debtor's assets. Proper classification

  is essential to ensure that creditors with claims of similar priority against the debtor's assets are

  treated similarly.” In re Greystone III Joint Venture, 995 F.2d 1274, 1277 (5th Cir. 1991).

         29.     “Section 1122 consequently must contemplate some limits on classification of

  claims of similar priority. A fair reading of both subsections suggests that ordinarily substantially

  similar claims, those which share common priority and rights against the debtor’s estate, should

  be placed in the same class.” Id. at 1278.

         30.     The Fifth Circuit has stated that there is “one clear rule that emerges from otherwise

  muddled caselaw on § 1122 claims classification: thou shalt not classify similar claims differently

  in order to gerrymander an affirmative vote on a reorganization plan.” Id. at 1279. The Court

  observed:

         There must be some limit on a debtor’s power to classify creditors in such a manner.
         . . . Unless there is some requirement of keeping similar claims together, nothing
         would stand in the way of a debtor seeking out a few impaired creditors (or even
         one such creditor) who will vote for the plan and placing them in their own class.

  In re Greystone III Joint Venture, 995 F.2d 1274, 1279 (5th Cir. 1991) (quoting In re U.S.

  Truck Co., 800 F.2d 581, 586 (6th Cir. 1986)).




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         31.     Here, the HarbourVest settlement and the classification of the HarbourVest Claim

  under the Plan blatantly violate the Fifth Circuit’s “one rule” concerning the classification of

  claims under section 1122. To the extent that HarbourVest even has a legitimate claim, not only

  should its claim be classified together with other unsecured creditors, its claim should be classified

  solely in one class. To allow the Debtor to do otherwise as proposed is improper gerrymandering

  in order to obtain a consenting class in express violation of section 1122.

     D. There Are Other Reasons for the Court to Closely Scrutinize the Proposed Settlement
        that May Warrant Denial of the Motion

         32.     There are a number of other reasons for the Court to closely scrutinize the proposed

  settlement that may warrant denial of the Motion.

         33.     First, the granting to HarbourVest of a claim in the total amount of $80 million

  potentially allows HarbourVest to achieve a significant windfall at the expense of other creditors

  and equity holders. The Debtor has asserted numerous times that the estate is solvent and, for this

  reason, the purported subordinated claim of $35 million (if allowed and approved) may be worth

  just as much as its general unsecured claim. This is a huge figure in this case, outshined only by

  the Redeemer Committee, which has an actual arbitration award obtained after lengthy litigation.

  By contrast, the HarbourVest Claim contains only a few paragraphs of generalized allegations that

  essentially argue that the Debtor’s alleged actions related to the Acis bankruptcy, and this Court’s

  orders in the Acis case, are a “but for” cause of the loss of its investment. While the HarbourVest

  Response is lengthy, it lacks necessary details for the Court to determine whether HarbourVest

  may be entitled to the relief requested by the Motion. The other significant creditors in this case—

  inter alia, Redeemer, UBS and Acis—all had pending claims that were litigated. Nor is

  HarbourVest a trade creditor, vendor, or other contract counter-party of the Debtor. The

  HarbourVest Claim is thus uniquely situated in this case and, given the size and the nature of its


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  claims, should invite close scrutiny. Under these facts, the potential allowance of an $80 million

  claim (less the value of its share in HCLOF, which may suffer by continued management by Acis)

  against the estate for an investment which was not held or managed by the Debtor would be a huge

  undue windfall.

             34.      Second, the Motion states that HarbourVest will vote its proposed allowed Class 8

  (proposed at $45 million) and Class 9 (proposed at $35 million) claims in support of confirmation.

  There are at least two potential issues with this proposal. First, the deadline for parties to submit

  ballots was January 5, 2021, and as of the close of business on January 5, the HarbourVest Claim

  has not been allowed for voting purposes. 9 Second, the Motion and proposed settlement agreement

  state that the HarbourVest Claim will be allowed for voting purposes only as a general unsecured

  claim in the amount of $45 million. It is unclear how HarbourVest can, or would be authorized to,

  vote its purported Class 8 and 9 Claims in support of the Plan after the voting deadline and when

  the settlement provides only for a voting claim in Class 8.

             35.      Third, while the Motion addresses the factor of probability of success in the

  litigation, it does not discuss in detail the cost of doing so in relation to the amount to be paid to

  HarbourVest under the settlement or the likelihood that the Debtor will succeed in the litigation.

  In addition, unlike the claims filed by Acis and UBS, the HarbourVest Claim does not arise from

  pending litigation. At this point, relatively little litigation has occurred and the parties have not

  addressed threshold issues that might dramatically narrow the scope of the HarbourVest Claim.

  Rule 9019 requires an analysis as to whether the probability of success in litigation is outweighed

  by the consideration achieved under the settlement. See In re Jackson Brewing Co., 624 F.2d 599,

  602 (5th Cir. 1980) (The Court must “compare the terms of the compromise with the likely rewards



  9
      The hearing on the 3018 and 9019 motions are set concurrently with confirmation.

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  of litigation.”). Given the excessive amount to be paid under the settlement and the weakness of

  the HarbourVest Claim, this factor weighs in favor of denial of the Motion.

          36.     Fourth, it is unclear from the settlement papers whether the transfer by HarbourVest

  of its interest in HCLOF to the Debtor or an entity the Debtor designates will cause the value of

  the investment to be received by the Debtor’s estate. Further, the interest of HCLOF being

  conveyed under the proposed settlement may be subject to the Acis plan injunction, which could

  potentially prevent the Debtor’s estate from realizing the value of this interest. In the event the

  Court is inclined to approve the settlement, the order should make clear that the available value of

  the investment should be realized by the Debtor’s estate.

                                           CONCLUSION

          For the reasons set forth above, Respondent respectfully requests that the Court enter an

  order denying the Motion and providing Respondent such other and further relief to which he may

  be justly entitled.



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  Dated: January 6, 2021                       Respectfully submitted,

                                               /s/ D. Michael Lynn
                                               D. Michael Lynn
                                               State Bar I.D. No. 12736500
                                               John Y. Bonds, III
                                               State Bar I.D. No. 02589100
                                               John T. Wilson, IV
                                               State Bar I.D. No. 24033344
                                               Bryan C. Assink
                                               State Bar I.D. No. 24089009
                                               BONDS ELLIS EPPICH SCHAFER JONES LLP
                                               420 Throckmorton Street, Suite 1000
                                               Fort Worth, Texas 76102
                                               (817) 405-6900 telephone
                                               (817) 405-6902 facsimile
                                               Email: michael.lynn@bondsellis.com
                                               Email: john@bondsellis.com
                                               Email: john.wilson@bondsellis.com
                                               Email: bryan.assink@bondsellis.com

                                               ATTORNEYS FOR JAMES DONDERO

                                  CERTIFICATE OF SERVICE

          I, the undersigned, hereby certify that, on January 6, 2021, a true and correct copy of the
  foregoing document was served via the Court’s CM/ECF system on counsel for the Debtor and on
  all other parties requesting or consenting to such service in this case.

                                               /s/ Bryan C. Assink
                                               Bryan C. Assink




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 Douglas S. Draper, La. Bar No. 5073
 ddraper@hellerdraper.com
 Leslie A. Collins, La. Bar No. 14891
 lcollins@hellerdraper.com
 Greta M. Brouphy, La. Bar No. 26216
 gbrouphy@hellerdraper.com
 Heller, Draper & Horn, L.L.C.
 650 Poydras Street, Suite 2500
 New Orleans, LA 70130
 Telephone: (504) 299-3300
 Fax: (504) 299-3399
 Attorneys for The Dugaboy Investment Trust and Get Good Trust

                     UNITED STATES BANKRUPTCY COURT FOR THE
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 IN RE:                                            *              Chapter 11
                                                   *
                                                   *              Case No. 19-34054sgj11
 HIGHLAND CAPITAL MANAGEMENT, L.P.                 *
                                                   *
                Debtor                             *


   OBJECTION TO DEBTOR’S MOTION FOR ENTRY OF AN ORDER APPROVING
   SETTLEMENT WITH HARBOURVEST (CLAIM NOS. 143, 147, 149, 150, 153, 154)
          AND AUTHORIZING ACTIONS CONSISTENT THEREWITH

          The Dugaboy Investment Trust and Get Good Trust (jointly, “Objectors”), submit this

 Objection for the purpose of objecting to the Debtor’s Motion for Entry of an Order Approving

 Settlement with HarbourVest (Claim Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions

 Consistent Therewith [Dkt. #1625] (the “Motion”) filed by Highland Capital Management, L.P.

 (the “Debtor”). Through the Motion, the Debtor seeks approval of its compromise with

 HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover

 Street IX Investment L.P., HV International VIII Secondary L.P., HarbourVest Skew Base AIF

 L.P., and HarbourVest Partners L.P. (collectively, “HarbourVest”) pursuant to Rule 9019 of the




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 Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”). In support of this objection,

 Objectors respectfully represent as follows:

                                       I. INTRODUCTION

        1.      Objectors recognize that Courts favorably view settlements and, as a matter of

    course, generally approve settlements as being in the best interest of the bankruptcy estate.

    The settlement proposed herein, however, is different than other settlements inasmuch as it

    represents a 180 degree departure from the Debtor’s own analysis of the Claim of

    HarbourVest and the fact that the settlement is tied to HarbourVest approving the Debtor’s

    plan. Little or no information is provided by the Debtor as to why its initial analysis was

    flawed and what information or legal principal it discovered to change a zero claim into a

    massive claim that will have a significant impact on the recovery to creditors.

                                         II. BACKGROUND

        2.      On October 16, 2019 (the “Petition Date”), the Debtor filed a voluntary petition

    for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in

    the U.S. Bankruptcy Court for the District of Delaware, Case No. 19-12239 (CSS) (the

    “Delaware Court”).

        3.      On October 29, 2019, the Official Committee of Unsecured Creditors (the

    “Committee”) was appointed by the U.S. Trustee in Delaware.

        4.      On December 4, 2019, the venue of this case was transferred. [Dkt. #186].

        5.      On July 16, 2020, this Court entered an order authorizing the Debtor to employ

    James P. Seery, Jr. as Chief Executive Officer and Chief Restructuring Officer of the Debtor.

    [See Dkt. #854].




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         6.       On April 8, 2020, HarbourVest filed Proofs of Claim Numbers 143, 149, 149,

     150, 153, and 154 (collectively, the “HarbourVest Claim”)1.

         7.       On July 30, 2020, the Debtor filed Debtor’s First Omnibus Objection to Certain

     (A) Duplicate Claims; (B) Overstated Claims; (C) Late-Filed Claims; (D) Satisfied Claims;

     (E) No Liability Claims; and (F) Insufficient-Documentation Claims [Dkt. #906] (the

     “Debtor Objection”), which contained an objection to the HarbourVest Claim.

         8.       On September 11, 2020, HarbourVest filed HarbourVest Response to Debtor’s

     First Omnibus Objection to Certain (A) Duplicate Claims; (B) Overstated Claims; (C) Late-

     Filed Claims; (D) Satisfied Claims; (E) No Liability Claims; and (F) Insufficient-

     Documentation Claims [Dkt. #1057] (the “HarbourVest Response”).

         9.       The Debtor, in its Disclosure Statement for the Fifth Amended Plan of

     Reorganization of Highland Capital Management, L.P. [Dkt. #1473 pgs. 40-41], described

     its position relative to the HarbourVest Claim as follows:

                  The Debtor intends to vigorously defend the HarbourVest Claims on various

                  grounds ….. The HarbourVest Entities invested approximately $80,000,000.00 in

                  HCLOF but seek an allowed claim in excess of 300 million dollars (after giving

                  effect to treble damages for the alleged RICO violations)

         10.      On December 23, 2020, the Debtor filed the Motion seeking approval of a

     proposed settlement of the HarbourVest Claim under Rule 9019. [Dkt. # 1625].

         11.      The proposed settlement provides HarbourVest with the following:

               a. An allowed, general unsecured claim in the amount of $45,000,000.00 [Dkt.

                  #1625 pg. 9 pp.f]; and


 1
   While HarbourVest has filed a number of claims, each filed claim is exactly the same except in the name of the
 claimant. See Claim Nos. 143, 147, 149, 150, 153, and 154.

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               b. A $35,000,000 claim in Class 9 [Dkt. #1625 pg. 9 pp.f].

         12.       An integral element of the settlement requires that HarbourVest will “support

      confirmation of the Debtor’s Plan including, but not limited to, voting its claims in support of

      the Plan.”

         13.       The settlement also contains a provision that HarbourVest will transfer its entire

      interest in HCLOF to an entity to be designated by the Debtor. It is unclear whether

      HarbourVest has a right to transfer the interest and secondly, what the Debtor will do with

      the interest [Dkt. #1625 pp.f].

         14.       The sole support for the Motion is the Declaration of John Morris [Dkt. #1631]

      which fails to account for the enormous change in the Debtor’s position between November

      24, 2020 when the Disclosure Statement was approved and December 23, 2020 when the

      Motion was filed, a period of less than thirty (30) days.

         15.       The Declaration of John Morris [Dkt. #1631] also contains no information as to

      the potential cost of the litigation, whether HarbourVest can transfer the interest or reasons,

      other than conclusory reasons, as to why the settlement is beneficial to the estate. The

      Debtor makes the assertion that the interest it is acquiring was worth $22,000,000.00 as of

      December 1, 2020 without advising as to the basis for the valuation. Is it a book value and, if

      not, what was the methodology employed to arrive at the valuation? The Court has no basis

      to evaluate the settlement without essential information as to 1) how the asset being acquired

      is valued; 2) can the Debtor acquire the interest; and 3) how will the Debtor bring value to

      the estate in connection with the interest inasmuch as the Debtor has discretion as to where to

      place the asset to be acquired.

 A.      LEGAL STANDARDS



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           16.       The law relative to approval of motions pursuant to BR 9019 is well settled. The

      settlement must be fair and equitable. See In re Jackson Brewing Co., 624 F.2d 599, 602 (5th

      Cir. 1980). The factors the Court should consider are the following:

           (i)         the probabilities of ultimate success should the claim be litigated;

           (ii)        the complexity, expense, and likely duration of litigating the claim;

           (iii)       the difficulties of collecting a judgment rendered from such litigation; and,

           (iv)        all other factors relevant to a full and fair assessment of the wisdom of the

           compromise.

 Protective Comm. for Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414

 (1968).

           17.       Although the Debtor’s business judgment is entitled to a certain deference,

      “business judgment” is not alone determinative of the issue of court approval. See In re

      Endoscopy Ctr. of S. Nev., LLC, 451 B.R. 527, 536 (Bankr. D. Nev. 2011).                  However,

      notwithstanding the business judgment rule, a debtor does not have unfettered freedom to do

      what it wishes. See In re Pilgrim’s Pride Corp., 403 B.R. 413, 426 (Bankr. N.D. Tex. 2009)

      (“[A]s a fiduciary holding its estate in trust and responsible to the court, a debtor in possession

      must administer its case and conduct its business in a fashion amenable to the scrutiny to be

      expected from creditor and court oversight.”).

 B.        ISSUES WITH THE SETTLEMENT

           18.       Objectors believe that the following issues are not explained or addressed in the

      Motion and, thus, the Motion should be denied:

                  a) The settlement represents a radical change in the Debtor’s position that was set

                     forth in its Disclosure Statement. While the Debtor asserts that its position is



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                  based on its fear of parties’ oral testimony, the size of the transactions at issue

                  make the case a document case, as opposed to who said what, when and how. A

                  review of the applicable documents to determine whether they support the

                  Debtor’s initial position is warranted, as opposed to stating that the case is based

                  upon the credibility of a witness. This settlement is not the settlement of an

                  automobile accident where the parties are disputing who ran a red light;

               b) The settlement requires HarbourVest to support and vote in favor of the Debtor’s

                  Plan. On its face this appears to be vote buying. The settlement should not be

                  conditioned upon HarbourVest’s support or non-support of the Plan and its vote in

                  favor or against the Plan; and

               c) No information is provided as to whether the Debtor can acquire the interest in

                  HCLOF, liquidate the interest, who will receive the interest, or how will the estate

                  benefit from the interest to be acquired.

                                            CONCLUSION

        The settlement with HarbourVest has too many questions to be approved on the record

 before this Court and the parties, due to the Notice of the Motion, the holidays and the press of

 other litigation in this case, do not have the time to adequately investigate the propriety of the

 settlement.

 January 8, 2021

                                                   Respectfully submitted,


                                                   /s/Douglas S. Draper.
                                                   Douglas S. Draper, La. Bar No. 5073
                                                   ddraper@hellerdraper.com
                                                   Leslie A. Collins, La. Bar No. 14891
                                                   lcollins@hellerdraper.com
                                                   Greta M. Brouphy, La. Bar No. 26216
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                                                gbrouphy@hellerdraper.com

                                                Heller, Draper & Horn, L.L.C.
                                                650 Poydras Street, Suite 2500
                                                New Orleans, LA 70130
                                                Telephone: (504) 299-3300
                                                Fax: (504) 299-3399
                                                Attorneys for The Dugaboy Investment Trust
                                                and Get Good Trust



                                  CERTIFICATE OF SERVICE
        I do hereby certify that on the 8th day of January, 2021, a copy of the above and foregoing
 Objection To Debtor’s Motion For Entry Of An Order Approving Settlement With Harbourvest
 (Claim Nos. 143, 147, 149, 150, 153, 154) And Authorizing Actions Consistent Therewith has
 been served electronically to all parties entitled to receive electronic notice in this matter through
 the Court’s ECF system as follows:

    •   David G. Adams david.g.adams@usdoj.gov,
        southwestern.taxcivil@usdoj.gov;dolores.c.lopez@usdoj.gov
    •   Amy K. Anderson aanderson@joneswalker.com, lfields@joneswalker.com
    •   Zachery Z. Annable zannable@haywardfirm.com
    •   Bryan C. Assink bryan.assink@bondsellis.com
    •   Asif Attarwala asif.attarwala@lw.com
    •   Joseph E. Bain JBain@joneswalker.com, kvrana@joneswalker.com;joseph-bain-
        8368@ecf.pacerpro.com;msalinas@joneswalker.com
    •   Michael I. Baird baird.michael@pbgc.gov, efile@pbgc.gov
    •   Sean M. Beach bankfilings@ycst.com, sbeach@ycst.com
    •   Paul Richard Bessette pbessette@KSLAW.com,
        ccisneros@kslaw.com;jworsham@kslaw.com;kbryan@kslaw.com;jcarvalho@kslaw.com
        ;rmatsumura@kslaw.com
    •   John Y. Bonds john@bondsellis.com, joyce.rehill@bondsellis.com
    •   Larry R. Boyd lboyd@abernathy-law.com, ljameson@abernathy-law.com
    •   Jason S. Brookner jbrookner@grayreed.com,
        lwebb@grayreed.com;acarson@grayreed.com
    •   Greta M. Brouphy gbrouphy@hellerdraper.com,
        dhepting@hellerdraper.com;esixkiller@hellerdraper.com;jmarino@hellerdraper.com
    •   M. David Bryant dbryant@dykema.com, csmith@dykema.com
    •   Candice Marie Carson Candice.Carson@butlersnow.com
    •   Annmarie Antoniette Chiarello achiarello@winstead.com
    •   Shawn M. Christianson schristianson@buchalter.com, cmcintire@buchalter.com
    •   James Robertson Clarke robbie.clarke@bondsellis.com
    •   Matthew A. Clemente mclemente@sidley.com, matthew-clemente-
        8764@ecf.pacerpro.com;efilingnotice@sidley.com;ebromagen@sidley.com;alyssa.russel
        l@sidley.com;dtwomey@sidley.com

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    •   Megan F. Clontz mclontz@spencerfane.com, lvargas@spencerfane.com
    •   Andrew Clubok andrew.clubok@lw.com
    •   Leslie A. Collins lcollins@hellerdraper.com
    •   David Grant Crooks dcrooks@foxrothschild.com,
        etaylor@foxrothschild.com,jsagui@foxrothschild.com,plabov@foxrothschild.com,jmanfr
        ey@foxrothschild.com
    •   Gregory V. Demo gdemo@pszjlaw.com,
        jo'neill@pszjlaw.com;ljones@pszjlaw.com;jfried@pszjlaw.com;ikharasch@pszjlaw.com
        ;jmorris@pszjlaw.com;jpomerantz@pszjlaw.com;hwinograd@pszjlaw.com;kyee@pszjla
        w.com
    •   Casey William Doherty casey.doherty@dentons.com,
        dawn.brown@dentons.com;Docket.General.Lit.DAL@dentons.com;Melinda.sanchez@d
        entons.com
    •   Douglas S. Draper ddraper@hellerdraper.com,
        dhepting@hellerdraper.com;esixkiller@hellerdraper.com;jmarino@hellerdraper.com
    •   Lauren Kessler Drawhorn lauren.drawhorn@wickphillips.com,
        samantha.tandy@wickphillips.com
    •   Vickie L. Driver Vickie.Driver@crowedunlevy.com,
        crissie.stephenson@crowedunlevy.com;seth.sloan@crowedunlevy.com;elisa.weaver@cr
        owedunlevy.com;ecf@crowedunlevy.com
    •   Jonathan T. Edwards jonathan.edwards@alston.com
    •   Jason Alexander Enright jenright@winstead.com
    •   Robert Joel Feinstein rfeinstein@pszjlaw.com
    •   Matthew Gold courts@argopartners.net
    •   Bojan Guzina bguzina@sidley.com
    •   Thomas G. Haskins thaskins@btlaw.com
    •   Melissa S. Hayward MHayward@HaywardFirm.com, mholmes@HaywardFirm.com
    •   Michael Scott Held mheld@jw.com, lcrumble@jw.com
    •   Gregory Getty Hesse ghesse@HuntonAK.com,
        amckenzie@HuntonAK.com;tcanada@HuntonAK.com;creeves@HuntonAK.com
    •   Juliana Hoffman jhoffman@sidley.com, txefilingnotice@sidley.com;julianna-
        hoffman-8287@ecf.pacerpro.com
    •   A. Lee Hogewood lee.hogewood@klgates.com,
        haley.fields@klgates.com;matthew.houston@klgates.com;courtney.ritter@klgates.com;m
        ary-beth.pearson@klgates.com
    •   Warren Horn whorn@hellerdraper.com,
        dhepting@hellerdraper.com;esixkiller@hellerdraper.com;jmarino@hellerdraper.com
    •   John J. Kane jkane@krcl.com, ecf@krcl.com;jkane@ecf.courtdrive.com
    •   Jason Patrick Kathman jkathman@spencerfane.com,
        gpronske@spencerfane.com;mclontz@spencerfane.com;lvargas@spencerfane.com
    •   Edwin Paul Keiffer pkeiffer@romclaw.com, bwallace@romclaw.com
    •   Jeffrey Kurtzman kurtzman@kurtzmansteady.com
    •   Phillip L. Lamberson plamberson@winstead.com
    •   Lisa L. Lambert lisa.l.lambert@usdoj.gov
    •   Paul M. Lopez bankruptcy@abernathy-law.com
    •   Faheem A. Mahmooth mahmooth.faheem@pbgc.gov, efile@pbgc.gov

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    •   Ryan E. Manns ryan.manns@nortonrosefulbright.com
    •   Thomas M. Melsheimer tmelsheimer@winston.com, tom-melsheimer-
        7823@ecf.pacerpro.com
    •   Paige Holden Montgomery pmontgomery@sidley.com,
        txefilingnotice@sidley.com;paige-montgomery-
        7756@ecf.pacerpro.com;crognes@sidley.com
    •   J. Seth Moore smoore@ctstlaw.com, jsteele@ctstlaw.com
    •   John A. Morris jmorris@pszjlaw.com
    •   Edmon L. Morton emorton@ycst.com
    •   David Neier dneier@winston.com, dcunsolo@winston.com;david-neier-
        0903@ecf.pacerpro.com
    •   Holland N. O'Neil honeil@foley.com, jcharrison@foley.com;acordero@foley.com
    •   Rakhee V. Patel rpatel@winstead.com,
        dgalindo@winstead.com;achiarello@winstead.com
    •   Charles Martin Persons cpersons@sidley.com
    •   Mark A. Platt mplatt@fbtlaw.com, aortiz@fbtlaw.com
    •   Jeffrey Nathan Pomerantz jpomerantz@pszjlaw.com
    •   Kimberly A. Posin kim.posin@lw.com, colleen.rico@lw.com
    •   Linda D. Reece lreece@pbfcm.com
    •   Penny Packard Reid preid@sidley.com, txefilingnotice@sidley.com;penny-reid-
        4098@ecf.pacerpro.com;ncade@sidley.com
    •   Davor Rukavina drukavina@munsch.com
    •   Amanda Melanie Rush asrush@jonesday.com
    •   Alyssa Russell alyssa.russell@sidley.com
    •   Douglas J. Schneller douglas.schneller@rimonlaw.com
    •   Brian Patrick Shaw shaw@roggedunngroup.com,
        cashion@roggedunngroup.com;jones@roggedunngroup.com
    •   Michelle E. Shriro mshriro@singerlevick.com,
        scotton@singerlevick.com;tguillory@singerlevick.com
    •   Nicole Skolnekovich nskolnekovich@hunton.com,
        plozano@huntonak.com;astowe@huntonak.com;creeves@huntonak.com
    •   Jared M. Slade jared.slade@alston.com
    •   Frances Anne Smith frances.smith@judithwross.com,
        michael.coulombe@judithwross.com
    •   Eric A. Soderlund eric.soderlund@judithwross.com
    •   Martin A. Sosland martin.sosland@butlersnow.com,
        ecf.notices@butlersnow.com,velvet.johnson@butlersnow.com
    •   Laurie A. Spindler Laurie.Spindler@lgbs.com, Dora.Casiano-Perez@lgbs.com
    •   Jonathan D. Sundheimer jsundhimer@btlaw.com
    •   Kesha Tanabe kesha@tanabelaw.com
    •   Chad D. Timmons bankruptcy@abernathy-law.com
    •   Dennis M. Twomey dtwomey@sidley.com
    •   Basil A. Umari BUmari@dykema.com, pelliott@dykema.com
    •   United States Trustee ustpregion06.da.ecf@usdoj.gov
    •   Artoush Varshosaz artoush.varshosaz@klgates.com, Julie.garrett@klgates.com



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     •   Donna K. Webb donna.webb@usdoj.gov,
         brian.stoltz@usdoj.gov;CaseView.ECF@usdoj.gov;brooke.lewis@usdoj.gov
     •   Jaclyn C. Weissgerber bankfilings@ycst.com, jweissgerber@ycst.com
     •   Elizabeth Weller dallas.bankruptcy@publicans.com, dora.casiano-
         perez@lgbs.com;Melissa.palo@lgbs.com
     •   Daniel P. Winikka danw@lfdslaw.com,
         craigs@lfdslaw.com,dawnw@lfdslaw.com,ivys@lfdslaw.com
     •   Hayley R. Winograd hwinograd@pszjlaw.com
     •   Megan Young-John myoung-john@porterhedges.com



                                          /s/Douglas S. Draper




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                              APPENDIX 




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 Joseph M. Coleman (State Bar No. 04566100)
 John J. Kane (State Bar No. 24066794)
 KANE RUSSELL COLEMAN LOGAN PC
 Bank of America Plaza
 901 Main Street, Suite 5200
 Dallas, Texas 75202
 Telephone - (214) 777-4200
 Telecopier - (214) 777-4299
 Email: jcoleman@krcl.com
 Email: jkane@krcl.com

 ATTORNEYS FOR CLO HOLDCO, LTD.

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

 In re:                                                   §
                                                          §
 HIGHLAND CAPITAL MANAGEMENT, L.P.,                       §       Case No. 19-34054-SGJ
                                                          §
                  Debtor.                                 §       Chapter 11
                                                          §


          CLO HOLDCO, LTD.'S OBJECTION TO HARBOURVEST SETTLEMENT


 TO THE HONORABLE STACEY G. JERNIGAN, U.S. BANKRUPTCY JUDGE:

          CLO Holdco, Ltd. ("CLO Holdco") respectfully files this Objection to Harbourvest Settlement

 (the "Harbourvest Settlement Objection") which seeks entry of an order from this Court denying

 the Debtor's Motion for Entry of an Order Approving Settlement with Harbourvest (Claims Nos. 143, 147, 149,

 150, 153, 154) and Authorizing Actions Consistent Therewith (the "Harbourvest Settlement Motion")

 for the reasons stated below. In support of the Harbourvest Settlement Objection, CLO Holdco

 respectfully states as follows:

                                                   I.
                                              BACKGROUND

 A.       TRANSFERRING SHARES IN HCLOF




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         1.      CLO Holdco owns 75,061,630.55 shares, or about 49.02% of Highland CLO

 Funding, Ltd. ("HCLOF").         Other shareholders include Harbourvest 2017 Global AIF L.P.,

 Harbourvest Global Fund L.P., Harbourvest Dover Street IX Investment L.P., and Harbourvest

 Skew Base AIF L.P., and HV International VIII Secondary L.P. (collectively, "Harbourvest").

 Harbourvest owns approximately 49.98% of HCLOF. The remaining 1% is owned by the Debtor

 and a five other investors.

         2.      HCLOF is governed by a Members Agreement Relating to the Company dated November

 15, 2017 by and between each of the members of HCLOF, including Harbourvest, the Debtor, and

 CLO Holdco (the "Member Agreement").               A copy of that agreement is attached hereto as

 Exhibit A.

         3.      Section 6 of the Member Agreement addresses the "Transfer or Disposals of

 Shares." MEMBER AGREEMENT, § 6. The Member Agreement places strict restrictions on the sale

 or transfer of shares to entities other than the initial Member's own affiliates. See id. at §§ 6.1, 6.2.

 Before a Member can transfer its interests to a party other than its own affiliates it must: (i) obtain

 the prior written consent of the Portfolio Manager; and (ii) "offer to the other Members a right to

 purchase the Shares, on a pro rata basis with respect to their current Shares, at the same price (which

 must be cash) as such Shares are proposed to be purchased by the prospective third party purchaser

 pursuant to an irrevocable offer letter" (the "Right of First Refusal"). Id. As further stated in

 section 6.2 of the Member Agreement, "The other Members will have 30 days following receipt of

 the letter to determine whether to purchase their entire pro rata portion of the Shares proposed to

 be Transferred." Id. at § 6.2.

 B.      THE HARBOURVEST SETTLEMENT

         4.      On December 23, 2020, the Debtor filed the Harbourvest Settlement Motion. On

 the following day, the Debtor filed a copy of the Settlement Agreement referenced in the


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 Harbourvest Settlement Motion (the "Settlement Agreement") [Dkt. No. 3]. In the Settlement

 Agreement, Harbourvest represents and warrants that it is authorized to transfer its interest in

 HCLOF to the Transferee, HCMLP Investments, LLC (the "Transferee").                     SETTLEMENT

 AGREEMENT, Ex. A. § 3. Further, the Transferee and Debtor agree to be bound by the terms and

 conditions of the Member Agreement. Id. at § 1.c.

        5.      In exchange for conveniently classified allowed claims under the Debtor's Fifth

 Amended Plan of Reorganization of Highland Capital Management, L.P. (the "Plan") [Dkt. No. 1472],

 Harbourvest agrees to vote in favor of the Plan and to transfer all of its interests in HCLOF to the

 Transferee. SETTLEMENT AGREEMENT, § 1.

        6.      As detailed below, CLO Holdco objects to the Harbourvest Settlement Motion

 because Harbourvest has no authority to transfer its interests in HCLOF without first complying

 with the Right of First Refusal. The only way to effectuate such a transfer without first providing

 other members the Right of First Refusal is an intentionally inaccurate interpretation of the Member

 Agreement's contractual provisions that would render specific passages redundant and meaningless.

 More simply put, the only way Harbourvest and the Debtor could effectuate the Settlement

 Agreement is by violating fundamental tenets of contract interpretation.

                                         II.
                              ARGUMENTS AND AUTHORITIES

 A.     CONTRACT INTERPRETATION – AVOIDING REDUNDANCIES AND SURPLUS LANGUAGE

        7.      The Fifth Circuit recognizes fundamental tenets of contract interpretation, and notes

 that "contracts should be read as a whole, viewing particular language in the context in which it

 appears. Woolley v. Clifford Chance Rogers & Wells, L.L.P., 51 F. App'x 930 (5th Cir. 2002) (citing

 Restatement (Second) of Contracts § 202 (1981)). The Fifth Circuit has applied substantially the

 same tenets of contract interpretation across the laws of various jurisdictions, and consistently

 reasons that "[a]ll parts of the agreement are to be reconciled, if possible, in order to avoid an

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 inconsistency. A specific provision will not be set aside in favor of a catch-all clause." Broad v.

 Rockwell Int'l Corp., 642 F.2d 929, 947 (5th Cir. 1981) (internal citations omitted); and see Hawthorne

 Land Co. v. Equilon Pipeline Co., LLC, 309 F.3d 888, 892–93 (5th Cir. 2002); Luv N' Care, Ltd. v.

 Groupo Rimar, 844 F.3d 442, 447 (5th Cir. 2016); Wooley, 51 F.Appx. at 930.

        8.      Reconciliation of terms that would otherwise render other parts of a contract

 redundant is fundamental to proper contract interpretation. Hawthorne Land, 309 F.3d at 892-93. As

 the Firth Circuit explained in Hawthorne Land, "each provision of a contract must be read in light of

 the other provisions so that each is given the meaning suggested by the contract as a

 whole. A contract should be interpreted so as to avoid neutralizing or ignoring a provision or

 treating it as surplusage." Id. (internal citations and quotations omitted). In other words, provisions

 of a contract should be read to create harmony, not internal inconsistencies, redundancies, and

 unnecessary surplus language. See, e.g., Luv N' Care, 844 F.3d at 447 (overturning district court on

 appeal by interpreting contract in manner that eliminated perceived redundancy).

 B.     ANALYZING THE MEMBER AGREEMENT

        9.      Section 6.1 of the Member Agreement will almost certainly be cited by the Debtor

 and Harbourvest as authority for their entry into the Settlement Agreement, regardless of whether

 other Members or the Portfolio Manager consent. It states, in pertinent part, that:

        No Member shall sell, pledge, charge, mortgage, assign, assign by way of security,
        transfer, convey, exchange or otherwise dispose of its Shares or its commitment to
        settle purchases of Shares under the Subscription and Transfer Agreement (each a
        "Transfer"), other than to an Affiliate of an initial Member party hereto, without the
        prior written consent of the Portfolio Manager…

 MEMBER AGREEMENT, § 6.1. Harbourvest will likely stress that under the terms of the Member

 Agreement, it can transfer its interests so long as the transfer is to "an Affiliate of an initial

 Member."     Indeed, the Debtor will no doubt point out to this Court that Harbourvest is




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 conveniently transferring its interests in HCLOF to an Affiliate of the Debtor, and that the Debtor

 is an initial Member listed in the Member Agreement.

         10.     Section 6.1, however, must be read in the context of the Member Agreement, and in

 conjunction with the transfer restrictions found in section 6.2. Read together it is clear that the

 consent exception allowing a transfer in 6.1 was intended to allow a Member to transfer its shares to

 its own Affiliate, without required consents and effectuating a Right of First Refusal. Doing so

 would allow inter-company transfers within a corporate structure without the need for complicated

 procedures. Applying Fifth Circuit precedent, this interpretation fits squarely within the agreement

 and gives weight to the terms of section 6.2 of the Member Agreement, as explained below.

         (i)     Surplusage – Specific Allowance of Transfers by CLO Holdco to Debtor
                 Affiliates

         11.     Recall that both CLO Holdco and the Debtor are initial Members to the Member

 Agreement. MEMBER AGREEMENT, p. 3. Section 6.2 of the Member Agreement states, in pertinent

 part, that "Prior to making any Transfer of Shares (other than Transfers to Affiliates of an initial

 Member or, in the case of CLO Holdco or a Highland Principal, to Highland, its Affiliates or another Highland

 Principal) a Member must first…" comply with the Right of First Refusal. Id. at § 6.2 (emphasis

 added). The italicized language above is important for two reasons: (i) it specifically enumerates that

 CLO Holdco can transfer its interests to Debtor Affiliates without having to pursue the Right of

 First Refusal; and (ii) it allows only limited transfers between Members, as opposed to between a

 Member and an Affiliate of an initial Member.

         12.     If, as the Debtor and Harbourvest will likely argue, Members are allowed to transfer

 their interests to any Affiliates of any other initial Members, there is absolutely no need for the

 Member Agreement to specifically authorize CLO Holdco to transfer its interests to the Debtor's

 Affiliates. Per Fifth Circuit fundamentals of contract interpretation, that purported redundancy



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 should not be discarded as mere surplusage, and the Member Agreement should be interpreted in a

 manner that gives weight to that provision. Hawthorne Land, 309 F.3d at 892-93.

         13.     If the Member Agreement is read to literally allow all "Transfers to Affiliates of an

 initial Member" there would be no reason to expressly set forth allowed transfers between specific

 Members and other Member's Affiliates. If the Member Agreement sought to list all allowed

 transfers between Members and their Affiliates, it should have similarly noted that any Member

 could transfer its interest to any Harbourvest Member entity, as each Harbourvest Member entity is

 an Affiliate of the other Harbourvest Member entities. Alternatively, if the specific enumeration of

 CLO Holdco and the Highland Principals' transfer rights was surplusage, it would presumably have

 listed other parties' rights, or had inclusive language such as "including but not limited to" or "for

 example." The Member Agreement lacks such language and, as a result, should be interpreted in a

 manner that both gives weight to the specific provision while reconciling other provisions of the

 contract.

         (ii)    Absurd Results – Disparate Transfer Rights Between Members

         14.     Note that the Member Agreement does not generally allow a transfer of interests

 from Member to Member unless specifically enumerated. Section 6.2 specifically allows only CLO

 Holdco and the Highland Principals to make transfers to other Members, but those other Members

 include only the Debtor or another Highland Principal. MEMBER AGREEMENT, § 6.2. It does not

 allow the Debtor to transfer interests to any Member, and does not expressly allow any Member,

 other than limited transfers by CLO Holdco and the Highland Principals, to transfer interests to any

 other Member. Id. For instance, if the Debtor wished to transfer its interests to CLO Holdco, it

 would first have to offer all of the other Members their Right of First Refusal. Id.

         15.     Similarly, if Harbourvest wished to transfer its interest to CLO Holdco, it could not

 do so without first providing the Right of First Refusal to all other Members. Id. As noted above,


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 however, allowing a Member to transfer its interest to an Affiliate of any initial Member would allow

 all of the Members to transfer their interests to any Harbourvest Member entity, as the Harbourvest

 Members are Affiliates of each other. Given the specific enumeration of CLO Holdco and the

 Highland Principals' rights to inter-Member transfers, it would be inconsistent to expand that

 specific provision to allow all transfers by all Members to any Harbourvest entity without first

 providing a Right of First Refusal.

        16.      Such a reading would lead to absurd results. It would grant similarly situated

 Members profoundly disparate rights under the agreement, and could easily lead to manipulation.

 For instance, because the Harbourvest Members are technically Affiliates of an initial Member (each

 other), they could obtain control of all of the interests in HCLOF without any Member receiving a

 Right of First Refusal for any transfer. No other Member could do that. For instance, if CLO

 Holdco wished to acquire other Members' interests, the transferring member (including

 Harbourvest) would have to offer a Right of First Refusal in every instance. To resolve that potential

 disparate treatment—though CLO Holdco and Harbourvest own nearly identical ownership

 interests in HCLOF—CLO Holdco would have to form an Affiliate and acquire interests through

 the Affiliate. That simply cannot be the intended result of the Member Agreement.

        17.     Instead, the Member Agreement must be read to require Harbourvest to provide a

 Right of First Refusal to the other Members of HCLOF before transferring its interests to either the

 Debtor or the Transferee.

 C.     THE RIGHT OF FIRST REFUSAL IN BANKRUPTCY

        18.     Most cases addressing third party rights of first refusal in bankruptcy involve the

 assignment of leases and landlords' rights of first refusal. In those cases, courts analyze whether

 such a provision in the debtor's contract is a defacto restriction on assignment that may be excised




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 from the agreement. This case is very different. Here, it is a creditor that owes a right of first

 refusal to another non-debtor entity.

         19.     Even so, at least one court has issued telling commentary on a bankruptcy court's

 ability to excise provisions of a bargained-for contract, stating "A bankruptcy court's authority to

 excise a bargained for element of a contract is questionable and modification of a nondebtor

 contracting party's rights is not to be taken lightly." In re E-Z Serve Convenience Stores, Inc., 289 B.R.

 45, 51-52 (Bankr. M.D.N.C. 2003) (citing In re Joshua Slocum Ltd., 922 F.2d 1081, 1091 (3d Cir.

 1991)). CLO Holdco was unable to find any case that would allow a bankruptcy court to invalidate

 or otherwise excise a third party's right of first refusal in what largely amounts to a non-debtor

 contract.

         20.     As the Member Agreement requires Harbourvest to provide a Right of First Refusal

 to the non-Debtor Members under section 6.2 of the Agreement, and such Members have 30 days

 to review and determine whether to purchase their pro-rata shares offered by Harbourvest,

 Harbourvest lacks contractual authority to enter into the Settlement Agreement.

 D.      HARBOURVEST'S LACK OF AUTHORITY PRECLUDES ENFORCEMENT OF SETTLEMENT

         21.     Harbourvest has not completed its conditions precedent to the transfer of its interest

 to Transferee under the Member Agreement.             As detailed above, and in section 6.2 of the

 Agreement, Harbourvest must effectuate the Right of First Refusal before it can transfer its interests

 in HCLOF. MEMBER AGREEMENT, § 6.2. Harbourvest is, in essence, bound by the condition

 precedent of effectuating the Right of First Refusal before it is authorized under the Member

 Agreement to enter into the Settlement Agreement.

         22.     Courts should not enforce a settlement agreement where a party has a condition

 precedent to entry into the agreement and fails to satisfy that condition. In re De La Fuente, 409 B.R.

 842, 846 (Bankr. S.D. Tex. 2009). As noted in part in De La Fuente, the court would not recognize


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 or enforce a settlement where the parties were subject to conditions precedent before the settlement

 could be effective, and the conditions precedent were not satisfied. This Court should similarly deny

 Harbourvest's proposed settlement, as it would deny the Members' Right of First Refusal, which is

 the benefit of their bargain under the Member Agreement.

                                             III.
                                      PRAYER FOR RELIEF

        WHEREFORE, CLO Holdco requests that this Court grant the Objection and enter an

 order denying the Harbourvest Settlement Motion.

 DATED: January 8, 2020                                Respectfully submitted,

                                                       KANE RUSSELL COLEMAN LOGAN PC

                                                       By:     /s/ John J. Kane
                                                               Joseph M. Coleman
                                                               State Bar No. 04566100
                                                               John J. Kane
                                                               State Bar No. 24066794

                                                       901 Main Street, Suite 5200
                                                       Dallas, Texas 75202
                                                       Telephone - (214) 777-4200
                                                       Telecopier - (214) 777-4299
                                                       Email: jcoleman@krcl.com
                                                       Email: jkane@krcl.com

                                                       ATTORNEYS FOR CLO HOLDCO, LTD.




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                                     CERTIFICATE OF SERVICE

          I hereby certify that on January 8, 2020, a true and correct copy of the foregoing CLO
  Holdco Objection was served via the Court's electronic case filing (ECF) system upon all parties
  receiving such service in this bankruptcy case; and via e-mail upon the United States Trustee at
  Lisa.L.Lambert@usdoj.gov and upon the following parties:

  Paige Holden Montgomery                          Jeffrey N. Pomerantz
  Penny P. Reid                                    Ira D. Kharasch
  Juliana L. Hoffman                               John A. Morris
  2021 McKinney Avenue, Suite 2000                 Gregory V. Demo
  Dallas, Texas 74201                              10100 Santa Monica Boulevard, 13th Floor
  Email: pmontgomery@sidley.com                    Los Angeles, CA 90067
          preid@sidley.com                         Email: jpomerantz@pszjlaw.com
          jhoffman@sidley.com                              ikharasch@pszjlaw.com
                                                           jmorris@pszjlaw.com
  Bojan Guzina                                             gdemo@pszjlaw.com
  Matthew A. Clemente
  Dennis M. Twomey                                 Melissa S. Hayward
  Alyssa Russell                                   Texas Bar No. 24044908
  One South Dearborn Street                        Zachery Z. Annable
  Chicago, Illinois 60603                          Texas Bar No. 24053075
  Email: bguzina@sidley.com                        10501 N. Central Expy, Ste. 106
         mclemente@sidley.com                      Dallas, Texas 75231
         dtwomey@sidley.com                        Email: MHayward@HaywardFirm.com
         alyssa.russell@sidley.com                         ZAnnable@HaywardFirm.com

  Counsel for Harbourvest:
  M. Natasha Labovitz
  Erica S. Weisgerber
  Daniel E. Stroik
  Vickie L. Driver
  Christina W. Stephenson
  Email: nlabovitz@debevoise.com
          eweisgerber@debevoise.com
          destroik@debevoise.com
          vickie.driver@crowedunlevy.com
          crissie.stephenson@crowedunlevy.com


                                                             /s/ John J. Kane
                                                             John J. Kane




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                              APPENDIX 




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2IN THE UNITED STATES BANKRUPTCY COURT
FOR THE NORTHERN DISTRICT OF TEXAS
3DALLAS DIVISION

4IN RE:

5CHAPTER 11

6CASE NO.
HIGHLAND CAPITAL19-34054-
7MANAGEMENT, L.P.SGJLL

8
Debtor.
9

10

11Confidential - Under Protective Order

12REMOTE DEPOSITION OF
MICHAEL PUGATCH
13Zoom Videoconference
01/11/2021
141:07 P.M. (EDT)

15

16

17

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24REPORTED BY:AMANDA GORRONO, CLR
CLR NO. 052005-01
25JOB NO. 188591



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1                                                                     1
201/11/2021                                           2A P P E A R A N C E S:(Via Remote)
31:07 P.M. (EDT)                                        3PACHULSKI STANG ZIEHL & JONES
4                                                                     4Attorneys for Debtor
5                                                                     5780 Third Avenue
6REMOTE ORAL DEPOSITION OF MICHAEL                                6New York, New York 10017
7PUGATCH, held virtually via Zoom                                   7BY:JOHN MORRIS, ESQ.
8Videoconferencing, pursuant to the                                 8HAYLEY WINOGRAD, ESQ.
9Federal Rules of Civil Procedure before                            9
10Amanda Gorrono, Certified Live Note                                10BONDS ELLIS EPPICH SCHAFER JONES
11Reporter, and Notary Public of the State                           11Attorneys for Jim Dondero
12of New York.                                                       12420 Throckmorton Street
13                                                                     13Fort Worth, Texas 76102
14                                                                     14BY:JOHN WILSON, ESQ.
15                                                                     15BRYAN ASSINK, ESQ.
16                                                                     16
17                                                                     17DEBEVOISE & PLIMPTON
18                                                                     18Attorneys for HarbourVest
19                                                                     19919 Third Avenue
20                                                                     20New York, New York 10022
21                                                                     21BY:ERICA WEISGERBER, ESQ.
22                                                                     22M. NATASHA LABOVITZ, ESQ.
23                                                                     23EMILY HUSH, ESQ.
24                                                                     24DANIEL STROIK, ESQ.
25                                                                     25


                                                              Page 4                                                           Page 5
1                                                                     1
2A P P E A R A N C E S: (Via Remote)                                2A P P E A R A N C E S: (Via Remote)
3KANE RUSSELL COLEMAN & LOGAN                                       3KING & SPALDING
4Attorneys for CLO Holdco Limited                                   4Attorney for Highland CLO Funding, Ltd.
5Bank of America Plaza                                              51180 Peachtree Street, NE
6901 Main Street                                                    6Atlanta, Georgia 30309
7Dallas, Texas 75202                                                7BY:MARK MALONEY, ESQ.
8BY:JOHN KANE, ESQ.                                                8
9                                                                     9
10HELLER, DRAPER, HAYDEN, PATRICK, & HORN                            10
11Attorneys for The Dugaboy Investment                               11ALSO PRESENT:
12Trust and the Get Good Trust                                       12ALIZA GOREN, ESQ.
13650 Poydras Street                                                 13
14New Orleans, Louisiana 70130                                       14
15BY:DOUGLAS DRAPER, ESQ.                                           15
16                                                                     16
17LATHAM & WATKINS                                                   17
18Attorney For UBS                                                   18
19885 Third Avenue                                                   19
20New York, New York                                                 20
21BY: SHANNON MCLAUGHLIN, ESQ.                                       21
22                                                                     22
23                                                                     23
24                                                                     24
25                                                                     25




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                                                            Page 6                                                          Page 7
1                                                                   1
2I N D E X                                               2Exhibit 8E-mail 08/15/2017..........68
3
                                                                     3Exhibit 911/29/2017 E-mail with79
WITNESSEXAMINATION BYPG
                                                                     4cover letter Highland
4MICHAEL PUGATCHMR. WILSON10,148
                                                                     5Capital Management.........
MR. KANE122
5MS. WEISGERBER147                                     6Exhibit 10 2004 Examination of83

6                                                                   7Investor in Highland CLO
E X H I B I T S                                            8Funding Ltd. 10/10/2018....
7                                                                   9Exhibit 11 Declaration of John A.109
EXHIBIT
                                                                     10Morris in Support of the
DESCRIPTIONPAGE
                                                                     11DebtoríS Motion For Entry
9Exhibit 1Proof of Claim 143 filed16
104/08/2020 nine pages.......                                 12of an Order Approving

11Exhibit 2Proof of Claim 149 filed17                           13Settlement With
124/08/2020 nine pages.......                                 14Harbourvest (Claim Nos.
13Exhibit 3Declaration of Michael18                            15143, 147, 149, 150, 153,
14Pugatch in Support of
                                                                     16154) and Authorizing
15Motion of HarbourVest
                                                                     17Actions, 82 pages..........
16Pursuant to Rule 3018(a)...
                                                                     18
17Exhibit 4Member Agreement 28 pages..21
18Exhibit 5HarbourVest Response to22                            19
19Debtor's First Omnibus                                      20R E Q U E S T S
20Objection 617 pages........                                 21DESCRIPTIONPG
21Exhibit 6Offering Memorandum 12261
                                                                     22Transcript be marked Confidential10
22pages......................
                                                                     23under the Protective Order.............
23Exhibit 7Share Subscription and63
                                                                     24
24Transfer Agreement 31
25pages......................                                 25


                                                            Page 8                                                          Page 9
1                                                                   1
2MR. WILSON:I'm John Wilson                                   2the line by my colleagues from
3with the firm of Bonds Ellis Eppich                              3Debevoise, Natasha Labovitz and Emily
4Schafer Jones LP.And I represent Jim                            4Hush, and Aliza Goren from HarbourVest
5Dondero.                                                         5is on the line, as well.
6MR. MORRIS:John Morris and                                   6MR. WILSON:As a preliminary
7Hayley Winograd of Pachulski Stang                               7matter, the witness' counsel has
8Ziehl & Jones for the Debtor.                                    8produced some documents to us that
9MS. WEISGERBER:Erica                                         9they've requested be subject to the
10Weisgerber from Debevoise & Plimpton                             10confidentially order or a brief
11for HarbourVest.                                                 11protective order entered at Document
12MR. KANE:John Kane of Kane                                   12Number 382, in this case.
13Russell Coleman & Logan, for CLO                                 13And she's also requested that
14Holdco Limited.                                                  14all counsel and participants in this
15MR. DRAPER:Douglas Draper of                                 15deposition agree to be bound by the
16Heller Draper & Horn, for The Dugaboy                            16terms of that order, because some of
17Investment Trust and the Get Good                                17the documents that were produced are
18Trust.                                                           18stamped "confidential," and they want
19MS. McLAUGHLIN:Shannon                                       19to maintain that confidentially.
20McLaughlin from Latham & Watkins LLP                             20Do we have an agreement of all
21for UBS.                                                         21counsel and participants on the
22MR. MALONEY:Mark Maloney from                                22deposition to be bound by the terms of
23King & Spalding, on behalf of Highland                           23that agreed protective order?
24CLO Funding Limited.                                             24(All agreed.)
25MS. WEISGERBER:I'm joined on                                 25MS. WEISGERBER:Okay.I think


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1Confidential - Pugatch                              1Confidential - Pugatch
2that was everyone.Thank you all for                 2matters related to the 9019 motion.And
3confirming.And the deposition will                  3specifically we asked that HarbourVest
4be marked "confidential" until and                   4produce a witness who could talk about the
5unless HarbourVest designates the                    5negotiations of the settlement with the
6testimony otherwise.                                 6Debtor, and also the factual allegations
7MR. WILSON:And that's fine.                      7underlying HarbourVest's Proof of Claim,
8(Whereupon, a request for                         8and those described in HarbourVest's
9Transcript be marked Confidential                    9response to the claim objection, including
10under the Protective Order was made.)                10without limitation, its investment with
11M I C H A E LP U G A T C H,                          11Acis/HCLOF in the alleged representations
12called as a witness, having been                  12made by the Debtor and/or Acis/HCLOF to
13first duly affirmed by a Notary Public of              13HarbourVest, and any and all agreements
14the State of New York, was examined and                14entered into between HarbourVest and any
15testified as follows:                                  15other party related to its investment.
16EXAMINATION                                            16Do you agree that you're the
17BY MR. WILSON:                                         17best person to talk about these matters on
18Q.All right.Mr. Pugatch, how do                   18behalf of HarbourVest?
19you pronounce your name?I'm sorry.                    19A.Yes.Yes.
20A.Yep, you've got it.Pugatch.                     20Q.Okay.Have you given a
21Q.Pugatch.Okay.Can you state                     21deposition before?
22your full name for the record?                         22A.I have.
23A.Yeah.Michael Pugatch.                           23Q.Okay.So you understand how it
24Q.Okay.And you've been                            24works that you're under oath, and that I'm
25designated by HarbourVest to discuss some              25going to be asking questions and you're
                                                 Page 12                                                    Page 13
1Confidential - Pugatch                              1Confidential - Pugatch
2going to be giving answers.If at any                  2A.Sounds good.
3time I ask a question that you don't                   3Q.What's your current address?
4understand, or we've had some problems                 4A.47 Wayne Road in Needham,
5with sometimes connectivity issues with                5Massachusetts.
6Zoom.But yeah, any time that you don't                6Q.Okay.And where are you located
7understand my question or you didn't catch             7today?
8it, I'll be happy to repeat it.                        8A.At that address.
9Also, one thing I found with                      9Q.Okay.That's your home address?
10Zoom is that it's easier to talk over                  10A.Correct.
11people.I'll try not to talk over you. I               11Q.And is anyone in the room with
12would ask that you try to ensure that I've             12you there?
13finished asking my question before you                 13A.No.
14start your answer.And I will likewise                 14Q.And did you talk with anyone
15try to ensure that you've finished your                15about your deposition today?
16answer before start my next question.                  16A.Only counsel.
17And at any time during this                       17Q.Okay.And did you go over the
18deposition if you feel the need to take a              18facts of the underlying investment and the
19break, that's totally okay with me.The                19settlement negotiations with your counsel?
20one thing that I would ask is if I've just             20MS. WEISGERBER:I'm going to
21asked a question, that you answer the                  21object on privilege grounds.He
22question before requesting the break.                  22can -- he prepared for the deposition
23And if we have that agreement                     23with counsel.I don't think you can
24and the ground rules, then I think I'm                 24inquire into specifics of the
25ready to start asking you my questions.                25preparation.


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1Confidential - Pugatch                              1Confidential - Pugatch
2MR. WILSON:Okay.Well, you                       2sorry, HV International VIII Secondary
3know, he was designated to talk about                3L.P., and 154 HarbourVest Skew Base AIF
4these matters, and I'm just asking if                4LP.
5he discussed these matters with his                  5And you're here to talk on
6counsel his before his testimony.                    6behalf of all of those entities, and you
7That's all.I'm not asking the                       7have, for purpose of this settlement and
8substance of those communications.                   8you're -- the 9019 motion, these proofs of
9MS. WEISGERBER:You're asking                     9claim are all lumped together as one
10about conversations with counsel.How                10claim; is that correct?
11about you just ask if he's prepared to               11MS. WEISGERBER:I'm just going
12talk about those topics today?                       12to object quickly and clarify that
13MR. WILSON:Okay.                                 13he's not here as a 30(b)(6) witness,
14BY MR. WILSON:                                         14but he is here as someone from
15Q.Are you prepared to talk about                   15HarbourVest who signed those proofs of
16those topics today?                                    16claim.So with that, I'll let you
17A.Yes.                                             17continue.
18Q.Okay.Now, HarbourVest has                       18A.I'll just answered the question,
19filed several proofs of claim in this                  19yes, as a representative on behalf of all
20matter, and it looks like those are                    20of those entities.I would defer to
21numbered 143 on behalf of HarbourVest,                 21counsel, from a legal perspective, whether
22217 Global Fund L.P., and 144 HarbourVest              22these are treated as a single or separate
232017 Global AIF, 149 HarbourVest Partners              23claims.
24L.P., 150 HarbourVest Dover Street, IX                 24MR. WILSON:Okay.And we can
25Investment L.P., 153 HarbourVest -- or I'm             25move on for now.
                                                 Page 16                                                    Page 17
1Confidential - Pugatch                                1Confidential - Pugatch
2I'm going to submit the first                       2(Whereupon, Exhibit 2, Proof of
3exhibit.It's going to be Exhibit                      3Claim 149 filed 4/08/2020 nine pages,
4No. 1 to the deposition.I'm sending                   4was marked for identification.)
5it by E-mail, and I'm also going to                    5BY MR. WILSON:
6use a share screen.                                    6Q.Can you see the official proof,
7(Whereupon, Exhibit 1, Proof of                     7official form 410 proof of claim on your
8Claim 143 filed 4/08/2020 nine pages,                  8screen?
9was marked for identification.)                        9A.The first one that you shared?
10MR. WILSON:So this document                        10Q.I'm now on Exhibit No. 2.Is it
11right here is Claim Number 143 filed                   11showing up on your screen?
12on April 8, 2020, and this one is                      12A.No.
13filed on behalf of HarbourVest 2017                    13Q.Okay.Actually, I'm sorry.Is
14Global Fund L.P.                                       14it now showing up on your screen?
15If we go down, scroll to the                        15A.Now, it's showing up, yep.
16annex to proof of claim, it's Page 5                   16Q.Okay.So this one is Proof of
17of the document.It says that the                      17Claim 149, filed on the same date.And
18Claimant is a limited partner in one                   18this one's filed on behalf HarbourVest
19of the Debtor's managed vehicles,                      19Partners L.P.And I'm going to scroll
20Highland CLO Funding, Ltd.                             20down to the annex to proof of claim, which
21And I'm going to now send out an                    21looks largely like the annex to the
22E-mail with Exhibit No. 2.I'm going                   22previous proof of claim we looked at.
23to pull this Exhibit No. 2 document up                 23But this one says, in Paragraph
24on the share screen, as well.I guess                  24No. 2, the Claimant manages investment
25that's right.                                          25funds that are limited partners in one of


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1Confidential - Pugatch                              1Confidential - Pugatch
2the Debtor's managed vehicles, Highland                2and I'm about to put it up on the
3CLO Funding, Ltd.                                      3screen, is the Declaration of
4And can you tell me why this                      4HarbourVest.Let me get it up here,
5HarbourVest Partners L.P. filed a separate             5so you can see it.This is the
6proof of claim, from the entities that                 6declaration of Michael Pugatch in
7were investors in HCLOF?                               7support of motion of HarbourVest
8A.I would only be able to answer                   8pursuant to Rule 3018(a).
9that, based on conversations with counsel.             9BY MR. WILSON:
10Q.But in any event, HarbourVest                    10Q.Have you seen this document
11Partners L.P. did not invest in HCLOF,                 11before?
12correct?                                               12A.Yes.
13A.Not directly on behalf of                        13Q.And, in fact, this is your
14itself, no.                                            14declaration; is that correct?
15Q.All right.I'm going to stop                     15A.Yes.
16that share screen.                                     16Q.And at the first line of this,
17MR. WILSON:And this is going                     17of Paragraph 1 says that you're the
18to be Exhibit Number 3.                              18managing director of HarbourVest Partners
19(Whereupon, Exhibit 3,                            19LLC?
20Declaration of Michael Pugatch in                    20A.Correct.
21Support of Motion of HarbourVest                     21Q.And how is HarbourVest Partners
22Pursuant to Rule 3018(a), was marked                 22LLC connected to these claims?
23for identification.)                                 23A.That is the corporate entity or
24MR. WILSON:And Exhibit No. 3                     24managing member of all of the underlying
25that I've just submitted via E-mail,                 25funds that are managed on behalf of
                                                 Page 20                                                    Page 21
1Confidential - Pugatch                              1Confidential - Pugatch
2HarbourVest Partners L.P.                              2(Whereupon, Exhibit 4, Member
3Q.And you're the managing director                 3Agreement 28 pages, was marked for
4of that entity?                                        4identification.)
5A.A managing director to that                      5BY MR. WILSON:
6entity, yes.                                           6Q.Can you see this on your share
7Q.You said "a managing director,"                  7screen?
8are there others?                                      8A.I can.
9A.Yes.                                             9Q.This is the Members Agreement
10Q.Who are the others?                              10relating to the Company.
11A.There are over 50 managing                       11A.(Nods.)
12directors at HarbourVest Partners LLC.                 12Q.I'm just going to scroll down.
13Q.And are you the managing                         13Okay.So this is the signature page for
14director that has charge of this                       14the HarbourVest entities that were
15particular HarbourVest investment, the one             15invested in this company.And it says
16in HCLOF?                                              16that you were the authorized person to
17A.Yes.                                             17sign on behalf of the first two entities:
18MR. WILSON:All right.I beg                      18HarbourVest Dover Street, HarbourVest 2017
19your patience.I'm trying to conduct                 19Global, and then the next one here it says
20this deposition solo.I've got a lot                 20you're managing director.And here we see
21of stuff I've got to go through.So                  21that HarbourVest Partners LLC.
22I'll do my best to do it efficiently.                22And if we scroll down, we see
23But this next exhibit I'm going                   23that you're the managing director of
24to submit is going to be Exhibit No.                 24HarbourVest Partners LLC, again, on behalf
254.I'm sending it in the E-mail now.                 25of HV International, and that you're an


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1Confidential - Pugatch                              1Confidential - Pugatch
2authorized person on behalf of HarbourVest             2Omnibus Objection.
3Skew Base.                                             3Did you participate in the
4So you signed all these                           4creation of this document?
5agreements on behalf of the HarbourVest                5A.Yes.
6entities, when HarbourVest made its                    6Q.So you had an opportunity to
7investment in HCLOF.Would that be                     7review this document, before it was filed?
8correct?                                               8A.Correct.
9A.Correct.                                         9Q.And you agree with the
10Q.Okay.Sorry that was                             10statements and the positions taken in this
11cumbersome, but I needed to get through                11document?
12it.                                                    12A.I do.
13MR. WILSON:I'm going to now                      13Q.All right.So what this says in
14stop that share screen.And I'll need                14Paragraph 8, that by the summer of 2017,
15to go to Exhibit No. 5.I'm E-mailing                15HarbourVest was engaged in preliminary
16out Exhibit No. 5 right now.                         16discussions with Highland, regarding the
17(Whereupon, Exhibit 5,                            17investment.
18HarbourVest Response to Debtor's First               18First off, why was HarbourVest
19Omnibus Objection 617 pages, was                     19engaged in preliminary discussions with
20marked for identification.)                          20Highland?
21BY MR. WILSON:                                         21A.Highland had approached
22Q.This is -- I'll do another share                 22HarbourVest with an investment
23screen -- this is Docket 1057 filed in the             23opportunity.This was really borne out of
24Highland bankruptcy.And this is                       24discussions that we had with them around a
25HarbourVest Response to Debtor's First                 25couple of investment opportunities, that
                                                 Page 24                                                    Page 25
1Confidential - Pugatch                              1Confidential - Pugatch
2this opportunity with HCLOF being the one              2A.Dustin Willard and then a more
3that by the summer of 2017, as stated                  3junior member of the HarbourVest team.
4here, was in, was advancing through                    4Q.When you say "the HarbourVest
5discussions.                                           5team," what does that mean?
6Q.And which individuals at                         6A.So the broader investment team
7Highland were you engaged in discussions               7and specifically in this context, the
8with?By "you," I mean HarbourVest.                    8secondary investment team at HarbourVest,
9A.Yeah, I mean, originally it was                  9that this was an opportunity for.
10through a couple of members of their                   10Q.So who made the final decision,
11investor relations team.My first point                11on behalf of HarbourVest, to make this
12of contact was with Brad Eden, and then                12investment?
13subsequently progressed to a larger subset             13A.Ultimately it was a decision
14of employees of Highland.                              14made by the investment committee of
15Q.And who on behalf of HarbourVest                 15HarbourVest.
16was engaging in these discussions?                     16Q.And who's on that investment
17A.It was primarily myself, my                      17committee?
18colleague, or two -- two colleagues                    18A.It's a four-member committee
19primarily, alongside myself.                           19comprised of managing directors within the
20Q.I'm sorry.I didn't catch the                    20firm.
21last part.                                             21Q.And who are those managing
22A.Sorry.Myself and two other                      22directors?
23colleagues primarily.                                  23A.I don't recall at the time who
24Q.And who are these two other                      24the members were.I can tell you the
25colleagues?                                            25members now, of that committee.It has


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1Confidential - Pugatch                              1Confidential - Pugatch
2changed or evolved over time.                          2organization documents of that vehicle.
3Q.And that committee included you?                 3Q.You believe that that was the
4A.I was involved in the                            4investment manager on the organization
5decisionmaking of that, yes, correct.                  5documents, which --
6Q.So you were part of the four-man                 6A.Of the various transaction
7committee that made this decision?                     7documents that we entered into, in
8A.Yes.                                             8connection with our investment.
9Q.All right.I'm going to go back                  9Q.Would those have been the
10to what we've marked as Exhibit 3, which               10documents that you had entered on November
11is your declaration.And it says in                    11the 15 of 2017?
12Paragraph 2, that HarbourVest is a passive             12A.Yes.
13minority investor in Highland CLO funds,               13Q.Okay.It says that HarbourVest
14HCLOF, and by the way, I haven't stated                14initially invested $73,522,928 for roughly
15this before, but in this deposition if I               1549 percent interest in HCLOF; and more
16say HCLOF, I'm going to be referring to                16specifically, that would be a 49.98
17Highland CLO funds.                                    17percent interest in HCLOF, correct?
18But it says that the vehicle is                   18A.Sounds right, yes.
19managed by Highland Capital Management,                19Q.Okay.And then HarbourVest
20L.P.                                                   20contributed an additional $4,998,501
21And why do you say that that                      21following a capital call, and it's
22vehicle was managed by Highland Capital                22received three dividends, each totally
23Management, L.P.?                                      23$1,570,429.
24A.I believe that is the named                      24Is all of that correct?
25investment manager of HCLOF, per the                   25A.Yes.
                                                 Page 28                                                    Page 29
1Confidential - Pugatch                              1Confidential - Pugatch
2Q.And has HarbourVest received any                 2A.Yes.
3additional dividends, since the making of              3MS. WEISGERBER:Objection to
4this declaration?                                      4the form.Misstates testimony.
5A.No, we have not.                                 5Go ahead, Mike.
6Q.Now, I want to skip down to                      6A.That was, that was part of our
7Paragraph 3, where it says that                        7original due diligence, on the investment
8HarbourVest expected proceeds from the                 8opportunity.
9original HCLOF investment were projected               9Q.When you say part of your due
10to exceed 135 million.                                 10diligence, are you saying that the number
11Do you agree with that?                           11originated from Highland or that the
12A.That was the original projected                  12number originated from your due diligence
13value of the investment, yes.                          13operations?
14Q.Well, whose expectation was                      14MS. WEISGERBER:Objection to
15that?                                                  15form.
16A.Those were figures, as I recall,                 16A.The number originally came from
17that were originally provided to us by                 17Highland and formed the basis upon which
18Highland to form the basis of our due                  18we conducted due diligence on the
19diligence that we went through, and                    19investment opportunity.
20penultimately were included as part of our             20Q.And after performing due
21investment thesis in making the                        21diligence, you were satisfied that that
22investment.                                            22was a reasonable projection?
23Q.So your testimony is that                        23A.Yes.
24Highland told you that your investment                 24Q.And what was the, what was the
25would be worth over $135 million?                      25estimated date, in which the value of your


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1Confidential - Pugatch                              1Confidential - Pugatch
2investment would exceed the $135 million?              2those, all Highland affiliates.
3MS. WEISGERBER:Objection to                      3Q.And so who was the portfolio
4form.                                                4manager for the HarbourVest investment in
5A.I don't recall exactly.That                     5HCLOF?
6would have been over, over several years.              6MS. WEISGERBER:Objection to
7And again, this was the -- this was the                7form.
8projected value based on the original                  8A.There were various underling
9investment or the assets that were held by             9portfolio managers, depending on the
10HCLOF, at the time of our investment.                  10underlying CLO position.
11Q.Now, when you talk about a                       11Q.Well, who was the initial
12portfolio manager -- I'm sorry, when you               12portfolio manager?
13talk about investment manager, are you                 13A.So, again it would depend on
14referring to the portfolio manager?                    14which underlying assets we're talking
15A.No.                                              15about.HCLOF was a diversified portfolio
16Q.So what's the difference in an                   16of multiple underlying CLO equity
17investment manager and a portfolio                     17positions, all with portfolio managers
18manager?                                               18that were Highland affiliates, as we
19A.So in the context of this                        19understood it.
20investment, the investment manager.We --              20Q.Well, I'm going to go back to
21we had -- HarbourVest had an investment                21Exhibit 1, Paragraph 2, this says, in the
22with HCLOF.Highland was the investment                22second sentence, "Acis Capital Management
23manager of HCLOF that in turn held equity              23GP, LLC, and Acis Capital Management,
24positions in a variety of CLOs, which had              24L.P., together Acis, the portfolio manager
25various portfolio managers associated with             25for HCLOF," and then it continues on,
                                                 Page 32                                                    Page 33
1Confidential - Pugatch                              1Confidential - Pugatch
2"filed for Chapter 11."                                2HCLOF investment, correct?
3Is this proof of claim correct,                   3A.Correct.The underlying
4when it states that Acis Capital                       4investments held by HCLOF, correct.
5Management GP, LLC, and Acis Capital                   5Q.And did anything -- from the
6Management, L.P., were the portfolio                   6time that you -- well, let's just go to
7manager for HCLOF?                                     7the -- I think we had the members
8MS. WEISGERBER:Objection to                      8agreement up a second ago.This would
9form.                                                9have been Exhibit 4.
10A.I know that there was an issue                   10Yeah, right here.No. 14,
11with the portfolio manager for at least                11Highland HCF Advisor, Ltd. is listed as
12the Acis CLOs that were held by HCLOF.                 12the portfolio manager on the members
13Q.Well, how do you distinguish                     13agreement.
14between the Acis CLOs and the Highland                 14Is that accurate, that Highland
15CLOs?Is that based on who was managing                15HCF Advisor, Ltd. was the portfolio
16them?                                                  16manager?
17MS. WEISGERBER:Objection to                      17MS. WEISGERBER:Objection to
18form.                                                18form.Can you state as of what date
19A.Again, they were all underlying                  19you're asking, Counsel?
20investments of HCLOF.We didn't                        20MR. WILSON:Well, the date of
21distinguish the portfolio manager, if you              21this memorandum is, it says right
22will, of those vehicles, other than again              22here, 15 November 2017.
23they were Highland affiliates.                         23BY MR. WILSON:
24Q.But it's fair to say that Acis                   24Q.So as of the date November 15,
25was managing at least a portion of the                 252017, who was the portfolio manager for


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1Confidential - Pugatch                             1Confidential - Pugatch
2this investment?                                      2connection with the Acis bankruptcy that
3A.I don't recall the specific                     3took place, there was a change in the
4names of the various entities that sat                4underling either portfolio manager of
5below the HCLOF level or below Highland               5certain of the CLOs, the Acis-managed CLOs
6Capital, as the investment manager of                 6or Acis-branded CLOs, I should say, and/or
7HCLOF.                                                7sub-advisor of those CLOs.
8Q.Well, are you familiar with a                   8Q.And was that at the direction of
9company called Brigade?                               9the Chapter 11 trustee?
10A.Yes.                                            10MS. WEISGERBER:Objection.
11Q.And was that company a                          11A.That's my understanding.
12sub-manager of this investment?                       12Q.And so when this investment was
13MS. WEISGERBER:Objection to                     13initially made, was Highland HCF Advisor,
14form.                                               14Ltd. the portfolio manager of the entire
15A.Not at the time of our                          15investment?
16investment.                                           16MS. WEISGERBER:Objection to
17Q.Not at the time.Well, when did                 17form.
18the portfolio managers begin to change in             18A.I don't recall the specifics
19this investment?                                      19underneath the HCLOF entity.
20MS. WEISGERBER:Objection to                     20Q.Well, there aren't any other
21form.                                               21portfolio managers listed on this
22A.Do you mean subsequent to our                   22document, that I can see.
23investment?                                           23Is there any place in this
24Q.Yes.                                            24document that you can point me to that
25A.So as I understand it in                        25would identify another portfolio manager?
                                                Page 36                                                    Page 37
1Confidential - Pugatch                             1Confidential - Pugatch
2MS. WEISGERBER:Objection to                     2Q.Well, Highland is listed as a
3form.The document speaks for itself.               3member under this -- Highland Capital
4A.Again, I think we may be                        4Management LLP is listed as a member under
5distinguishing here between portfolio                 5this Member Agreement; is that correct?
6manager at the HCLOF level and portfolio              6MS. WEISGERBER:Objection to
7manager sub-advisor, again, I'm not sure              7form.
8the proper terminology as it relates to               8A.If that's what the document
9each of the underlying CLOs that were                 9says, yes.
10partially owned by HCLOF.                             10Q.I'm going to look -- let me stop
11Q.Well, after the Acis bankruptcy                 11my share screen for a second.
12was filed, and after the Chapter 11                   12All right.I'm now at the top
13trustee appointed Acis as a portfolio                 13of Page 5 of this Exhibit 4, where it
14manager of at least part of HCLOF, did                14says, "Dover IX shall mean HarbourVest
15Highland HCF Advisor continue to serve as             15Dover Street IX Investment L.P."
16portfolio manager?                                    16And Dover IX was the largest
17MS. WEISGERBER:Objection to                     17single investor of the HarbourVest Group;
18form.                                               18is that correct?
19A.All of HarbourVest's interaction                19A.Correct.
20was with Highland as the investment                   20Q.All right.I'm now going to go
21manager of HCLOF.My understanding of the             21down to Paragraph 5.I'm sorry, it's not
22change in those entities related to the               22Paragraph 5.Paragraph 4, where it says
23portfolio management of the underlying                23"Composition of Advisory Board" in
24Acis CLOs, not a change in the portfolio              24Paragraph 4.1, The Company shall establish
25manager, at the HCLOF level.                          25an Advisory Board composed of two


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2individuals, one of whom shall be a                    2paragraph it says, "The consent of the
3representative of CLO Holdco and one of                3Advisory Board shall be required to
4whom shall be a representative of                      4approve the following actions," and then
5Dover IX.                                              5it lists a number of things.
6And did this Advisory Board get                   6Did the Advisory Board not have
7created?                                               7to -- was it not required that the
8A.I believe it was created, yes.                   8Advisory Board ever meet, because they
9Q.And who was the representative                   9didn't take any of these actions?
10for CLO Holdco on the Advisory Board?                  10MS. WEISGERBER:Objection.
11A.I don't know.                                    11Objection to form.
12Q.Who was the representative for                   12A.There may have been one or two
13Dover IX on the Advisory Board?                        13actions taken by the Advisory Board, I'm
14A.I can't recall whether it was                    14looking at the list here to see what those
15myself or one other colleague who jointly              15may even have been, during the duration of
16manages this investment with me.                       16our investment; but if so, those would
17Q.You don't recall if you were on                  17have been written resolutions or written
18the Advisory Board?                                    18consents, as opposed to any meeting that
19A.The Advisory Board never met                     19was convened amongst the entire Advisory
20formally under its capacity as an Advisory             20Board.
21Board.                                                 21Q.Okay.And the entire Advisory
22Q.Well, if you look down in                        22Board is just two individuals, correct?
23Paragraph 4.3, I've got my mouse pointed               23A.Correct, that's my
24here, I don't know if you can see it.                  24understanding.
25About two-thirds of the way down in this               25Q.Okay.And if you go up a few
                                                 Page 40                                                    Page 41
1Confidential - Pugatch                              1Confidential - Pugatch
2sentences above that in Paragraph 4.3 it               2A.No, it would not.
3says, The portfolio manager shall not act              3MS. WEISGERBER:Objection.
4contrary to advice of the Advisory Board               4MR. MALONEY:Join.
5with respect to any action or                          5Q.It would not?
6determination expressly conditioned herein             6A.It would not.
7or in the offering memorandum on the                   7Q.Well, if a reset was to be
8consider approval of the Advisory Board.               8proposed, who would have the discretion to
9So the portfolio manager did not                  9make that decision to enter a reset
10have the authority to disregard the advice             10transaction?
11of the Advisory Board; is that correct?                11MS. WEISGERBER:Objection to
12MS. WEISGERBER:Objection to                      12form and foundation.
13form; misstates the document.                        13MR. MALONEY:Join.
14A.With respect to the limited role                 14A.That would be Highland as the
15that the Advisory Board would have to                  15manager of HCLOF, who owns the equity
16play, yes, that would be my read.                      16position to the underlying CLOs.
17Q.Now, what is your understanding                  17Q.So you're saying that Highland
18of a reset transaction?                                18would have the exclusive authority to
19A.Has to do with a refinancing and                 19enter a reset transaction?
20reset of the investment period of an                   20A.Correct.
21underlying CLO.                                        21MS. WEISGERBER:Objection to
22Q.And would a reset transaction be                 22form.
23contained within this -- these actions                 23MR. MALONEY:Join.
24that the Advisory Board's consent is                   24Q.What if HarbourVest objected to
25required to approve?                                   25a reset transaction?Would it have any


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1Confidential - Pugatch                              1Confidential - Pugatch
2rights or remedies, in your understanding?             2meeting signed by all of the members of
3MS. WEISGERBER:I'm going to                      3the Advisory Board.
4object to form.And also just object                 4And we've talked about how there
5to the extent that this is calling for               5were two members, one of which represented
6legal conclusions.                                   6CLO Holdco and one of which represented
7Mike --                                           7HarbourVest, and it was your testimony
8MR. WILSON:I've ask the                          8that you don't recall a meeting ever being
9witness, within his understanding of                 9conducted that you believed that there had
10the way this investment worked.                      10been some written consents issued by the
11MS. WEISGERBER:If you have an                    11Advisory Board; is that correct?
12understanding separate from any other                12MS. WEISGERBER:Objection to
13conversations with counsel, Mike, you                13form.
14can certainly answer.                                14A.That is my recollection, yes.
15A.Within my understanding,                         15Q.I'm sorry?I didn't hear your
16HarbourVest would not have had any ability             16answer.
17or rights to object to a reset or for                  17A.That is my recollection, yes.
18similar actions by Highland, as the                    18Q.Okay.So what is the Advisory
19manager of the HCLOF.                                  19Board's general function in your
20Q.Okay.And just to, just for                      20understanding?
21clarity, in 4.2 it says that, All actions              21MS. WEISGERBER:Objection to
22taken by the Advisory Board shall be (i)               22form.
23by a unanimous vote of all of the members              23You can answer, Mike, if you
24of the Advisory Board in attendance; or                24know, other than, you know, legal
25(ii), by written consent in lieu of a                  25conclusions, things like that, legal
                                                 Page 44                                                    Page 45
1Confidential - Pugatch                              1Confidential - Pugatch
2advice.                                              2Advisory Board was not a routine part of
3And also, Mike, you're welcome                    3the decision-making of the portfolio
4to look at the document, I think John                4manager?
5is E-mailing you the documents as                    5MS. WEISGERBER:Objection to
6well.I don't know if you have the                   6form.
7full document in front of you.                       7A.Not at all.
8THE WITNESS:Yeah, I can pull                     8Q.Did you say "not at all"?
9it up here.                                          9A.Not at all, no.
10A.I mean, my understanding is the                  10Q.I'm going to refer back to
11Advisory Board, the Advisory Board's                   11Exhibit 5, which was Document -- or Docket
12involvement is as spelled as in Section                121057.I'll put that back on the share
134.3 of the agreement that you have on the              13screen.I wanted you to scroll, sorry.
14screen.And that is the extent of the                  14It's a long document.
15role that the Advisory Board would play.               15I want you to look at
16Q.Well, but as a practical matter,                 16Paragraph 37, which should be on your
17what did that entail?                                  17screen.And it says that these are
18MS. WEISGERBER:Objection to                      18misrepresentations that HarbourVest
19form.                                                19alleges were made by Highland.And the
20A.Again, as a practical matter,                    20first bullet point states that, "Highland
21the listed items, which I can't see, that              21never informed HarbourVest that Highland
22are off the screen further down in 4.3 are             22had no intention of paying the Arbitration
23the items that would require approval by               23Award and was undertaking steps to ensure
24the Advisory Board.                                    24that Mr. Terry could not collect on his
25Q.But other than those items, the                  25judgment."


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1Confidential - Pugatch                              1Confidential - Pugatch
2Now, Mr. Terry did not have an                    2MS. WEISGERBER:Objection to
3arbitration award against Highland; is                 3the form.Objection to the extent
4that correct?                                          4that it calls for a legal conclusion.
5MS. WEISGERBER:Objection to                      5I don't -- Mike, if you have a
6form and foundation.                                 6layman's understanding of the answer
7A.My understanding is there was an                 7to that question, you're welcome to
8Arbitration Award, awarded for the benefit             8answer.But if not, don't answer.
9of Mr. Terry.                                          9A.My understanding was Acis was a
10Q.But that award was against Acis,                 10controlled subsidiary of Highland's.
11correct?                                               11Q.Okay.Well, the next bullet
12MS. WEISGERBER:Objection to                      12point says that, "Highland did not inform
13form.                                                13HarbourVest that it undertook the
14A.I don't know all of the details.                 14transfers to siphon assets away from Acis,
15I do know that Acis was a subsidiary of                15L.P., and that such transfers would
16Highland, and there was an arbitration                 16prevent Mr. Terry from collecting on the
17award that was for the benefit of                      17Arbitration Award."
18Mr. Terry.                                             18So if your understanding was
19Q.But you would agree with me that                 19that Highland was responsible for the
20if, if Highland, or I'm sorry if Mr. Terry             20arbitration award, then why is it relevant
21had an arbitration award against Acis,                 21that Highland siphoned assets away from
22then Highland would not have any                       22Acis, L.P.?
23obligation to pay that award?                          23MS. WEISGERBER:Objection to
24MR. MORRIS:Objection to the                      24form.Misstates testimony.
25form of the question.                                25Can you clarify that question,
                                                 Page 48                                                    Page 49
1Confidential - Pugatch                              1Confidential - Pugatch
2John?I think the beginning of it was                2HarbourVest and represented to HarbourVest
3a little muddled.                                    3that the reason for changing the portfolio
4BY MR. WILSON:                                         4manager for HCLOF was because Acis was
5Q.Well, this objection says that                   5toxic in the industry."
6Highland had -- or response to objection,              6Do you see that?
7says that Highland had no intention of                 7A.Yes.
8paying the arbitration award, but that                 8Q.And it seems when I read these
9seems to conflict with the next bullet                 9documents that have been filed in the
10point that says that it undertook                      10Highland bankruptcy, and also the Acis
11transfers to siphon assets away from Acis,             11bankruptcy, that there's a difference in
12L.P., to prevent Mr. Terry from collecting             12position as to which entity, being either
13on the arbitration award.                              13Highland or HarbourVest, had the belief
14So where were those assets being                  14that the Acis name was toxic.Can you
15siphoned to?                                           15shed any light on that?
16MS. WEISGERBER:Objection to                      16MS. WEISGERBER:Objection to
17form and foundation.                                 17form.
18If you're capable of answering                    18A.I can unequivocally say that the
19that question, Mike, you can.                        19idea to change the portfolio manager or
20A.I don't know the specific                        20the idea that the Acis brand was toxic did
21details of where those assets were                     21not come from HarbourVest.
22siphoned off to, other than it was to                  22Q.That was not at HarbourVest's
23another Highland affiliate.                            23suggestion or insistence?
24Q.The next sentence says that,                     24A.Absolutely not.
25"Highland simply did not inform                        25Q.Well, whose suggestion was it


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1Confidential - Pugatch                             1Confidential - Pugatch
2that the Acis name was toxic?                         2asking for his understanding why the
3A.Somebody at Highland.                           3change in the portfolio manager
4Q.Do you know who?                                4damaged HarbourVest.
5A.I don't recall the conversation                 5MS. WEISGERBER:Same objection.
6where that first came up or who said, or              6You can provide any
7who at Highland said that.                            7non-privileged answer that you have,
8Q.But that conversation did occur                 8Mike, if any.
9prior to HarbourVest's investment?                    9A.Ultimately my understanding is
10A.Yes.                                            10that that change in portfolio manager and
11Q.So Acis was previously the                      11the subsequent litigation between Acis,
12portfolio manager for HCLOF prior to                  12Highland, and Josh Terry led to material
13November 15, 2017, and now November 17 --             13diminution in value, as it relates to the
14or 15th, 2017, the portfolio manager was              14underlying assets of HCLOF stemming from
15changed.                                              15Highland's decision not to comply with the
16And what is HarbourVest's                        16arbitration award to Mr. Terry.
17position as to why that change in                     17Q.Okay.Now, if you go up to
18portfolio manager damaged it?                         18Page 4 in this document, it says that on
19MS. WEISGERBER:Objection;                       19October 27th, and this is Paragraph 11
20form, objection to the extent it calls              20now, "On October 27, 2017, Acis' portfolio
21for a legal conclusion.                             21management rights for HCLOF were
22Mike, you can answer --                          22transferred to Highland HCF"; is that
23MR. WILSON:I'm not asking for                   23correct?
24a -- with all due respect, I'm not                  24A.That sounds right, yes.
25asking for a legal conclusion.I'm                  25Q.And this is over two weeks prior
                                                Page 52                                                    Page 53
1Confidential - Pugatch                             1Confidential - Pugatch
2to HarbourVest's investment, correct?                 2form, foundation.
3A.Correct.                                        3A.I know there were changes
4Q.So HarbourVest had full                         4subsequent to the Acis bankruptcy, to the
5knowledge that that the portfolio manager             5underlying management of the Acis CLOs.
6of HCLOF was being changed prior to its               6Q.All right.I'm going to go back
7investment, correct?                                  7to Paragraph 37, and I want to look at
8A.Correct.                                        8these next two bullet points.
9MS. WEISGERBER:Objection to                     9It says that, in the third
10form.                                               10bullet point, that "Highland indicated to
11And just to clarify, you're                      11HarbourVest that the dispute with
12asking him, HarbourVest, he's                       12Mr. Terry (which appeared on a litigation
13testifying on behalf of himself. I                  13schedule presented to HarbourVest during
14could just take a standing objection                14diligence) would have no impact on
15to that because I know sometimes                    15investment activities."
16you're just saying HarbourVest meaning              16And that would be the opinion of
17Mike, so...                                         17Highland, correct?
18BY MR. WILSON:                                        18MS. WEISGERBER:Objection to
19Q.Okay.And just to be clear,                     19form.The opinion of Highland?Is
20HCLOF changed its portfolio manager on                20that what you meant to ask?
21October 27, 2017, but after the Acis                  21MR. WILSON:Right.
22bankruptcy was initiated the Chapter 11               22BY MR. WILSON:
23trustee made changes to the portfolio                 23Q.That's Highland expressing its
24manager, correct?                                     24opinion to HarbourVest, correct?
25MS. WEISGERBER:Objection to                     25MS. WEISGERBER:Objection to


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1Confidential - Pugatch                              1Confidential - Pugatch
2form.                                                2same page, it says, "In reliance on
3A.I would just say Highland                        3Highland's misrepresentations and
4presented that as facts to HarbourVest.                4omissions, HarbourVest invested in HCLOF."
5Q.Okay.And the next one, it says                  5Now, HarbourVest is a
6that "Highland expressed confidence in the             6sophisticated investor, correct?
7ability of HCLOF to reset or redeem the                7A.Correct.
8CLOs notwithstanding that Highland was                 8Q.And if we were to go to
9using HCLOF as part of its scheme to avoid             9Paragraph 36, it says, right here in the
10the pending Arbitration Award."                        10middle, "These facts were material:
11That's again an opinion, right,                   11indeed, HarbourVest expressed concern and
12that Highland expressed confidence in the              12requested further information regarding
13ability of HCLOF?                                      13the Transfers, the Arbitration Award, and
14MS. WEISGERBER:Objection to                      14their implications for HCLOF, and the
15form.Objection to the extent it                     15investment's closing date was delayed."
16calls for a legal conclusion.                        16And the closing date was
17A.Ultimately, their ability, or                    17ultimately November 15, 2017, correct?
18HCLOF's ability to reset or redeem the                 18A.Correct.
19CLOs would be subject to market conditions             19Q.What was the initial closing
20and the ability to actually affect those               20date that had to be delayed?
21transactions, but they expressed their,                21A.I believe it was scheduled for
22you know, their belief or view in HCLOF's              22November 1st.
23ability to do that notwithstanding the,                23Q.So HarbourVest had full
24that change in portfolio manager.                      24knowledge of these facts that it, that it
25Q.Well, in Paragraph 39 on that                    25lays out here forming the basis of the
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2alleged misrepresentations, and they                   2A.Right.
3requested further information regarding                3Q.And HarbourVest had made
4those facts.                                           4investments of this nature previously,
5Did they receive any further                      5correct?
6information?                                           6A.We did.
7MR. MORRIS:Objection to the                      7MS. WEISGERBER:Objection to
8form of the question.                                8form.
9MS. WEISGERBER:Objection to                      9A.HarbourVest has made hundreds of
10form.Misstates testimony.                           10investment over its years, yes.
11A.We did have subsequent                           11Q.And HarbourVest has conducted
12conversations and, I believe, receive                  12due diligence regarding its investments in
13subsequent information describing the                  13the past, correct?
14intent around, and the, you know, new                  14A.Correct.
15structure, pro forma structure, of the                 15Q.And HarbourVest received
16action that Highland had undertaken.And               16additional information on items of concern
17part of the reason for the delay in the                17and reviewed that information and
18closing was to ensure that we had adequate             18satisfied itself that this was an
19time to diligence those changes, ask                   19appropriate investment, correct?
20questions, in connection with a thorough               20MS. WEISGERBER:Objection to
21due diligence process, and ensure that the             21form.Misstates testimony.
22underlying legal structure was still                   22A.On the back of
23sound.                                                 23misrepresentations by Highland, yes.
24Q.And HarbourVest was investing                    24MR. WILSON:Well, I think
25over $73 million, correct?                             25that's nonresponsive and I object.


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1Confidential - Pugatch                              1Confidential - Pugatch
2Q.I'm just, I'm just, reading from                 2unaudited net asset value of HCLOF, as of
3your pleading that you filed in the                    3August 31, 2020, was $44,587,820."
4bankruptcy, where you say that these were              4And is that a -- is that a book
5material facts, and HarbourVest sought                 5value, I guess?
6more information regarding these facts.                6A.That is a fair market value, in
7And then you've testified that they                    7accordance with the valuation policy of
8performed additional due diligence                     8HCLOF.
9regarding that information they received,              9Q.Do you happen to know the net
10and then they determined that the                      10asset value of HCLOF as of February 1,
11investment was appropriate, correct?                   112019?And I don't want an exact number, I
12MS. WEISGERBER:Objection to                      12just want an approximation.
13form.Misstates testimony.                           13A.No, I do not.
14Go ahead, Mike.                                   14Q.Do you know where I could get
15A.Yeah, that is correct, on the                    15that information?
16back of the additional information we                  16A.Presumably from the Debtor.
17received from Highland.                                17Q.We'll come back to this in a
18And I would add, with, you know,                  18minute, but I'm going to --
19with the benefit of external advisors and              19MS. WEISGERBER:I think we've
20outside counsel reviewing those structural             20been going about an hour, John, if we
21changes, as well.                                      21can take a quick break.
22Q.All right.Thank you.                            22MR. WILSON:Yeah, a break is
23Now, going back to your                           23fine.
24declaration, which we've marked as                     24MS. WEISGERBER:Actually,
25Exhibit 3, Paragraph 3 says that "The                  25Mike...
                                                 Page 60                                                    Page 61
1Confidential - Pugatch                                1Confidential - Pugatch
2MR. WILSON:I'm sorry? I                            2guys.
3didn't hear you.                                       3(Recess taken.)
4MS. WEISGERBER:It can be up to                     4MR. WILSON:Yes, I just sent
5Mike.                                                  5out an E-mail with Exhibit 6, and I'm
6Mike, do you want to take a                         6going to pull that up on the screen
7quick break?Do you want to keep                       7share, as well.
8going?                                                 8(Whereupon, Exhibit 6, Offering
9MR. WILSON:No, we can, if                          9Memorandum 122 pages, was marked for
10y'all need a break, we can take a                      10identification.)
11break, like 10, 15 minutes.                            11BY MR. WILSON:
12THE WITNESS:Yeah, why don't we                     12Q.All right.So this is the
13take a break, please.                                  13Offering Memorandum, and I'm looking at
14MR. WILSON:What do y'all                           14the bottom of Page 1 -- I mean, the top of
15prefer?10, 15?                                        15Page 1, I'm sorry.
16MS. WEISGERBER:Ten minutes is                      16The Company that was being
17fine.                                                  17invested in is Highland CLO Funding, Ltd.
18Mike, is that good with you.                        18Do you see that, Mr. Pugatch?
19THE WITNESS:Yeah, ten-minute                       19MS. WEISGERBER:Objection to
20break is fine.                                         20form.
21MR. WILSON:Okay.Well, we'll                       21A.I do.Okay.
22break till, let's say, 1:20 central                    22Q.And then this document defines
23time.                                                  23Highland, as Highland Capital Management,
24THE WITNESS:Perfect.                               24L.P.Do you see that?
25MR. WILSON:All right.Thanks                       25A.Yes.


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1Confidential - Pugatch                              1Confidential - Pugatch
2Q.Okay.Now, if we go down to, I                   2MR. WILSON:All right.I'm
3guess it's Page 8 of this document, and                3going to turn to the next exhibit.
4this first full paragraph at the top, it               4And this is going to be Exhibit No. 7
5says, "No voting member of the Advisory                5coming in the E-mail.I'm also going
6Board shall be a controlled affiliate of               6to put Exhibit No. 7 on the screen.
7Highland."                                             7(Whereupon, Exhibit 7, Share
8Do you see that?                                  8Subscription and Transfer Agreement 31
9A.I do.                                            9pages, was marked for identification.)
10Q.And then it also says that, "It                  10Q.All right.Do you see that?
11being understood that none of CLO Holdco               11The "Subscription and Transfer Agreement
12Ltd., it's wholly-owned subsidiaries, or               12For Ordinary Shares"?
13any of their respective directors or                   13A.Yep.
14trustees shall be deemed to be a                       14Q.All right.So what this
15controlled affiliate of Highland, due to               15document says is that, it repeats that
16their preexisting non-discretionary                    16Highland HCLF Advisory Ltd. is the
17advisory relationship with Highland."                  17portfolio manager.Highland CLO Funding
18Do you see that?                                  18Ltd. is the fund, and CLO Holdco Ltd. is
19A.Yes.                                             19the existing shareholder.
20Q.So there were no affiliates of                   20And if we go down to the bottom
21Highland on the Advisory Board, correct?               21half of this page, it says that
22MS. WEISGERBER:Objection to                      22HarbourVest was acquiring its shares in
23form.                                                23this investment from CLO Holdco, correct?
24A.For voting purposes under the                    24A.Yes.
25document, that is how this reads, correct.             25MS. WEISGERBER:Objection to
                                                 Page 64                                                    Page 65
1Confidential - Pugatch                              1Confidential - Pugatch
2form.                                                2MS. WEISGERBER:Objection to
3Q.And prior to the date of this                    3form.
4document, which I believe is November 15,              4A.Those are the five HarbourVest
52017, CLO Holdco held 100 percent of the               5entities with a direct investment in
6shares of HCLOF, correct?                              6HCLOF.
7MS. WEISGERBER:Objection to                      7Q.And each one of those entities
8form, foundation.                                    8has filed a proof of claim in this
9A.I don't recall.I know they                      9bankruptcy, correct?
10were the largest, the largest investor. I              10A.Yes.
11don't recall if it was 100 percent.                    11Q.And the largest -- I think we
12Q.Well, if you look at the chart                   12discussed this earlier, but Dover Street
13below Paragraph A, it says that CLO Holdco             13IX is the largest of those investors, with
14Ltd. immediately prior to the placing on               14a 35.49 percent share percentage, correct?
15100 percent share percentage.                          15MS. WEISGERBER:Objection to
16Do you have any reason to                         16form.
17disagree with that?                                    17A.Correct.
18A.No.                                              18Q.And if you take the total of
19MS. WEISGERBER:Objection to                      19those investments of the HarbourVest
20form.                                                20entities, you get a 49.98 percent total.
21Q.All right.Now, below CLO                        21Is that your understanding?
22Holdco Ltd., these are the five                        22MS. WEISGERBER:Objection to
23HarbourVest entities that have filed                   23form.
24proofs of claim in this bankruptcy,                    24A.I know it has 49 percent, and
25correct?                                               25some percentage.I'll take your math as


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1Confidential - Pugatch                              1Confidential - Pugatch
2correct.                                               2investors, correct?
3Q.And 49.98 percent is larger than                 3MS. WEISGERBER:Objection to
4the next largest shareholder, which is CLO             4form.
5Holdco which is 49.02 percent, correct?                5A.Taken collectively, yes.
6MS. WEISGERBER:Objection to                      6Q.And HarbourVest owned one of the
7form.                                                7two spots on the Advisory Board, correct?
8A.In taking all of the HarbourVest                 8MS. WEISGERBER:Objection to
9entities, collectively, yes, correct.                  9form.
10Q.And so I want to go back to                      10A.Correct.
11earlier where we saw in documents filed by             11Q.And if you look down below the
12HarbourVest, where it refers to itself as              12HarbourVest entities on this chart, you
13a passive investor.What do you, I                     13see that Highland Capital Management, L.P.
14apologize if I've already asked you this               14is purchasing a .63 percent interest,
15question, but what do you mean by passive              15correct?
16investor?                                              16MS. WEISGERBER:Objection to
17A.Meaning we were a minority                       17form.The document speaks for itself.
18investor in HCLOF.HCLOF was fully                     18A.According to the document, yes.
19controlled by Highland as the investment               19Q.Do you have any reason to
20manager.So HarbourVest did not have any               20disagree with that document?
21governance, rights, or control as it                   21MS. WEISGERBER:Objection to
22related to the ongoing investment                      22form.
23management and decisionmaking of HCLOF.                23A.I do not.
24Q.HarbourVest has the largest                      24MR. WILSON:All right.I'm
25percentage of the shares of any of these               25going to stop that screen share.I'm
                                                 Page 68                                                    Page 69
1Confidential - Pugatch                              1Confidential - Pugatch
2going to E-mail out the next exhibit.                2August 15, 2017 from Brad Eden to Dustin
3This was Exhibit 8 that I just sent,                 3Willard.Are you familiar with Thomas
4and I'll pull it up on the screen                    4Surgent?
5share.                                               5A.Yes.
6(Whereupon, Exhibit 8, E-mail                     6Q.Was he involved in those
708/15/2017, was marked for                           7discussions with you and HarbourVest as
8identification.)                                     8well?
9Q.Now, I'll represent to you that                  9A.In some of those discussions,
10I received this document this morning from             10yes.
11your counsel.Do you recognize this                    11Q.Okay.So when it says, "Dustin,
12E-mail?Have you seen it before?                       12attached is a legal summary.Of course,
13A.Yes, I have.                                     13Thomas is available to answer any
14Q.And this E-mail is sent by Brad                  14follow-up questions."Do you know if
15Eden.I think you mentioned that he was                15Thomas was consulted with any follow-up
16one of the representatives that was                    16questions?
17involved in the pre-investment discussions             17A.I recall --
18with Highland?                                         18MS. WEISGERBER:Objection to
19A.Correct.                                         19form.
20Q.And I think you told me that                     20A.-- having follow-up
21Dustin Willard was involved in those                   21conversations with Highland, I don't --
22discussions on the HarbourVest side,                   22around these legal summaries.I don't
23correct?                                               23recall with whom.
24A.Correct.                                         24Q.Okay.And just to show you the
25Q.And so this is an E-mail sent on                 25attachment that's referenced in the


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2E-mail, this says that SEC financial                   2A.(Nods.)
3crisis matter crusader, Terry, Daugherty               3Q.Okay.And particularly with
4and UBS.So and then I guess these are --              4respect to Mr. Terry, is it your opinion
5this is information provided by Highland               5that there are any material
6to HarbourVest regarding these matters.                6misrepresentations made in this summary?
7Why were these particular matters                      7MS. WEISGERBER:Objection to
8addressed in this E-mail, to your                      8form.Objection to the extent it
9knowledge?                                             9calls for a legal conclusion.
10MS. WEISGERBER:Objection to                      10Mike, to the extent you have an
11form and foundation.                                 11answer that does not infringe on
12A.These were all outstanding                       12conversations with counsel, you can
13litigation matters that we had become                  13provide it.
14aware of in connection with our diligence              14A.Yeah, I would say our
15that we asked for a further explanation                15understanding or interpretation of that,
16from Highland on the underlying substance.             16or the answer to that question would be
17Q.Now, did you become                              17based on conversations with counsel.
18independently aware of these in the course             18Q.Well, this document was provided
19of your due diligence, or were these                   19to you in the course of the discussions
20brought to your attention by Highland                  20prior to HarbourVest's investment, and
21first?                                                 21you've stated that Highland, or you've
22A.I don't know.                                    22taken the position that Highland made
23MS. WEISGERBER:Objection to                      23material misrepresentations to
24form.                                                24HarbourVest, in the course of these
25Q.You don't know?                                  25discussions.
                                                 Page 72                                                    Page 73
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2Does this document evidence                       2misrepresentations were.
3those material misrepresentations?                     3And I would ask that the witness
4MS. WEISGERBER:Objection to                      4tell me if there's a misrepresentation
5form.Objection to the extent it                     5in this document that was provided in
6calls for a legal conclusion.                        6this E-mail.
7A.Yeah, same answer as previous.                   7MS. WEISGERBER:Same
8Q.Well, I'm not asking you for a                   8objections.
9legal conclusion.I'm asking you are                   9Mike, if you have a general
10there misrepresentations in this document              10understanding of, generally,
11that you claim Highland made?                          11misrepresentations that HarbourVest
12MS. WEISGERBER:Same                              12believes were made in connection or
13objections.                                          13regarding the Terry litigation,
14I think misrepresentations calls                  14et cetera, you can provide that
15for a legal conclusion regarding legal               15information.
16misrepresentations, actionable                       16THE WITNESS:Yeah, sure.
17misrepresentations.So if he doesn't                 17A.So in general, my understanding
18have any non-privileged testimony to                 18and the way that Highland had
19give, he can't give any testimony.                   19characterized the ongoing litigation with
20MR. WILSON:Well, I'm here                        20Mr. Terry was that it was nothing more
21today to investigate HarbourVest's                   21than an employment dispute with a former
22claim and one of the basis of                        22employee and that, you know, the
23HarbourVest's claim is                               23arbitration -- well, actually, it was
24misrepresentation.So I'm trying to                  24before the Arbitration Board, but the
25figure out what those                                25ongoing litigation had no impact, bearing,


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2or ultimate result on the underlying CLOs              2A.Correct.
3that Highland managed, including the Acis              3Q.Well, are there any more
4CLOs.                                                  4specific E-mails or written
5Q.So you're saying that                            5communications, that you're aware of, that
6Highland --                                            6would contain misrepresentations by
7MR. MORRIS:John, I'm sorry to                    7Highland to HarbourVest?
8interrupt.Before you go on, somebody                8MS. WEISGERBER:Objection to
9with the initials DSD just joined the                9form.
10deposition.Can you please identify                  10Are you asking about from
11yourself?                                            11today's production, or are you asking
12MR. DRAPER:This is Douglas                       12about just, in general?
13Draper.I just changed machines.                     13MR. WILSON:Well, you produced
14MR. MORRIS:Okay.No problem,                     14two E-mails to us today.I'm just
15Doug.Thank you.                                     15asking if there's anything else he's
16BY MR. WILSON:                                         16aware of where there's written
17Q.So, and I'm not trying to put                    17misrepresentations from Highland to
18words in your mouth, but is the gist of                18HarbourVest.
19what you're telling me that Highland                   19MS. WEISGERBER:Mike, if you
20represented that this was a minor dispute              20have an answer separate from
21with a former employee and it would not                21conversations with lawyers, et cetera,
22affect its CLO business?                               22you can certainly answer.
23A.Correct.                                         23A.Yeah, my understanding of the
24MS. WEISGERBER:Objection to                      24documents I reviewed that were part of the
25form.                                                25production to you earlier today, there is
                                                 Page 76                                                    Page 77
1Confidential - Pugatch                              1Confidential - Pugatch
2another document that would also include               2reading it?
3misrepresentations on the part of this,                3MS. WEISGERBER:Objection to
4the Terry lawsuit and ultimate impact on               4form.
5the CLO business.                                      5A.We were informed by Highland of
6BY MR. WILSON:                                         6the outcome of the ongoing litigation and
7Q.And what document is that?                       7the outcome of the Arbitration Award.
8A.That was the E-mail, E-mail with                 8Q.Was that part of the
9an attachment around a response to a Wall              9documentation that you requested Highland
10Street Journal article and some of the                 10provide you to continue your due
11content in the E-mail itself.                          11diligence, before making the investment?
12Q.Okay.We'll look at that one.                    12MS. WEISGERBER:Objection to
13What was the -- HarbourVest had                   13form.
14seen the Terry Arbitration Award, correct?             14A.We certainly requested more
15MS. WEISGERBER:Objection to                      15color around the outcome of that, and any
16form.                                                16impact that it could have to HCLOF or the
17Q.Prior to making its investment                   17ongoing viability of Highland's CLO
18in HCLOF?                                              18business.
19A.We were aware of the existence                   19Q.And what, what were you provided
20and the outcome of the Arbitration Award.              20with respect to the Terry Arbitration
21Q.Had you read the Arbitration                     21Award?
22Award?                                                 22MS. WEISGERBER:Objection to
23A.No.                                              23form.
24Q.Well, how did you know the                       24A.The existence of that award, the
25substance of the Arbitration Award without             25quantum of that award, the judgment of


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1Confidential - Pugatch                              1Confidential - Pugatch
2just under $8 million in connection with               2(Whereupon, Exhibit 9,
3that award.That was the information that              311/29/2017 E-mail with cover letter
4was disclosed at -- and represented as a               4Highland Capital Management, was
5settlement or, you know, arbitration                   5marked for identification.)
6ruling, in connection with the employee                6Q.Okay.So I think this is out of
7litigation, wrongful termination suit.                 7order, but this should have been first in
8Q.So did HarbourVest not request a                 8the exhibit.But this is an E-mail from
9copy of the Arbitration Award to review?               9Hunter Covitz to Dustin Willard, Michael
10MS. WEISGERBER:Objection to                      10Pugatch and Nick Bellisario, carbon copies
11form.                                                11to Trey Parker and Brad Eden.
12A.We did not specifically, no.                     12And Trey Parker and Brad Eden
13Q.And so, to this day, have you                    13are Highland affiliates, right?
14read the Arbitration Award?                            14A.Yes.
15A.I have not.                                      15Q.And we've talked about Dustin
16MS. WEISGERBER:Objection to                      16Willard.Who's Nick Bellisario?
17form.                                                17A.He was another member of the
18Q.You have not?                                    18HarbourVest team.
19A.I have not.                                      19Q.And was he on the, the
20MR. WILSON:Okay.I think my                      20four-member board that you talked about
21last E-mail went out with Exhibit 9 on               21earlier, that made the investment
22it.I will pull that up.                             22decision?
23Q.Can you see that on the screen                   23A.No, he was the junior member of
24share?                                                 24the investment team that I alluded to.
25A.Yes.                                             25Q.Okay.And this, this E-mail
                                                 Page 80                                                    Page 81
1Confidential - Pugatch                              1Confidential - Pugatch
2came out about two weeks after the                     2Q.And what did you -- what was
3HarbourVest investment, correct?                       3your reaction to receiving these E-mails
4A.Correct.                                         4from Highland regarding that article?
5Q.And it's your opinion or                         5MS. WEISGERBER:Objection to
6position that this E-mail contains                     6form.
7misrepresentations that Highland made to               7A.The article or the accusations
8HarbourVest?                                           8in the article were something that
9MS. WEISGERBER:Objection to                      9required more explanation from our
10form.Objection to the extent it                     10perspective.
11calls for a legal conclusion.                        11Q.And attached to this E-mail
12A.Yes.                                             12was -- we just scrolled through it a
13Q.And there was a Wall Street                      13second ago -- but a letter from James
14Journal article that had come out shortly              14Dondero that was sent to the
15before this E-mail, correct?                           15editor-in-chief of the Wall Street
16A.Correct.                                         16Journal, Mr. Gerard Baker, on November
17Q.And how did you became aware of                  1728th.
18that Wall Street Journal article?                      18And did you read this
19A.I certainly would have seen it.                  19attachment?
20I may have been sent it separately by                  20A.Yes.
21Highland, I don't recall.                              21Q.And did this attachment to this
22Q.You don't recall if you saw it                   22E-mail aleve your concerns that you had
23independently or Highland telling you                  23regarding the article?
24about it?                                              24MS. WEISGERBER:Objection to
25A.I don't.                                         25form.


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1Confidential - Pugatch                              1Confidential - Pugatch
2A.I wouldn't say alleviated the                    2MS. WEISGERBER:Same
3concerns but certainly provided an                     3objections.
4explanation or refute to some of the                   4Mike, if you have an
5claims made in the, in the article.                    5understanding, separate from
6Q.And do you contend that this                     6conversations with lawyers, you can
7letter that was written to Gerard Baker                7answer.
8and provided later to HarbourVest was a                8A.I would need to reread the
9material misrepresentation?                            9letter to definitively answer that outside
10MS. WEISGERBER:Objection to                      10of conversations with counsel.
11form.                                                11Q.But to be clear, this letter was
12Don't answer that, Mike.It                       12issued two weeks after HarbourVest's
13calls for a legal conclusion.                        13investment, correct?
14MR. WILSON:I'm asking for his                    14A.Correct.
15understanding.                                       15MS. WEISGERBER:Objection;
16Q.Do you contend that there's                      16asked and answered.
17misrepresentations in this letter?                     17MR. WILSON:I'm going to now
18MS. WEISGERBER:Material                          18send out the next exhibit, which is
19misrepresentations absolutely calls                  19going to be Exhibit No. 10.
20for a legal conclusion, John.                        20(Whereupon, Exhibit 10, 2004
21MR. WILSON:Well, I've                            21Examination of Investor in Highland
22shortened it to misrepresentations.                  22CLO Funding Ltd. 10/10/2018, was
23So I just want to know if he thinks                  23marked for identification.)
24there's anything that's misrepresented               24MR. WILSON:It just went
25in this letter.                                      25through.So I'm going to pull it up
                                                 Page 84                                                     Page 85
1Confidential - Pugatch                              1Confidential - Pugatch
2on my screen share.                                  2time wholly-owned by an affiliate of
3So this Exhibit 10, the document                  3Highland, it did an offering memorandum in
4I received this morning, filed in the                4November of 2017 and as a result, is now
5Acis bankruptcy, it looks like, well,                5owned 49.985% by certain affiliates of a
6let's see, dated in, dated October 10,               6large investor and manager of private
72018.                                                7equity funds."
8BY MR. WILSON:                                         8And that's defined as investor.
9Q.Have you seen this document                      9So the Investor is the HarbourVest
10before?                                                10entities collectively, correct?
11A.Yes.                                             11A.Correct.
12Q.And it's a motion for 2004                       12Q.All right.And then the next
13Examination of Investor in Highland CLO                13sentence, says that "Despite its large
14Funding, Ltd., correct?                                14ownership percentage in HCLOF in the
15A.Sorry.Was there a question,                     15alleged millions in losses that will
16John?                                                  16result if the Acis CLOs are not reset to
17Q.Yeah.I was just asking you to                   17make them consistent with prevailing
18confirm that this was the motion for 2004              18market conditions the Investor has not yet
19Examination of Investor in Highland CLO                19appeared in this case or taken any
20Funding?                                               20position in this bankruptcy case."
21A.Yes.                                             21Do you see that?
22Q.And so if I scroll down to                       22A.I do.
23Paragraph 6, which is on, it looks like                23Q.Is that correct?
24it's on Page 4.In the second sentence,                24MS. WEISGERBER:Objection to
25it says that "Although HCLOF/ALF was a one             25form.


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1Confidential - Pugatch                              1Confidential - Pugatch
2A.Is what correct?                                 2form.
3Q.Well, I guess, I'm most                          3Q.Okay.Had Highland encouraged
4concerned with this last part of the                   4HarbourVest to participate in the Acis
5sentence.It starts with "The Investor                 5bankruptcy?
6has not yet appeared in this case or taken             6MS. WEISGERBER:Objection to
7any position in the bankruptcy case."                  7form.
8Do you agree with that?                           8A.No.
9MS. WEISGERBER:Objection to                      9Q.They did not?
10form.                                                10MS. WEISGERBER:Objection to
11Mike, if you want to look at the                  11form.
12whole document, you're welcome to.                   12Q.Highland did not encourage
13This is not a document that's a                      13HarbourVest to participate in the Acis
14HarbourVest-prepared document.                       14bankruptcy?
15BY MR. WILSON:                                         15A.When you say "participate," can
16Q.Maybe a better way of asking the                 16you define that, please.
17question is:As of the date of this                    17Q.Well, appear in the case, as
18document, which was in October of 2018,                18stated in this motion.
19had HarbourVest appeared in the Acis                   19A.No, they had not.
20bankruptcy?                                            20Q.Did Harbour -- I'm sorry -- did
21A.No, we did not.                                  21Highland keep HarbourVest apprised of the
22Q.And had they asserted any                        22events that occurred in the Acis
23positions regarding the Acis bankruptcy?               23bankruptcy?
24A.Not through the court.                           24MS. WEISGERBER:Objection to
25MS. WEISGERBER:Objection to                      25form.I'm just going to restate my
                                                 Page 88                                                   Page 89
1Confidential - Pugatch                              1Confidential - Pugatch
2objection to the extent you're asking                2estimate those conference calls occurred,
3questions about HarbourVest.This is                 3if it's not weekly?
4Mr. Pugatch answering, based on his                  4MS. WEISGERBER:Objection to
5knowledge.                                           5form.
6A.We were kept informed from time                  6A.From memory, maybe once, once a
7to time throughout the Acis bankruptcy                 7month on average.Sometimes more
8proceeding.                                            8frequently, sometimes less frequently.
9Q.Well, did you, in fact, have                     9Q.Did Highland provide you with
10weekly conference calls with Highland                  10documents and evidence that were filed in
11representatives regarding the Acis                     11the Acis bankruptcy?
12bankruptcy?                                            12MS. WEISGERBER:Objection to
13MS. WEISGERBER:Objection to                      13form.
14form.                                                14We're really starting to get
15A.I don't recall them being                        15pretty far afield here, John, from
16weekly, no.                                            16HarbourVest.You know, I'm not sure
17Q.You can agree with me you                        17where you're going with this.This is
18participated in the conference calls with              18a settlement motion that's teed up for
19Highland regarding the Acis bankruptcy?                19the court.
20A.Yes.                                             20You're welcome to keep going,
21MS. WEISGERBER:Same objection.                   21but at some point we're going to cut
22Q.And on what, on what --                          22it off.
23MR. WILSON:Sorry.Strike                         23MR. WILSON:Well, I think -- I
24that.                                                24don't think I'm going to go too far
25Q.With what regularity would you                   25down this path, but I think this


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1Confidential - Pugatch                              1Confidential - Pugatch
2directly relates to the claims that                  2Acis bankruptcy to HarbourVest?
3HarbourVest has made.But I'll repeat                3MS. WEISGERBER:Objection to
4my question.                                         4form, foundation.
5BY MR. WILSON:                                         5A.I don't know and I don't recall.
6Q.Did Highland provide HarbourVest                 6Q.And the Acis plan became
7with documents and evidence that were                  7effective on February 1st, 2019.Is that
8filed in the Acis bankruptcy?                          8your understanding?
9MS. WEISGERBER:Objection to                      9A.I believe so, yes.
10form.                                                10Q.And do you -- I asked you this
11A.I don't recall what documents                    11earlier, but I'm going to ask again.Do
12Highland may have provided to us, at that              12you have any understanding of what the
13point in time.                                         13value of HCLOF was, at that date?
14Q.I don't want you to recall                       14A.I don't recall.
15specific documents that were provided, but             15MS. WEISGERBER:Objection to
16did, did Highland provide documents from               16form.
17the Acis bankruptcy to HarbourVest?                    17Q.You don't?
18MS. WEISGERBER:Objection to                      18A.I don't recall, no.
19form.Asked and answered.                            19Q.And there was an injunction put
20A.I don't recall.                                  20in place in the Acis bankruptcy that
21Q.You don't recall?                                21prevented certain actions with respect to
22A.(Nods.)                                          22HCLOF, correct?
23Q.Would you dispute that between                   23MS. WEISGERBER:Objection to
242018 and 2019 that Highland provided over              24form, foundation.
2540,000 pages of documents related to the               25MR. MALONEY:Join.
                                                 Page 92                                                   Page 93
1Confidential - Pugatch                              1Confidential - Pugatch
2A.Yes.                                             2manager of the underlying CLOs, yes.
3Q.Now, I'm going to go back up to                  3Q.But we can agree that Acis had
4Paragraph 2.This says that Acis LP                    4responsibility for managing at least a
5manages the Acis CLOs, that certain                    5portion of HCLOF, correct?
6portfolio management agreement between                 6A.Highland --
7Acis, and then it goes on.So what are                 7MR. WILSON:Objection to form.
8the Acis CLOs, as it relates to the                    8MR. MALONEY:Objection to form
9investment that HarbourVest made?                      9as well, foundation, and legal
10MR. MALONEY:Objection to the                     10conclusion.
11form of the question.                                11(Reporter clarification.)
12MS. WEISGERBER:Objection to                      12A.It's my understanding it's
13form.                                                13Highlands' subsidiaries, yes.
14A.The Acis CLOs -- or HCLOF owned                  14Q.Okay.Well, I'm going to go
15equity in certain of the Acis CLOs as a                15down to Paragraph 4, at the top of your
16portion of its investment portfolio.                   16screen here where it says, "Recently
17Q.And I think you were trying to                   17William Scott, the director of HCLOF,
18distinguish earlier between who the                    18testified that he wants to reset the Acis
19portfolio manager was.And that would                  19CLOs to bring them in line with current
20depend on whether it was an Acis CLO or a              20market interest rates, that the inability
21Highland CLO; is that correct?                         21to do the reset is causing damages to
22MR. MALONEY:Objection to form.                   22HCLOF in the amount of approximately
23MS. WEISGERBER:Objection to                      23$295,000 per week."
24form, misstates testimony.                           24Is that an accurate statement?
25A.I was referencing the portfolio                  25MS. WEISGERBER:Objection to


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1Confidential - Pugatch                              1Confidential - Pugatch
2form and foundation.                                 2HarbourVest-prepared document.
3MR. MALONEY:Mark Maloney.                        3MR. WILSON:Well, I understand
4Object to form and foundation.                       4that.I'm just asking if he agrees
5A.I don't know.You'd have to ask                  5with it.
6William Scott.                                         6A.I don't have enough information
7Q.Well, were you aware, I mean,                    7to assess that, specifically the $295,000
8there's a citation to a, well, I don't                 8per week number.
9know if there's a citation on this one.                9Q.I want to go down to Paragraph 7
10But it says that he recently testified.                10of this document, and this is going to be
11Were you aware that he testified that he               11at the top of Page 5.It says
12wanted to reset the Acis CLOs?                         12"Mr. Ellington also testified that because
13MS. WEISGERBER:Same objection.                   13it would be putting in additional capital
14We're really getting far afield.                     14in connection with any reset CLOs, the
15MR. WILSON:I'm just asking if                    15Investor," and we discussed that that's
16he was aware that this statement                     16HarbourVest, "had the ability to start
17occurred.                                            17'calling the shots' and dictate the terms
18A.At some point in time, yes, I                    18of any reset transactions."
19became aware of that.                                  19Do you agree with that?
20Q.Okay.Do you agree that the                      20A.No.
21inability to do a reset was causing                    21MS. WEISGERBER:Objection to
22damages in the amount of $295,000 per                  22form.
23week?                                                  23Q.I want to go down to Paragraph
24MS. WEISGERBER:Objection to                      249.
25form and foundation.This is not a                   25It says, "The Trustee also needs
                                                 Page 96                                                    Page 97
1Confidential - Pugatch                              1Confidential - Pugatch
2information regarding whether the Investor             2Joint Plan, it provides for such a reset
3presently has any concerns about pursuing              3to be performed by the Reorganized Acis
4reset transactions with the Reorganized                4and supervised by Brigade Capital
5Acis and Brigade, under the plan now that              5Management.
6Acis has been able to successfully serve               6And it appears to me that the
7as the portfolio manager for the Acis CLOs             7Trustee is trying to get the Investor's
8on a post-petition basis, and there are no             8position on whether a reset should be
9impediments to the ability of the                      9pursued.And I'm just asking you whether
10Reorganized Acis and Brigade to pursue a               10HarbourVest objected to a reset at this
11reset on the Acis CLOs."                               11time?
12Do you know whether the Investor                  12MS. WEISGERBER:I'm going to
13had any concerns about pursuing a reset?               13object to all of the colloquy before.
14MS. WEISGERBER:Objection to                      14I'm going to object to any extent
15form, foundation.                                    15Mike's being asked about what the
16A.The context of a reset or                        16Trustee wanted or viewed.If you want
17refinancing of the various CLOs in HCLOF               17to ask your question in isolation, go
18was part of the original investment                    18ahead.
19thesis.So there would not have been                   19Q.What was HarbourVest's position
20concerns about the ability to do so.Our               20regarding a reset, as of the date that
21concerns were more in the inability to do              21this was filed, and I'll look again,
22so, as a result of the Acis bankruptcy.                22October 10, 2018?
23Q.But here, you've got the Trustee                 23MS. WEISGERBER:Objection to
24representing in Paragraph 5, that                      24form.Objection to the extent it's
25according to the Trustee's Second Amended              25asking HarbourVest's position.And I


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1Confidential - Pugatch                               1Confidential - Pugatch
2cannot conceive how this is relevant                  2testimony being given.
3to the 9019 motion before the court                   3Q.But was it when you read this
4right now.                                            4motion that we're looking at as
5Nonetheless, Mike, if you have                     5Exhibit 10?
6an answer, on behalf of yourself, you                 6MS. WEISGERBER:Objection to
7can answer.                                           7form.
8A.HarbourVest was a passive                         8A.It may have been.I don't
9minority investor in HCLOF.It had no                   9recall the exact time or medium that I
10ability to control the underlying                       10became aware of that.
11portfolio management or ability to reset,               11Q.Was a deposition given as a
12refinance, or call in any of the equity of              12result of this motion?
13the underlying CLOs.That was all under                 13MS. WEISGERBER:Objection to
14the purview of Highland.                                14form.If you have the whole document,
15Q.Did you understand that                           15Mike, that may make sense.
16Mr. Ellington had given sworn testimony                 16MR. WILSON:Well, this motion
17that the Investor is the party calling the              17at the top says it's a Motion for 2004
18shots for HCLOF, with respect to any reset              18Examination of Investor.And then
19transactions?                                           19attached to this motion are some
20MS. WEISGERBER:Objection to                       20document requests, and then deposition
21form.                                                 21topics for a corporate representative
22A.I did became aware of it, yes.                    22of the Investor, and then a proposed
23Q.When did you become aware of                      23order.
24that?                                                   24BY MR. WILSON:
25A.At some point subsequent to that                  25Q.Do you recall whether a
                                                 Page 100                                                    Page 101
1Confidential - Pugatch                               1Confidential - Pugatch
2deposition was given, after this motion                 2general, the original investment thesis
3was filed?                                              3here was predicated on a refinancing reset
4A.Yes.                                              4of the various CLOs, and we were not in
5Q.And who was the designated                        5control as a passive minority investor
6deponent?                                               6here to --
7A.I was.                                            7Q.Well, you said you weren't in
8Q.And were documents produced, as                   8control, but what would HarbourVest's
9a result of this?                                       9preference have been?
10A.Yes, there were.                                  10MS. WEISGERBER:Objection to
11Q.And were you asked at that                        11form.
12deposition what the Investor's position on              12A.I do not recall.
13a reset was?                                            13MS. WEISGERBER:If you recall.
14MS. WEISGERBER:Objection to                       14A.I don't recall the specifics
15form.                                                 15around what Acis CLO were referring to
16If you recall.                                     16here or what the specific implications of
17A.I don't recall specifically that                  17a reset were at that time; but regardless,
18question being asked.                                   18that was a decision for the investment
19Q.Well, do you know what                            19manager of HCLO.
20the Debtor's position -- I'm sorry, the                 20Q.But was it your opinion, your
21Debtor's -- the Investor's position on a                21personal opinion, that a reset was
22reset was as of that day?                               22appropriate?
23MS. WEISGERBER:Objection to                       23MS. WEISGERBER:Objection to
24form.Asked and answered.                             24form.
25A.I would just say again, in                        25A.Again, we were not the portfolio


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1Confidential - Pugatch                               1Confidential - Pugatch
2manager of HCLOF.We were not in control                2A.Yeah, the investment guidelines
3of those decisions or making                            3of HCLOF, from the documents that we
4recommendations on those decisions.That                4signed at the time we entered into the
5was the delegated authority of Highland,                5transaction, laid out the specific, again,
6as the investment manager.                              6investment guidelines that HCLOF would be
7Q.I'm not asking for that.I'm                      7guided under, including the opportunity to
8asking for your personal feelings toward a              8refinance or reset various CLOs over time,
9reset.                                                  9in accordance with Highland's, you know,
10MS. WEISGERBER:Same objection.                    10expectations and ultimate decision to do
11He's only answering on behalf of                      11so.
12himself, and it's been asked and                      12Q.But did you believe, at this
13answered three times since.                           13time, that a reset was appropriate?
14MR. WILSON:Well, he hasn't                        14MS. WEISGERBER:Objection to
15answered the question.He's just told                 15form.This is asked and answered
16me they don't have the authority to do                16several times now, I think we should
17the reset.                                            17move on.He's given you an answer.
18MS. WEISGERBER:And he told you                    18MR. WILSON:Well, I want to
19the other information he'd be required                19know what his personal opinion was
20to even have an opinion on it.So                     20about whether the reset was
21same objection stands.It's not a                     21appropriate.
22specific enough question for him.                     22A.What reset are you referring to?
23Mike, you're welcome, if you                       23Q.A reset as of October 10, 2018.
24have, if you have an answer, you're                   24At that time, did you believe that a reset
25welcome to give it.                                   25was appropriate?
                                                 Page 104                                                    Page 105
1Confidential - Pugatch                               1Confidential - Pugatch
2A.A reset of what?                                  2company, an investment company that was
3MS. WEISGERBER:Same objection.                    3managing this.We were not, I was not
4Q.A reset as been discussed all                     4proximate enough to any of the underlying
5through this motion, the same reset we're               5happenings of the look through CLO
6talking about.                                          6positions of HCLOF to have an informed
7MS. WEISGERBER:Objection.                         7view on this, at this time.
8Same objections.I just don't see how                 8Q.Is your testimony that you did
9he could possibly answer this vague                   9not have an opinion as to whether the Acis
10question.                                             10CLO should be reset in late 2018?
11Q.Okay.So William Scott,                           11MS. WEISGERBER:Objection to
12director of HCLOF, testified that he                    12form.Misstates testimony.
13wanted to reset the Acis CLOs because if                13A.My view is that the original
14they don't, they are losing $295,000 a                  14investment guidelines here called for a
15week.                                                   15reset or refinance of the CLOs and that
16Did you think that a reset was                     16Highland was subsequently in full control
17appropriate in line with what Mr. Scott                 17of whether or not to pursue this, and we,
18believed?                                               18HarbourVest, as an investor had no ability
19MR. MALONEY:Objection to form,                    19to object or to force that on a go-forward
20foundation.                                           20basis.
21MS. WEISGERBER:Same                               21MR. WILSON:Objection.
22objections.And asked and answered                    22Nonresponsive.
23numerous times.                                       23Q.I want to know your personal
24A.We were not managing the                          24opinion of whether you thought a reset was
25portfolio.We were an investor in a                     25appropriate in October of 2018.


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1Confidential - Pugatch                               1Confidential - Pugatch
2MR. MORRIS:Objection to the                       2MS. WEISGERBER:He said that,
3form of the question.That's been                     3he actually testified at some point
4asked and answered.                                   4that he doesn't recall specifics of
5MR. WILSON:He has yet to give                     5the time, so that was another piece of
6his answer to --                                      6the puzzle.
7MR. MORRIS:He just told you he                    7I mean, I don't want to be
8didn't have enough information.He                    8coaching the witness or giving
9just told you that, crystal clear.                    9testimony here, but I think you're not
10MR. WILSON:Well, I'm not going                    10listening to the things he's saying,
11to argue with you, John, but I just                   11John, just because you don't like it.
12want an answer to my question.                        12BY MR. WILSON:
13His answer, he wouldn't agree                      13Q.Mr. Pugatch, did you have an
14with my, with my summation that he had                14opinion, in October of 2019, about whether
15no opinion, so I just want to know                    15the Acis CLOs should be reset?
16what his opinion is.                                  16MS. WEISGERBER:Objection to
17MS. WEISGERBER:Same                               17form.
18objections.                                           18A.I don't recall any definitive
19You're not giving him enough                       19opinion I would have had, but as stated,
20information to answer the question,                   20was not proximate enough to have an
21and at this point, it would be                        21informed opinion, in any event.
22speculation.We can just keep going                   22Q.And to your knowledge, have the
23in circles on this, but your --                       23Acis CLOs ever been reset?
24MR. WILSON:His opinion would                      24MS. WEISGERBER:Objection to
25be speculation?                                       25form, foundation.
                                               Page 108                                                    Page 109
1Confidential - Pugatch                             1Confidential - Pugatch
2A.I do not believe that any of the                2form.
3Acis CLOs were ever reset.                            3MR. WILSON:I'm going to send
4Q.All right.So who negotiated                    4out Exhibit 11.
5this claim, the settlement of this claim              5(Whereupon, Exhibit 11,
6on behalf of HarbourVest?                             6Declaration of John A. Morris in
7A.I did.                                          7Support of the DebtoríS Motion For
8Q.And who negotiated for the                      8Entry of an Order Approving Settlement
9Debtor?                                               9With Harbourvest (Claim Nos. 143, 147,
10A.Jim Seery.                                      10149, 150, 153, 154) and Authorizing
11Q.And when did those negotiations                 11Actions, 82 pages, was marked for
12begin?                                                12identification.)
13A.It started sometime in November,                13BY MR. WILSON:
14I believe.                                            14Q.I want pull this up on the
15Q.And are you aware that Jim Seery                15screen share.This Exhibit 11 is the
16has ever taken the position that the                  16Declaration of John Morris in Support of
17HarbourVest claim was worthless?                      17the Debtor's 9019 Motion, bears
18MS. WEISGERBER:Objection to                     18Document 1631.And attached to this
19form, foundation.                                   19exhibit is a trim cut copy of the
20A.No, I'm not aware of that.                      20Settlement Agreement executed December 23,
21Q.Has Jim Seery ever offered                      212020.
22$5 million to settle the HarbourVest                  22And the Settlement Agreement has
23claim?                                                23Paragraph 1, Settlement of Claims, that
24A.Not to my knowledge.                            24HarbourVest is going to receive a
25MS. WEISGERBER:Objection to                     25$45 million unsecured, general unsecured


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2claim, and a $35 million subordinated                   2in this Settlement Agreement?
3claim.                                                  3MS. WEISGERBER:Objection to
4And then Part B of that                            4form.
5paragraph states that HarbourVest is going              5A.I believe it was put there as
6to transfer all its rights, titles, and                 6part of the drafting of the ultimate
7interests to its investment in CLOF to the              7agreement to the fund.
8Debtor or its nominee.                                  8Q.Well, whose suggestion was it
9Is that your understanding of                      9that it be added to the drafting?
10the general terms of this settlement?                   10MS. WEISGERBER:Objection to
11MS. WEISGERBER:Objection to                       11form.
12form.                                                 12A.I believe that it came from
13A.Yes, it is.                                       13Debtor's counsel, as they took the lead on
14Q.Okay.And also in Paragraph 5,                    14drafting the documentation here.
15Each HarbourVest party agrees that it will              15Q.Did Jim Seery ever tell you that
16vote all of HarbourVest claims held by                  16it was important to him that HarbourVest
17such HarbourVest party to accept the plan.              17vote in support of the plan?
18And I won't read all of that.                      18MS. WEISGERBER:Objection to
19But the gist of this paragraph is that                  19form.
20HarbourVest is going to vote for the                    20A.I don't recall that ever being
21Debtor's proposed plan; is that correct?                21discussed.Certainly it was not the
22MS. WEISGERBER:Objection to                       22prominent feature of any of the
23form.                                                 23discussions or negotiations that I ever
24A.Yes, correct.                                     24had with Jim.
25Q.And how did that term come to be                  25Q.Okay.
                                                 Page 112                                                    Page 113
1Confidential - Pugatch                               1Confidential - Pugatch
2MR. WILSON:I'm going to take a                    2form.Foundation.
3ten-minute break, and I think I'm                     3MR. MALONEY:Join.
4almost ready to wrap up.So I want to                 4MS. WEISGERBER:I don't know,
5stop my screen share.And let's,                      5Mike, if you're comfortable doing that
6well, let's start back at 2:30, and I                 6math or what.
7think I'll be quick.Thank you.                       7A.Yes, approximately that's
8(Recess taken.)                                    8correct.
9BY MR. WILSON:                                          9Q.Okay.And you know, and I've
10Q.Mr. Pugatch, earlier you                          10read your papers and you talk about
11testified that consistent with your                     11attorneys' fees that you say weren't
12declaration you filed that as of August                 12appropriate to be charged to HCLOF and
1331, 2020, the value of HCLOF was                        13that part of it, but as to the loss of
14$44.5 million.And then if we look at --                14value of the actual investment, what's
15I don't remember which --                               15your understanding of what led to that?
16Okay.So this would have been                      16MS. WEISGERBER:Objection to
17Exhibit 7.I'll do a share screen.                      17form.Objection to the extent it
18As of November 15, 2017 these                      18calls for a legal conclusion.
19shares were purchased at $1.02 and change               19Mike, to the extent you have a
20apiece, and there were a total number of                20nonlegal opinion on that, that's not
21143 million shares.                                     21based on conversations with counsel,
22Was the value of this investment                   22you can answer.
23roughly $150 million, as of November 15,                23A.Yeah, I think a lot of the value
242017?                                                   24erosion was due to the inability to
25MS. WEISGERBER:Objection to                       25refinance, reset a number of the


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2underlying CLOs that was part of the                    2You can give your lay opinion,
3original investment thesis here, largely                3if you have one, Mike.
4as a result of the ongoing litigation,                  4A.I think it's all been as a
5that Highland was involved in, and the                  5result of the events leading up to the
6subsequent Acis bankruptcy.                             6Acis bankruptcy, including the inability
7Q.And so during the period of time                  7to refinance or reset the CLOs which would
8when the injunction prohibited certain                  8have been to the benefit of the CLO equity
9actions with respect to this investment,                9holders including HCLOF.
10is it your opinion that this investment                 10Q.And so what, what was the cause
11was losing value?                                       11of the inability to reset?
12MR. MALONEY:Objection.                            12MS. WEISGERBER:Same
13MS. WEISGERBER:Objection to                       13objections:form, foundation, legal
14form.                                                 14conclusion.
15A.Can you repeat the question,                      15If you have a non-privileged
16John?                                                   16answer, Mike, go ahead.
17Q.Well, I guess I want to know,                     17A.Yeah, my understanding was
18like, in a, on a timeline kind of basis,                18originally the TRO, preventing Highland
19do you think that the significant                       19and HCLOF from pursuing that, and then
20reduction of value occurred prior to or                 20subsequent to the Acis bankruptcy ruling,
21after the confirmation of the Acis plan on              21a similar injunction that remained around
22February 1, 2019?                                       22the inability for the equity holders of
23MS. WEISGERBER:Objection to                       23those CLOs to redeem or refinances or
24form.Objection to the extent it                      24reset.
25calls for a legal conclusion.                         25Q.So do you -- is there any
                                                 Page 116                                                    Page 117
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2component, in your opinion, of the loss of              2that has been the, far and away, the
3value of these investments due to                       3largest contributor to loss of value
4portfolio mismanagement?                                4within the portfolio.
5MS. WEISGERBER:Objection to                       5Q.One of the allegations that
6form, foundation, legal conclusion, or                6HarbourVest has made is that Highland
7expert opinion, calling for                           7improperly changed the portfolio manager.
8speculation.                                          8Is it your opinion that if that had not
9If you have a view, Mike.                          9been done, the portfolio manager had not
10A.Yeah.Can you be more specific                    10been changed at the inception of
11with the question, John?                                11HarbourVest's investment, that that would
12Q.Well, I'll ask it a different                     12have preserved any value of this fund?
13way.                                                    13MR. MORRIS:Objection to the
14Do you think that portfolio                        14form of the question.
15mismanagement was a portion of the cause                15MS. WEISGERBER:Same objection.
16of the reduction in value?                              16Calling for speculation, hypothetical
17MS. WEISGERBER:Same objection.                    17lay opinion.
18A.I can't speculate as to, you                      18If you have testimony, go ahead,
19know, the underlying management decisions               19Mike.
20around the CLOs, but what I do know is                  20A.Sorry, could you just repeat the
21that the mismanagement and                              21question, John?I want to make sure I'm
22misrepresentations at the HCLOF level,                  22answering it correctly.
23that would ultimately result in the Acis                23Q.I guess I just want to know, and
24bankruptcy and subsequent to that, the TRO              24I think you kind of hinted at this a
25and the inability to refinance or reset                 25little bit earlier today, but I guess what


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1Confidential - Pugatch                               1Confidential - Pugatch
2I really want to know is do you think that              2form.
3the particular portfolio manager made a                 3A.When you're asking about
4difference in the loss of value that HCLOF              4portfolio manager, are we referring to the
5suffered?                                               5portfolio manager at the underlying CLO
6MS. WEISGERBER:Same                               6level or at the HCLOF level?I think
7objections.                                           7there are two different levels here of
8A.Again, it sounds like you're                      8portfolio management.
9asking a different question there than                  9Q.Well, I'm talking about the
10what I thought I understood your question               10portfolio manager, and you can tell me
11to be initially.What I would say to that               11which one it is, but which portfolio
12is the decision originally to change the                12manager has the ability to, to impact the
13portfolio manager, and ultimately the                   13performance of these funds?
14events that took place following the                    14MR. MORRIS:Objection.
15Arbitration Award for Mr. Terry, resulted               15A.If you're referring to HCLOF,
16in the subsequent Acis bankruptcy, which                16the --
17in turn has led to the destruction of                   17MS. WEISGERBER:Objection to
18value, because of the inability to                      18form.
19refinance or reset, the underlying CLOs.                19A.-- investment manager, or the
20Q.So HarbourVest is not alleging                    20portfolio manager of HCLOF has the ability
21that the portfolio manager made any                     21to drive value creation by virtue of its
22particular decisions or participated in                 22equity position in the underlying CLOs.
23any mismanagement that led to reduction in              23Q.Well, which portfolio manager
24value?                                                  24makes the day-to-day decisions about
25MS. WEISGERBER:Objection to                       25selling assets, trading assets, that, that
                                                 Page 120                                                    Page 121
1Confidential - Pugatch                               1Confidential - Pugatch
2I guess --                                              2that what you're saying is that the
3A.If you're referring to                            3diminution of value wasn't attributable to
4underlaying credits, that would be the                  4poor investment decisions by a portfolio
5portfolio manager in each of the                        5manager, as much as it was the
6individual CLOs.The impact in value to                 6consequences in the Acis bankruptcy of the
7the equity investment in the CLOs is a                  7change in portfolio manager; is that fair?
8decision at the HCLOF level, where the                  8MS. WEISGERBER:Objection to
9majority of that value erosion has                      9form.Misstates testimony.
10resulted from the inability to refinance                10A.Yes, it is.That is my general
11or reset those CLO entities.                            11understanding, yes.
12Q.And that's what we're talking                     12MR. WILSON:Okay.No further
13about when you said that they, that                     13questions.
14Highland changed the portfolio manager,                 14MR. MORRIS:All right.Well,
15you're talking about at the HCLOF level,                15thank you very much.
16right?                                                  16THE REPORTER:Does anybody have
17MS. WEISGERBER:Objection to                       17any other questions?
18form.                                                 18MR. KANE:Yes.This is John
19A.Well, I was responding to the                     19Kane with CLO Holdco.I'll jump on
20question that I thought you asked. I                    20video.I've got some questions, but
21wasn't necessarily stating that.                        21I'm going to be relatively short.If
22Q.I guess all I'm really trying to                  22anybody else has a little bit heavier
23do here is just understand HarbourVest's                23schedule, let me know.
24position.And it sounds to me, and                      24All right.I'll take that as a
25correct me if I'm wrong, it sounds to me                25go-ahead.


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2EXAMINATION                                             2of conversations directly with the Debtor,
3BY MR. KANE:                                            3with counsel, all-hands calls, et cetera.
4Q.This is John Kane.I represent                    4Q.Okay.And as part of that in
5CLO Holdco.                                             5the Settlement Agreement, you say the
6Hi, Mike Pugatch.It's nice to                     6HarbourVest entities were members in HCLOF
7talk to you.                                            7are in essence selling their shares to the
8A.Likewise.                                         8Debtor, and also in exchange getting some
9Q.I just wanted to briefly                          9claims back in the Debtor's plan.Is that
10confirm.I believe you testified you                    10a fair summary?
11participated in negotiations that lead to               11MS. WEISGERBER:Objection to
12the Settlement Agreement, that is part of               12form.Compound question.
13the 9019 motion, before the bankruptcy                  13Q.Let me ask it a different way.
14court; is that correct?                                 14A.Can you re-ask that, please?
15A.Correct.                                          15Q.Yeah.I'm happy to do that.
16Q.And did you actively negotiate                    16Why don't you describe for me
17the terms of that Settlement Agreement?                 17how you would summarize that settlement?
18A.Yes.                                              18A.Largely, as I think you just
19Q.As in dollar amounts, what the                    19described it, which was in exchange for,
20consideration exchanged, how it would                   20in exchange for the, both the unsecured
21work, that kind of stuff, obviously with                21creditors' claim, and subordinated
22the assistance of counsel?                              22creditors' claim, that settlement value is
23A.Yes.All of that.The                             23in exchange for us transferring the
24negotiations were, you know, over the                   24interest in HCLOF to the Debtor, as part
25course of a number of weeks and a number                25of that overall negotiating package.
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1Confidential - Pugatch                               1Confidential - Pugatch
2Q.And what would you estimate, I                    2$35 million allowed subordinated
3going to have to imagine, let me rephrase               3claim, if the settlement is approved
4the question.                                           4and the plan is confirmed.
5Have you guys done kind of an                      5MS. WEISGERBER:Objection to
6internal best guess of what your unsecured              6form.
7and subordinated claims would be, under                 7But you can answer, if you have
8the plan, the value?                                    8an answer, Mike.
9MS. WEISGERBER:Objection.                         9A.We do have a sense.It's really
10Objection to form.                                    10a range of projected outcomes, as you can
11A.Just to be clear, John, are you                   11imagine, based on the recoveries, largely
12referring to the expected recovery value                12informed by conversations with the Debtor.
13of our claims?                                          13Q.And what is that range of value?
14Q.Yes, sir.                                         14MS. WEISGERBER:Objection to
15MS. WEISGERBER:Objection to                       15form.
16form.Can we just clarify, so you're                  16A.Our understanding, again, based
17talking about what they'll recover                    17on those conversations, is that the
18ultimately?Is that the question,                     18general unsecured claim could be valued in
19John?I'm confused myself.I just                     19a 75 to 80 cents on the dollar recovery.
20want to be sure I am following.                       20And then a, you know, that the junior
21MR. KANE:Yeah.So I'm asking                      21class claim is really sort of upside
22Mike how much he believes, based on                   22potential, to the extent there is more
23his analysis, that HarbourVest is                     23recovery or more asset value of the
24likely to recover from the $45 million                24estate, for the benefit of creditors over
25allowed general unsecured claim and                   25time.


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1Confidential - Pugatch                               1Confidential - Pugatch
2Q.What is your understanding of                     2Q.So how has HarbourVest allocated
3the current value of the HarbourVest                    3value, as far as this Settlement Agreement
4shares in HCLOF that would be transferred               4is concerned?
5under this Agreement?                                   5And to make sure we're on the
6A.It's roughly $22.5 million of                     6same page about what I'm asking,
7their value.                                            7HarbourVest is trading a bundle of sticks,
8Q.So doing a little bit of, you                     8right?And there's really two things
9know, back-of-the-table-cloth math, how do              9within that bundle of sticks, and please
10you allocate value between the releases                 10confirm that's correct, you're trading
11that you are receiving and the shares that              11shares, and in addition, releases; is that
12you are transferring?                                   12right?In exchange you're getting back
13MR. KANE:I'm sorry.Let me                        13claims that have a potential future value.
14rephrase that.Let me ask that                        14So, how have you allocated value
15question differently.                                 15among the shares transferred and the
16Q.In addition to the claims under                   16releases that are being granted?
17the plan, HarbourVest is providing the                  17MR. MORRIS:Objection.
18Debt -- sorry, in addition to the shares                18MS. WEISGERBER:Objection.
19that are being transferred, HarbourVest is              19You can go ahead, Mike.
20providing to the Debtor certain releases                20A.Yeah.So ultimately we looked
21for its litigation claims; is that                      21at it as a package, and so it was less
22correct?                                                22about the attribution of value between the
23MS. WEISGERBER:Objection to                       23two different sticks, as you described it,
24form.                                                 24and more about the overall package value
25A.Correct.                                          25in exchange for the transfer of our
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2interest and the release of the claims                  2of Debtor's Motion for an Entry
3that we had outstanding as the Debtor.                  3Approving Settlement with HarbourVest.
4MR. KANE:Now, I want to turn                      4BY MR. KANE:
5your attention to what I've included                  5Q.Now, this Settlement Agreement
6in the chat.You can pull it down                     6is a document that you assisted in
7pretty easily if you want.But it                     7negotiations; is that correct?
8would be Holdco Depo Exhibit 2.If                    8A.Correct.
9that would be easier than a screen                    9Q.Okay.And here in Section 1B,
10share, if you'd like, I'm happy to do                 10this addresses the transfer of the shares
11that as well.                                         11of the HarbourVest entities to a Debtor
12MS. WEISGERBER:Which document                     12affiliate; is that correct?
13is it, John?Because I just can't                     13MS. WEISGERBER:Objection to
14pull stuff off the Zoom right now.                    14form.
15MR. KANE:Oh, I'm sorry.It's                      15A.Correct.
16the Settlement Agreement with the                     16Q.Is that your understanding,
17attached exhibits.I can share my                     17Mr. Pugatch?
18screen so we're all on the same page.                 18A.Yes, correct.
19Just to confirm we're looking at                   19Q.Okay.Thank you.Section 4A,
20the same thing, here's the Settlement                 20and is this your understanding that
21Agreement.There's a docket entry at                  21HarbourVest is representing that it has
22the top so you can see it, 1631 filed                 22the authority to enter into this agreement
23by the Debtor 12/24/20.                               23and to transfer the shares to the Debtor's
24This is Exhibit 1 to the                           24affiliate if this is approved?
25Declaration of John Morris in Support                 25MS. WEISGERBER:Objection to


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2form.The document speaks for itself.                2with this document?
3Is that a question, John?                         3A.Yes.I've seen it.
4MR. KANE:Yeah.I asked if                        4Q.And did you assist with the
5that was his understanding, that this                5preparation or negotiation of this
6is a representation by HarbourVest                   6Agreement?
7that it has the authority to transfer                7A.Yes.
8the shares if the Settlement Agreement               8Q.Okay.Did you understand that
9is approved.                                         9HarbourVest would need the consent of the
10MS. WEISGERBER:Objection to                      10HCLOF portfolio advisor to effectuate the
11form.Objection to the extent it                     11transfer?
12calls for a legal conclusion.                        12MS. WEISGERBER:Objection to
13To the extent you have a                          13form.Objection to the extent it
14nonlegal conclusion, non-privileged                  14calls for a legal conclusion.
15understanding, Mike, you can share                   15Mike, if you have a view other
16that.                                                16than from privileged conversation, you
17A.Yeah, I'm just saying I can only                 17can answer, otherwise do not answer.
18answer that based on conversations with                18A.Yeah, I'm sorry.I can only
19counsel.                                               19answer that based on conversation with
20MR. KANE:Okay.I won't push                      20counsel and the read of the document.
21that.That's fine.                                   21Q.So to make sure I understand
22Q.If we keep going down here as                    22that, you have no independent
23part of this attachment, there's a                     23understanding of whether or not consent
24Transfer Agreement, Exhibit A to the                   24was required from the portfolio manager
25Settlement Agreement.Are you familiar                 25before you could effectuate a transfer; is
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2that correct?                                          2calls for a privileged conversation.
3MS. WEISGERBER:Same objection.                   3A.As I answered before, based on
4I think you can give your                         4conversations with counsel, my
5general understanding, but then not                  5understanding is that consent is requiring
6get into specific conversations.                     6in connection to transfer.
7A.My understanding of that is                      7Q.I'd like to turn your attention
8based on conversations with counsel, but               8now -- this is a document you've seen
9yes, that is my understanding, John.                   9before during your deposition.This is
10Q.Okay.I'm going to highlight a                   10the member's agreement related to the
11passage here.Can you see this                         11Company for HCLOF.This is previously
12highlighted area?"Whereas, the Portfolio              12produced by the Debtor, that's why it's
13Manager desires to consent to such                     13got the Bates stamp on it.This is dated
14transfers and to the admission of                      14November 15, 2017.
15Transferee as a shareholder..."                        15Are you familiar with this
16Were you aware of that                            16document?
17provision?                                             17A.Yes.
18MS. WEISGERBER:Objection to                      18Q.Do you see on Line 14, in the
19form.                                                19between, on Page 1 shows Highland HCF
20A.Yes.It's in the document.                       20Advisor, Ltd. as the portfolio manager?
21Q.Do you have any understanding of                 21A.Yes, I see that.
22why that provision was included in this                22Q.I know there was quite a bit
23agreement?                                             23of -- quite a few questions about this
24MS. WEISGERBER:Objection to                      24earlier, but you understand that Highland
25form.Objection to the extent it                     25HCF Advisor, Ltd. is still the HCLOF


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1Confidential - Pugatch                               1Confidential - Pugatch
2portfolio manager?                                      2MR. MORRIS:Objection to the
3MS. WEISGERBER:Objection to                       3form.
4form.                                                 4MS. WEISGERBER:Objection --
5A.Honestly, I don't have -- I                       5same objections.Objection to the
6don't have enough information to answer                 6extent it calls for privileged
7that definitively.                                      7information.
8Q.Okay.Going back to the                           8A.That sounds like a legal
9Settlement Agreement, there's a reference               9conclusion.
10in here to a defined term, "portfolio                   10Q.I would have thought it was
11manager."                                               11reading, Mr. Pugatch.
12Do you see that?                                   12A.Well, if you're asking me to
13A.Yep.                                              13definitively confirm that, that sounds
14Q.And is this the same one that's                   14like a legal interpretation.
15listed in the Member Agreement, Highland                15Q.Let me ask that a different way.
16HCF Advisor, Ltd.?                                      16Do you understand that the
17A.I believe that seems to be the                    17portfolio manager is listed as Highland
18position, yes.                                          18HCF Advisor, Ltd. in the Member Agreement?
19Q.Okay.So when we're talking                       19A.Yes.
20about down here, "Whereas, the Portfolio                20Q.And in this Transfer Agreement,
21Manager desires to consent," this consent               21the portfolio manager is listed as
22provision is referring to the same                      22Highland HCF Advisor, Ltd.?
23definition of portfolio manager that's                  23A.Yes.
24included in this Member Agreement; is that              24Q.And those are the same entities?
25correct?                                                25A.Yes.
                                                 Page 136                                                    Page 137
1Confidential - Pugatch                               1Confidential - Pugatch
2Q.All right.Are you familiar                       2HarbourVest entities can transfer its
3with Section 6 of this Member Agreement?                3shares without obtaining the consent of
4A.(Nods.)                                           4the portfolio manager?
5Q.Have you ever read this                           5MS. WEISGERBER:Objection to
6document?                                               6form.Objection to the extent it
7A.I have.                                           7calls for a legal conclusion.
8Q.Okay.And can you give me your                    8Same instruction, Mike, as to
9understanding of what must take place                   9privileged conversations.
10under this document for HarbourVest to                  10A.Again, my view on that would be
11transfer its shares?                                    11based on conversations with counsel.
12MS. WEISGERBER:Object to the                      12Q.Are you aware of whether
13form.Object to the extent it calls                   13HarbourVest provided any notice to other
14for a legal conclusion.Object to the                 14members of its intent to transfer its
15extent it calls for any privileged                    15shares to the Debtor's affiliate under the
16information or conversations.                         16Settlement Agreement, other than the
17Mike, to the extent you have an                    17filing of the 9019 motion?
18independent understanding, separate                   18MS. WEISGERBER:Same objection.
19from conversations with counsel, you                  19But there is a factual question in
20can answer the question.                              20there if you can answer it, Mike, but
21A.I would say my understanding of                   21no privileged conversation.
22what's required in connection with the                  22A.Yeah, I'm not aware of that.
23transfer is based on conversations with                 23Q.Did you provide members 30 days
24counsel.                                                24after the receipt of notice of
25Q.Do you believe that the                           25HarbourVest's intent to transfer its


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1Confidential - Pugatch                               1Confidential - Pugatch
2shares to the Debtor's affiliate and                    2the full document if you'd like, Mike.
3provide those members with an opportunity               3I think it was one of the ones that
4to purchase their pro rata amount of the                4was E-mailed as well, or maybe you
5shares?                                                 5were able to pull it down.
6MS. WEISGERBER:Same objection.                    6THE WITNESS:Yeah, no, I was.
7A.No.                                               7Thank you.
8Q.And just to make sure I'm not                     8A.And I'm sorry, John, could you
9asking this question in a way that you                  9just repeat the question?
10don't understand what I'm asking:Do you                10BY MR. KANE:
11see this highlighted provision here?                    11Q.Yeah, sure, absolutely.And I'm
12A.Yes.                                              12not calling for any conversations with
13Q.I'm asking whether HarbourVest                    13counsel.I'm asking you if you know
14provided members 30 days after the receipt              14whether HarbourVest did something or not.
15of a notice letter and an opportunity to                15So let's -- let's keep it to that, because
16purchase their entire pro rata share of                 16I --
17the shares proposed to be transferred by                17MR. KANE:Erica, I appreciate
18the HarbourVest entities?                               18your concerns, but I really don't want
19MS. WEISGERBER:Objection to                       19to have any disclosures from Mike
20form.Objection to the extent it                      20about his discussions with you on
21calls for privileged conversations or                 21whether something needed to be done or
22a legal conclusion.Objection to the                  22not.I'm asking simply the facts of
23extent it's asking about one piece of                 23whether HarbourVest did it or not.
24the document.                                         24Q.So did HarbourVest provide
25And you're welcome to look at                      25notice, 30 days' notice, to the members
                                                 Page 140                                                    Page 141
1Confidential - Pugatch                               1Confidential - Pugatch
2listed under this Member Agreement of                   2question, no.
3HarbourVest's intent to transfer the                    3Q.So let me ask this question
4shares that are the subject to the                      4again, I don't recall if I got an answer
5Settlement Agreement?                                   5or not.
6A.No.                                               6Did HarbourVest affirmatively
7Q.Has HarbourVest provided any                      7seek to obtain the consent of Highland HCF
8members with a right of first refusal and               8Advisors to transfer its shares to the
9a cash purchase price for which it would                9Debtor affiliate under the Settlement
10sell its shares instead of transferring                 10Agreement?
11those shares to the Debtor or the Debtor's              11MS. WEISGERBER:Same
12affiliate under the Settlement Agreement?               12objections.Same instruction
13MS. WEISGERBER:Same                               13regarding the privileged conversation.
14objections.Objection to form.                        14A.I mean, as a Highland-affiliated
15Objection to extent it calls for a                    15entity, the Debtor, who's obviously the
16legal conclusion or privileged                        16other party here involved in the transfer,
17conversations, including -- regarding                 17you know, was involved in these
18the specifics of that provision.                      18discussions.
19I don't think that's a purely                      19Q.I'm sorry.Would you mind
20factual question.                                     20clarifying?Did you say that Highland HCF
21Q.Did HarbourVest offer to sell                     21Advisors was involved in those discussions
22the shares to the other members?That's                 22or the Debtor was involved in those
23not a factual question?                                 23discussions and you assume Highland HCF
24MS. WEISGERBER:Objection --                       24Advisors was?
25A.On the basis of that factual                      25MS. WEISGERBER:Objection to


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1Confidential - Pugatch                              1Confidential - Pugatch
2form.Misstates testimony.                           2A.I am not.
3A.Sorry, could you just repeat the                 3MS. WEISGERBER:Same objection.
4question, please, John?                                4Q.Do you know if HarbourVest has
5Q.Yes, Mr. Pugatch.                                5any written consent?Not just to seek it,
6I'm actually just trying to get                   6but do you know if HarbourVest has a piece
7some clarification from you, because I                 7of paper, other than the transfer
8don't think I understood your answer                   8agreement, in which Highland HCF advisors
9about -- I had asked just -- again, I                  9provided its consent to the transfer of
10don't want any correspondence with your                10shares to the Debtor's affiliate?
11counsel or what your counsel advised, I'm              11MS. WEISGERBER:Same
12asking:Do you know whether HarbourVest                12objections.
13sought written consent from Highland HCF               13A.I would have to speak with
14Advisor for its -- or to transfer its                  14counsel.I am not aware of that directly,
15shares to the Debtor or the Debtor's                   15no.
16affiliate under the Settlement Agreement?              16Q.Are you aware of whether
17MS. WEISGERBER:Same objection.                   17HarbourVest had any correspondence with
18A.My understanding is HarbourVest                  18HCLOF representatives about effectuating
19did not explicitly have those                          19the transfer of the shares to the Debtor's
20conversations or seek that consent.                    20affiliate under the Settlement Agreement?
21Q.Okay.Are you aware of whether                   21MS. WEISGERBER:Same objection.
22HarbourVest received any written consent               22You can answer.
23from Highland HCF Advisors, other than                 23A.We have had discussions with
24what's in the Transfer Agreement attached              24them, yes.
25to the Settlement Agreement?                           25Q.Did HCLOF representatives
                                                Page 144                                                    Page 145
1Confidential - Pugatch                              1Confidential - Pugatch
2provide consent, whether written or                    2MS. WEISGERBER:Objection to
3otherwise, to the transfer?                            3form.
4A.I am not aware that that consent                 4And, John, I'm sorry to do this,
5has been provided as of yet.                           5can you just clarify what you mean by
6Q.Are you aware of whether any                     6"representative"?
7HarbourVest representatives have had                   7MR. KANE:Yeah.I mean,
8conversations with the Debtor's                        8anybody that has agency authority to
9representatives about the necessity of                 9act on behalf of the Debtor in
10consent to the transfer of their shares?               10negotiations, in the preparation of
11MS. WEISGERBER:Objection to                      11the documents, in negotiation of the
12form --                                              12terms of the Settlement Agreement.
13MR. KANE:I'll re-ask the                         13I mean, I think that it's, you
14question.I want to clarify that                     14know, a pretty broad term here.
15point.                                               15MS. WEISGERBER:Objection to
16BY MR. KANE:                                           16form.Objection to the extent it
17Q.Mr. Pugatch, are you aware of                    17calls for discussions with counsel.
18whether any HarbourVest representatives                18As a factual matter, if you have
19had conversations with the Debtor's                    19an answer, you can give it.
20representatives about the necessity of                 20A.I'm aware of conversations that
21obtaining the HCLOF portfolio manager's                21have taken place about all of the terms of
22written consent before transferring the                22the Transfer Agreement in connection with
23shares to the Debtor's representative or               23the settlement, with all parties.
24affiliate under the terms of the                       24Q.Is it your understanding based
25Settlement Agreement?                                  25on those conversations that written


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2consent of the portfolio manager as                     2conversations with the Debtor's
3defined in the Transfer Agreement was                   3representatives, was it your understanding
4required before the shares could be                     4that the consent of the portfolio manager
5transferred under the Settlement                        5was required for the shares to be
6Agreement?                                              6transferred from the HarbourVest entities
7MS. WEISGERBER:Objection to                       7to the Debtor's affiliate under the terms
8the form.Objection to the extent it                  8of the Settlement Agreement?
9calls for a legal conclusion or                       9MS. WEISGERBER:Okay.Same
10privileged conversation.And I think                  10objections.Also objection to the
11that one does, John.                                  11extent there is a common interest
12A.Yeah, I can only answer that                      12privilege.
13based on conversation with lawyers.                     13A.I don't recall having that
14Q.Wasn't the question whether --                    14explicit conversation with representative
15I'm sorry.Maybe I forgot my own                        15of the Debtor.
16question.                                               16MR. KANE:I'll pass the
17But I thought it was based on                      17witness.
18your conversations with the Debtor's                    18Thank you, Mr. Pugatch.
19representative, was it your understanding,              19MR. MORRIS:Anybody else?
20not based on your conversation with                     20Thank you, all.
21counsel.                                                21MS. WEISGERBER:Can we --
22MS. WEISGERBER:Can you repeat                     22before we break, could we have a
23the whole question because I                          23two-minute break and then come back
24definitely misunderstood it then too.                 24before we conclude.
25Q.Okay.Based on your                               25BY MS. WEISGERBER:
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1Confidential - Pugatch                               1Confidential - Pugatch
2Q.Mr. Pugatch, during Mr. Wilson's                  2MS. WEISGERBER:Objection.
3questioning, I believe his last question                3A.Correct.
4related to identifying as between two                   4MS. WEISGERBER:Just to
5choices the primary source or the cause of              5clarify, John, is this within the
6HarbourVest's damages.                                  6scope of the questions I asked
7In your opinion, is -- are                         7Mr. Pugatch?
8HarbourVest damages attributable to any                 8MR. WILSON:I believe it is.
9one cause?                                              9I'm going to be really short.But
10A.No, I would say there were                        10so --
11multiple root causes of the damages and                 11MS. WEISGERBER:I would like to
12diminution in value that was suffered in                12have a standing objection to the
13connection with the investment.                         13extent it's not within the scope of
14MS. WEISGERBER:Okay.I don't                      14the questions that was asked to
15have any further questions.                           15Mr. Pugatch.
16MR. WILSON:I think I'd like to                    16BY MR. WILSON:
17ask a couple more.                                    17Q.So some of those CLOs you
18BY MR. WILSON:                                          18contend are managed by Acis?
19Q.Mr. Pugatch, I think you                          19MS. WEISGERBER:Objection to
20testified earlier that the investment in                20form.
21HCLOF was comprised of multiple CLOs,                   21A.A majority.
22correct?                                                22Q.And just generally, do you
23A.Correct.                                          23contend that Highland managed the balance
24Q.And some of those CLOs were                       24of those CLOs?
25managed by Acis, to your understanding?                 25MR. MORRIS:Objection to the


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1Confidential - Pugatch                               1Confidential - Pugatch
2form of the question.                                 2investment is comprised of multiple CLOs
3MS. WEISGERBER:Objection.                         3and each one of those CLOs would have to
4Same objection.                                       4be reset, according to its own terms, I
5A.Yes.                                              5guess.Do you know of any one of those
6Q.Yes.Okay.Thank you.                             6CLOs that requested a reset?
7And I just had two more                            7MR. MORRIS:Objection to the
8questions.                                              8form of the question.
9So, if there was going to be a                     9MS. WEISGERBER:Same objection.
10reset, that would have to be done at the                10A.I'm aware of Highland having in
11CLO level, each CLO would have to be                    11its capacity as manager of the HCLOF
12reset?                                                  12having requested or pursued resets of
13MR. MORRIS:Objection.                             13certain of the Acis HCLOs.
14MS. WEISGERBER:Objection to                       14Q.Your understanding is that
15form.                                                 15Highland requested a reset of the Acis
16A.That is correct.                                  16CLOs?
17Q.And do you know of any specific                   17MS. WEISGERBER:Objection to
18CLO that requested a reset but was not                  18form.
19granted a reset?                                        19A.I'm sorry.I'm trying to
20MR. MORRIS:Objection to form.                     20understand what you said.
21MS. WEISGERBER:Same objection.                    21MS. WEISGERBER:I'm really
22And foundation.                                       22wondering how this relates at all to
23A.When you say "CLOs who requested                  23the scope of the questions I asked Mr.
24a reset," can be more clear, please?                    24Pugatch on follow up.
25Q.We just talked about how this                     25I think it's time to wrap this
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1Confidential - Pugatch                               1Confidential - Pugatch
2up, John.                                             2form.Objection to foundation.
3MR. WILSON:This was my last                       3MR. MORRIS:Objection to the
4question, I just need an answer to it.                4form of the question.
5And I think he tried to answer, but I                 5A.Again, my understanding is the
6didn't understand what he said.                       6CLOs do not request the reset.Highland,
7MS. WEISGERBER:Objection.Can                     7as manager of HCLOF in its capacity as
8you re-ask the question so we have a                  8majority equity owner of certain of the
9clear question.                                       9CLOs, have requested a reset post our
10MR. WILSON:Well, Madam Court                      10original investment.
11Reporter, can you read back his last                  11Q.Okay.
12response?                                             12MR. WILSON:I'll pass the
13(Record read.)                                     13witness.
14BY MR. WILSON:                                          14MS. WEISGERBER:I think we're
15Q.Can you repeat what you intended                  15done.
16to answer to the last question?                         16THE REPORTER:Will everyone put
17MS. WEISGERBER:Same objection.                    17their orders on the record, please?
18If you recall, Mike.                               18MR. MORRIS:John Morris for the
19A.I'm sorry, John.Can you just                     19Debtor.Expedited, please.
20repeat the question, please, make sure I'm              20MR. WILSON:John Wilson.I'm
21answering what you want me to answer.                   21not sure what arrangements my office
22Q.My question is the same as it's                   22has previously made, but we want an
23been:Are you aware of any CLO that                     23expedited transcript, as well.
24requested a reset and was not granted one?              24THE REPORTER:Do you want a
25MS. WEISGERBER:Objection to                       25rough too?


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1Confidential - Pugatch                                             1
2MR. WILSON:Yes, please.                                         2ACKNOWLEDGEMENT OF DEPONENT
3MR. MORRIS:Yes, please.                                         3
4MS. WEISGERBER:Same for                                         4I, MICHAEL PUGATCH, do hereby
5HarbourVest, please.                                                5acknowledge that I have read and
6MR. MALONEY:I don't need an                                     6examined the foregoing testimony, and
7expedited transcript.I'd just be                                   7the same is a true, correct and
8happy to get one regular copy.I'll                                 8complete transcription of the
9take whatever you would produce in the                              9testimony given by me, and any
10ordinary course.Same as what                                       10corrections appear on the attached
11everyone else ordered.                                              11Errata sheet signed by me.
12(Time Noted:4:35 p.m. EDT.)                                     12
13                                                                      13
14                                                                      14________________________________________
15                                                                      15(DATE)(SIGNATURE)
16                                                                      16
17                                                                      17
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1                                                                      1ERRATA SHEET
2CERTIFICATE OF SHORTHAND REPORTER-NOTARY                            2Case Name:
3PUBLIC                                                     3Deposition Date:
4I, Amanda Gorrono, the officer                                 4Deponent:
5before whom the foregoing deposition
                                                                        5Pg.No. Now ReadsShould ReadReason
6was taken, do hereby certify that the
                                                                        6______ ________________________________________
7foregoing transcript is a true and
                                                                        7______ ________________________________________
8correct record of the testimony given;
                                                                        8______ ________________________________________
9that said testimony was taken by me
                                                                        9______ ________________________________________
10stenographically and thereafter
                                                                        10______ ________________________________________
11reduced to typewriting under my
12direction; and that I am neither                                  11______ ________________________________________

13counsel for, related to, nor employed                             12______ ________________________________________
14by any of the parties to this case and                            13______ ________________________________________
15have no interest, financial or                                    14______ ________________________________________
16otherwise, in its outcome.                                        15______ ________________________________________
17IN WITNESS WHEREOF, I have                                     16______ ________________________________________
18hereunto set my hand this 12th day of                             17______ ________________________________________
19January, 2021.
                                                                        18______ ________________________________________
20
                                                                        19______ ________________________________________
21______________________________
                                                                        20
22AMANDA GORRONO, CLR
                                                                        _____________________
CLR NO:052005 - 01
                                                                        21Signature of Deponent
23
                                                                        22SUBSCRIBED AND SWORN BEFORE ME
Notary Public in and for the State of New
24York                                                                23THIS ____ DAY OF __________, 20___.

County of Suffolk                                                    24____________________

25                                                                      25(Notary Public)MY COMMISSION EXPIRES:__________




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                              APPENDIX 




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 PACHULSKI STANG ZIEHL & JONES LLP
 Jeffrey N. Pomerantz (CA Bar No.143717) (admitted pro hac vice)
 Ira D. Kharasch (CA Bar No. 109084) (admitted pro hac vice)
 John A. Morris (NY Bar No. 266326) (admitted pro hac vice)
 Gregory V. Demo (NY Bar No. 5371992) (admitted pro hac vice)
 Hayley R. Winograd (NY Bar No. 5612569) (admitted pro hac vice)
 10100 Santa Monica Blvd., 13th Floor
 Los Angeles, CA 90067
 Telephone: (310) 277-6910
 Facsimile: (310) 201-0760

 HAYWARD PLLC
 Melissa S. Hayward
 Texas Bar No. 24044908
 MHayward@HaywardFirm.com
 Zachery Z. Annable
 Texas Bar No. 24053075
 ZAnnable@HaywardFirm.com
 10501 N. Central Expy, Ste. 106
 Dallas, Texas 75231
 Tel: (972) 755-7100
 Fax: (972) 755-7110

 Counsel for the Debtor and Debtor-in-Possession

                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

                                                              )
 In re:                                                       )   Chapter 11
                                                              )
 HIGHLAND CAPITAL MANAGEMENT, L.P.,1                          )   Case No. 19-34054-sgj11
                                                              )
                                  Debtor.                     )   Re: Docket Nos. 1625, 1697, 1706,
                                                              )   1707

           DEBTOR’S OMNIBUS REPLY IN SUPPORT OF DEBTOR’S MOTION FOR
          ENTRY OF AN ORDER APPROVING SETTLEMENT WITH HARBOURVEST
           (CLAIM NOS. 143, 147, 149, 150, 153, 154), AND AUTHORIZING ACTIONS
                                CONSISTENT THEREWITH




 1
   The Debtor’s last four digits of its taxpayer identification number are (6725). The headquarters and service
 address for the above-captioned Debtor is 300 Crescent Court, Suite 700, Dallas, TX 75201.


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          The above-captioned debtor and debtor-in-possession (the “Debtor”) hereby submits this

 reply (the “Reply”) in support of its Motion for Entry of an Order Approving Settlement with

 HarbourVest (Claim No.143,147, 149, 150, 153, 154), and Authorizing Actions Consistent

 Therewith [Docket No. 1625] (the “Motion”).2 In further support of the Motion, the Debtor

 respectfully states as follows:

                                        PRELIMINARY STATEMENT

          1.       If granted, the Motion will resolve a $300 million general unsecured claim against

 the Debtor’s estate for less than $16.8 million in actual value.3 The settlement is another solid

 achievement for the Debtor and – not surprisingly – is opposed by no one except Mr. Dondero

 and entities affiliated with him.

          2.       As discussed in the Motion, in November 2017, HarbourVest invested $80

 million in exchange for a 49.98% membership interest in HCLOF – an entity managed by a

 subsidiary of the Debtor. The balance of HCLOF’s interests are held by CLO Holdco, Ltd. (an

 entity affiliated with Mr. Dondero), the Debtor, and certain of the Debtor’s employees.

 Subsequent to its investment in HCLOF, HarbourVest incurred substantial losses on its

 investment in HCLOF and filed claims against the Debtor’s estate.

          3.       HarbourVest asserts claims for fraud, fraudulent inducement, fraudulent

 concealment, fraudulent misrepresentation, negligent misrepresentation, breach of fiduciary duty


 2
   All capitalized terms used but not defined herein have the meanings given to them in the Motion.
 3
   Under the proposed settlement, HarbourVest would receive an allowed, general unsecured claim of $45 million
 and an allowed, subordinated claim of $35 million. Based on the estimated recovery for general unsecured creditors
 of 87.44% (which is a recovery based on certain outdated assumptions discussed infra), HarbourVest’s $45 million
 general unsecured claim is estimated to be worth approximately $39.3 million and the $35 million subordinated
 claim, which is junior to the general unsecured claim, is currently estimated to have value only if there are litigation
 recoveries. In addition, HarbourVest is transferring to an affiliate of the Debtor its interest in HCLOF, which is
 estimated to be worth approximately $22.5 million. Thus, HarbourVest’s estimated recovery on its general
 unsecured and subordinated claims is estimated at approximately $16.8 million on a net economic basis. This
 estimate, however, is dated and is based on the claims that were settled as of the filing of the Debtor’s plan in
 November 2020.

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 and unfair prejudice (under Guernsey law), violations of state securities laws, and RICO. In

 furtherance of these claims, HarbourVest alleges it was misled by the Debtor and its employees,

 including Mr. Scott Ellington (then the Debtor’s general counsel), and that subsequent to

 investing in HCLOF, Mr. Dondero and the Debtor used HCLOF both as a piggybank to fund the

 litigation against Acis Capital Management, L.P. (“Acis”) and as a scapegoat for the Debtor’s

 litigation strategy, in each case to HarbourVest’s substantial detriment.

         4.       Specifically, HarbourVest alleges that:

         x        the Debtor and its employees, including Mr. Ellington, misled HarbourVest about
                  its intentions with respect to Mr. Terry’s arbitration award against Acis and
                  orchestrated a series of fraudulent transfers and corporate restructurings, the true
                  purpose of which was to denude Acis of assets and make it judgment proof;

         x        the Debtor and its employees, including Mr. Ellington, misled HarbourVest as to
                  the intent and true purpose of these restructurings and led HarbourVest to believe
                  that Mr. Terry’s claims against Acis were meritless and a simple employment
                  dispute that would not affect HarbourVest’s investment;

         x        the Debtor, through Mr. Dondero, improperly exercised control over or misled
                  HCLOF’s Guernsey-based board of directors to cause HCLOF to engage in
                  unnecessary, unwarranted, and resource-draining litigation against Acis;

         x        the Debtor improperly caused HCLOF to pay substantial legal fees of various
                  entities in the Acis bankruptcy that were unwarranted, imprudent, and not
                  properly chargeable to HCLOF; and

         x        the Debtor used HarbourVest as a scapegoat in its litigation against Acis by
                  asserting that the Debtor’s improper conduct and scorched-earth litigation strategy
                  was at HarbourVest’s request, which was untrue.

         5.       The Debtor believed, and continues to believe, that it has viable defenses to

 HarbourVest’s claims. Nevertheless, those defenses would be subject to substantial factual

 disputes and would require expensive and time-consuming litigation that would likely be

 resolved only after a lengthy trial all while the Debtor (or its successor) assumes the risk that the

 defenses might fail. The evidence will show that the proposed settlement is the product of

 substantial, arm’s length – and sometimes quite heated – negotiations between and among the

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 principals and their counsel. The evidence will also show that one of HarbourVest’s primary

 concerns in settling its claim was that part of that settlement would include the extrication of

 HarbourVest from the Highland web of entities and the related litigation.                  The proposed

 settlement accomplishes that and does so in compliance with HCLOF’s governing agreements.

         6.       Pursuant to the proposed settlement, (a) HarbourVest will receive (i) an allowed,

 general unsecured claim in the amount of $45 million, and (ii) an allowed, subordinated claim in

 the amount of $35 million; (b) HarbourVest will transfer its 49.98% interest in HCLOF (valued

 at approximately $22.5 million) to a wholly-owned subsidiary of the Debtor; and (c) the parties

 will exchange mutual and general releases. The Debtor believes that the proposed settlement is

 reasonable and results from the valid and proper exercise of its business judgment. And the

 Debtor’s creditors apparently agree. None of the major parties-in-interest or creditors in this

 case has objected to the Motion: not the Committee, the Redeemer Committee, Acis, Patrick

 Daugherty, or UBS.

         7.       In distinction, the only objecting parties are Mr. Dondero, his family trusts (the

 Dugaboy Investment Trust (“Dugaboy”) and Get Good Trust (“Get Good,” and together with

 Dugaboy, the “Trusts”)), and CLO Holdco (a wholly-owned subsidiary of Mr. Dondero’s

 Charitable Donor Advised Fund, L.P. (the “DAF”)) (collectively, the “Objectors”). Each of the

 Objectors has only the most tenuous economic interest in and connection to the Debtor’s

 settlement with HarbourVest. Each of the Objectors is also controlled directly or indirectly by

 Mr. Dondero who has coordinated each of the Objectors litigation strategies against the Debtor.4

 Mr. Dondero’s efforts to litigate every issue in this case – directly and by proxy – should be

 rebuffed, and the objections overruled. The following is a brief summary of the objections.

 4
  See Debtor’s Amended Witness and Exhibit List with Respect to Evidentiary Hearing to be Held on January 8,
 2021 [Adv. Pro. 20-3190-sgj, Docket No. 46], Exhibit Q.

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       Pleading                         Objection/Reservation                                   Response
                             Because HarbourVest was damaged by the           Mr. Dondero is misdirecting the Court.
                             injunction entered in Acis, the settlement       HarbourVest’s claim arises from the
                             seeks to revisit this Court’s rulings in Acis.   misrepresentations of Mr. Dondero, Mr.
                                                                              Ellington, and others, not this Court’s
                                                                              rulings in Acis, including the failure to
                                                                              disclose the fraudulent transfer of assets.
                             The settlement is not fair and equitable         Mr. Dondero ignores the dangers of the
                             because it does not address (1) Acis’s           litigation and HarbourVest’s claims against
                             mismanagement, (2) how the Debtor is             the estate for misrepresentation and
                             liable for HarbourVest’s damages, (3) the        overestimates the ability to resolve the
                             success on the merits, (4) the costs of          litigation. The Debtor has assessed the
                             litigation, and (5) the Debtor’s ability to      value of the HCLOF interests in light of all
                             realize the value of the HCLOF interests in      factors, including the Acis injunction.
                             light of the Acis injunction.
   Objection of James
                             The HarbourVest settlement represents a          Mr. Dondero ignores the economics of this
  Dondero [Docket No.
                             substantial windfall to HarbourVest.             case, which have value breaking in Class 8
  1697] (the “Dondero
                                                                              (General Unsecured Claims). The value of
      Objection”)
                                                                              the settlement is not $60 million; it is
                                                                              approximately $16.8 million against a
                                                                              claim of $300 million. There is no
                                                                              windfall.
                             The HarbourVest settlement is improper           The HarbourVest settlement provides for
                             gerrymandering because it provides               the resolution of HarbourVest’s claim. It is
                             HarbourVest with a general unsecured             nonsensical to think that the Debtor would
                             claim and a subordinated claim in order to       reach a settlement with HarbourVest that
                             secure votes for the plan.                       would include HarbourVest’s rejection of
                                                                              the Debtor’s plan, and there is nothing
                                                                              wrong with requiring acceptance of a plan
                                                                              as part of a settlement. Further, the Debtor
                                                                              does not need HarbourVest’s Class 9 vote
                                                                              to confirm a plan.
                             The settlement represents a radical change       Mr. Dondero ignores the dangers of the
                             in the Debtor’s earlier position on the          litigation and HarbourVest’s claims against
                             HarbourVest settlement.                          the estate for misrepresentation and
                                                                              overestimates the ability to resolve the
                                                                              litigation.
                             The settlement appears to buy                    The HarbourVest settlement provides for
                             HarbourVest’s vote.                              the resolution of HarbourVest’s claim. It is
                                                                              nonsensical to think that the Debtor would
Objection of the Dugaboy
                                                                              reach a settlement with HarbourVest that
Investment Trust and Get
                                                                              would include HarbourVest’s rejection of
 Good Trust [Docket No.
                                                                              the Debtor’s plan, and there is nothing
   1706] (the “Trusts
                                                                              wrong with requiring acceptance of a plan
       Objection”)
                                                                              as part of a settlement. Further, the Debtor
                                                                              does not need HarbourVest’s Class 9 vote
                                                                              to confirm a plan.
                             No information is provided as to whether         As discussed below, the HCLOF interest
                             the Debtor can acquire HarbourVest’s             will be transferred to a wholly-owned
                             interest in HCLOF or the value of that           subsidiary of the Debtor. Mr. Seery will
                             interest to the estate.                          testify as to the benefit of the HCLOF
                                                                              interests to the estate.
Objection of CLO Holdco      HarbourVest cannot transfer its interests in     CLO Holdco misinterprets the operative
   [Docket No. 1707]         HCLOF unless it complies with the right of       agreements and tries to create ambiguity
 (“CLOH Objection”)          first refusal.                                   where none exists.


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         8.       These objections are just the latest objections filed by Mr. Dondero and his related

 entities to any attempt by the Debtor to resolve this case,5 including the Debtor’s settlement with

 Acis [Docket No. 1087] and the seven separate objections filed by Mr. Dondero and his related

 entities to the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.

 [Docket No. 1472] (the “Plan”).6 It will not shock this Court to hear that each of the Objectors is

 also objecting to the Plan. In contradistinction, the Debtor has heard this Court’s admonishments

 about old Highland’s culture of litigation as evidenced by this case, Acis’s bankruptcy, and

 beyond. Although the Debtor has vigorously contested claims when appropriate, the Debtor has

 also sought to settle claims and limit the senseless fighting.               The Debtor has successfully

 resolved the largest claims against the estate, including the claims of the Redeemer Committee,

 Acis, and, as recently announced to this Court, UBS. The Debtor would ask this Court to see

 through the pretense of the Dondero-related entities’ objections to the HarbourVest settlement

 and approve it as a valid exercise of the Debtor’s business judgment.




 5
   As an example of Mr. Dondero’s litigiousness, on January 12, 2021, Mr. Dondero filed notice that he will be
 appealing the preliminary injunction entered against him earlier on January 12, 2021.
 6
   (1) James Dondero’s Objection to Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.
 [Docket No. 1661]; (2) Objection to Confirmation of the Debtor’s Fifth Amended Plan of Reorganization (filed by
 Get Good Trust, The Dugaboy Investment Trust) [Docket No. 1667]; (3) Senior Employees’ Limited Objection to
 Debtor’s Fifth Amended Plan of Reorganization (filed by Scott Ellington, Thomas Surgent, Frank Waterhouse, Isaac
 Leventon) [Docket No. 1669]; (4) Objection to Confirmation of Fifth Amended Plan of Reorganization of Highland
 Capital Management, L.P. (filed by Highland Capital Management Fund Advisors, L.P., Highland Fixed Income
 Fund, Highland Funds I and its series, Highland Funds II and its series, Highland Global Allocation Fund,
 Highland Healthcare Opportunities Fund, Highland Income Fund, Highland Merger Arbitrate Fund, Highland
 Opportunistic Credit Fund, Highland Small-Cap Equity Fund, Highland Socially Responsible Equity Fund,
 Highland Total Return Fund, Highland/iBoxx Senior Loan ETF, NexPoint Advisors, L.P., NexPoint Capital, Inc.,
 NexPoint Real Estate Strategies Fund, NexPoint Strategic Opportunities Fund) [Docket No. 1670]; (5) NexPoint
 Real Estate Partners LLC’s Objection to Debtor’s Fifth Amended Plan of Reorganization (filed by NexPoint Real
 Estate Partners LLC f/k/a HCRE Partners LLC) [Docket No. 1673]; (6) CLO Holdco, Ltd.’s Joinder to Objection to
 Confirmation of Fifth Amended Plan of Reorganization of Highland Capital Management, L.P. and Supplemental
 Objections to Plan Confirmation [Docket No. 1675]; and (7) NexBank’s Objection to Debtor’s Fifth Amended Plan
 of Reorganization (filed by NexBank Title, Inc., NexBank Securities, Inc., NexBank Capital, Inc., and NexBank)
 [Docket No. 1676].

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                                                  REPLY
 A.      Standing

         9.       James Dondero.         In the Dondero Objection, Mr. Dondero asserts he is a

 “creditor, indirect equity security holder, and party in interest” in the Debtor’s bankruptcy.

 While that claim is ostensibly true, it is tenuous at best. On April 8, 2020, Mr. Dondero filed

 three unliquidated, contingent claims that he promised to update “in the next ninety days.”7

 More than nine months later, Mr. Dondero has yet to “update” those claims to assert an actual

 claim against the Debtor’s estate.8

         10.      Mr. Dondero’s claim as an “indirect equity security holder” is also a stretch. Mr.

 Dondero holds no direct equity interest in the Debtor. Mr. Dondero instead owns 100% of

 Strand Advisors, Inc. (“Strand”), the Debtor’s general partner. Strand, however, holds only

 0.25% of the total limited partnership interests in the Debtor through its ownership of Class A

 limited partnership interests. The Class A limited partnership interests are junior in priority of

 distribution to the Debtor’s Class B and Class C limited partnership interests. The Class A

 interests are also junior to all other claims filed against the Debtor. Finally, Mr. Dondero’s

 recovery on his indirect equity interest is junior to any claims against Strand itself.

 Consequently, before Mr. Dondero can recover on his “indirect” equity interest, the Debtor’s

 estate must be solvent, priority distributions to Class B and Class C creditors must be satisfied,

 and all claims against Strand must be satisfied.

         11.      Dugaboy and Get Good. Dugaboy and Get Good are sham Dondero “trusts”

 with only the most attenuated standing. Dugaboy has filed three proofs of claim [Claim Nos.

 113; 131; 177]. In two of these claims, Dugaboy argues that (1) the Debtor is liable to Dugaboy

 7
  Mr. Dondero filed two other proofs of claim that he has since withdrawn with prejudice. See Docket No. 1460.
 8
   Without knowing the nature of the “updates,” the Debtor does not concede that any “updates” would have been
 procedurally proper and reserves the right to object to any proposed amendment to Mr. Dondero’s claims.

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 for its postpetition mismanagement of the Highland Multi Strategy Credit Fund, L.P., and (2) this

 Court should pierce the corporate veil and allow Dugaboy to sue the Debtor for a claim it

 ostensibly has against the Highland Select Equity Master Fund, L.P. – a Debtor-managed

 investment vehicle. The Debtor believes that each of the foregoing claims is frivolous and has

 objected to them. [Docket No. 906].

         12.      In its third claim, Dugaboy asserts a claim against the Debtor arising from its

 Class A limited partnership interest in the Debtor (which represents just 0.1866% of the total

 limited partnership interests in the Debtor). Similarly, Get Good filed three proofs of claim

 [Claim Nos. 120; 128; 129] arising from its prior ownership of limited partnership interests in the

 Debtor. Because each these claims arises from an equity interest, the Debtor will seek to

 subordinate them under 11 U.S.C. § 510 at the appropriate time. As set forth above, these

 interests are out of the money and are not expected to receive any economic recovery.

         13.      Consequently, Mr. Dondero, Dugaboy, and Get Good’s standing to object to the

 HarbourVest settlement is attenuated and their chances of recovery in this case are extremely

 speculative at best. See In re Kutner, 3 B.R. 422, 425 (Bankr. N.D. Tex. 1980) (finding that a

 party had standing only when it had a “pecuniary interest . . . directly affected by the bankruptcy

 proceeding”); see also In re Flintkote Co., 486 B.R. 99, 114-15 (Bankr. D. Del. 2012), aff’d. 526

 B.R. 515 (D. Del. 2014) (a claim that is speculative cannot confer party in interest standing).

 Mr. Dondero, Dugaboy, and Get Good’s minimal interest in the estate should not allow them to

 overrule the estate’s business judgment or veto settlements with creditors, especially when no

 actual creditors and constituents have objected. “[A] bankruptcy judge must not blindly follow

 the hue and cry of the most vocal special interest groups; rather, [the judge] should consider all

 salient factors . . . and . . . act to further the diverse interests of the debtor, creditors and equity



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 holders, alike.” In re Lionel, 722 F.2d 1063, 1071 (2d Cir. 1983).

 B.      Mr. Dondero’s Objection and his “Trusts” Objection Are Without Merit

         14.      As discussed in the Motion, under applicable Fifth Circuit precedent, a

 bankruptcy court may approve a compromise or settlement as long as the proposed settlement is

 fair, reasonable, and in the best interest of the estate. See, e.g., In re Age Ref. Inc., 801 F.3d 530,

 540 (5th Cir. 2015). In making this determination, courts look to the following factors:

         x        probability of success in the litigation, with due consideration for the uncertainty
                  of law and fact;

         x        complexity and likely duration of the litigation and any attendant expense,
                  inconvenience and delay; and

         x        all other factors bearing on the wisdom of the compromise, including (i) “the
                  paramount interest of creditors with proper deference to their reasonable views”
                  and (ii) whether the settlement is the product of arm’s length bargaining and not
                  of fraud or collusion.

 Official Comm. of Unsecured Creditors v. Cajun Elec. Power Coop. (In re Cajun Elec. Power

 Coop.), 119 F.3d 349, 356 (5th Cir. 1997) (citations omitted). See also Age Ref. Inc., 801 F.3d at

 540; Conn. Gen. Life Ins. Co. v. United Cos. Fin. Corp. (In re Foster Mortgage Corp.), 68 F.3d

 914, 918 (5th Cir. 1995).

         15.      The Settlement Seeks to Revisit the Acis Orders. In the Dondero Objection,

 Mr. Dondero argues that HarbourVest’s claim is based on the financial harm caused to

 HarbourVest from Acis’s bankruptcy and the orders entered in the Acis bankruptcy.                  Mr.

 Dondero extrapolates from this that HarbourVest is seeking to challenge this Court’s rulings in

 Acis. (Dondero Obj., ¶¶ 17-20) Mr. Dondero misinterprets HarbourVest’s claims and the

 dangers such claims pose to the Debtor’s estate.

         16.      HarbourVest’s claims are for fraud, fraudulent inducement, fraudulent

 concealment, fraudulent misrepresentation, negligent misrepresentation, breach of fiduciary duty


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  and unfair prejudice (under Guernsey law), violations of state securities laws, and RICO.

  HarbourVest is not arguing that Acis or this Court caused its damages; HarbourVest is arguing

  that the Debtor – led by Mr. Dondero – (a) misled HarbourVest as to the nature of Mr. Terry’s

  claims against the Debtor and the litigation with Acis, (b) knowingly and intentionally failed to

  disclose that the Debtor was engaged in the fraudulent transfer of assets to prevent Mr. Terry

  from collecting his judgment, and (c) that the Debtor – under the control of Mr. Dondero –

  improperly engaged in a crusade against Mr. Terry and Acis, which substantially damaged

  HarbourVest and its investment in HCLOF, in each case in order to induce HarbourVest to invest

  in HCLOF.

          17.      Again, HarbourVest does not contend that Acis caused its damages. Rather,

  HarbourVest contends that the fraudulent transfer of assets as part of the Debtor’s crusade

  against Mr. Terry and Acis and the false statements and omissions about those matters caused

  HarbourVest to make an investment it would never have made had Mr. Dondero and the Debtor

  been honest and transparent. The Acis litigation – in HarbourVest’s estimation – never should

  have happened. Acis did not cause HarbourVest’s damages. Mr. Dondero’s crusade against Mr.

  Terry and the Debtor’s allegedly fraudulent statements to HarbourVest about the fraudulent

  transfers, Mr. Terry and Acis caused HarbourVest’s damages.

          18.      The HarbourVest Claim Lacks Merit. In their objections, Mr. Dondero and the

  Trusts argue that the HarbourVest settlement is not fair and equitable and not in the best interests

  of the estate because (a) it does not address the Debtor’s arguments against the HarbourVest

  claims and (b) there is a lack of pending litigation seeking to narrow the claims against the estate.

  These arguments only summarily address the first two factors of Cajun Electric, which deal with

  success in the litigation, and, in doing so, mischaracterize the dangers to the Debtor’s estate



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  posed by HarbourVest’s claims. (Dondero Obj., ¶¶ 21-25; Trusts Obj., ¶ 18(a))

          19.      Both the Dondero Objection and – to a much lesser extent - the “Trusts”

  Objection allege that (a) HarbourVest’s losses were caused by Acis and its (mis)management of

  HCLOF’s investments (Dondero Obj.,¶ 22, 24), (b) there is no contract that supports

  HarbourVest’s claims (Dondero Obj. ¶ 23; Trusts Obj., ¶ 18(a)), (c) there is no causal connection

  between HarbourVest’s losses and the Debtor’s conduct (Dondero Obj., ¶ 24), and (d) the Debtor

  should litigate all or a portion of HarbourVest’s claim before settling (Dondero Obj., ¶ 25).

  Again, though, as set forth above, both Mr. Dondero and the “Trusts” seek to shift the cause of

  HarbourVest’s damages away from the Debtor’s misrepresentations and to Mr. Terry’s

  management of HCLOF’s investments. This is simple misdirection.

          20.      HarbourVest’s claims are that it invested in HCLOF based on the Debtor’s

  fraudulent misrepresentations. Fraudulent misrepresentation sounds in tort, not contract. See,

  e.g., Clark v. Constellation Brands, Inc., 348 Fed. Appx. 19, 21 (5th Cir. 2009) (referring to

  party’s claim based on fraudulent misrepresentation as a tort); Eastman Chem. Co. v. Niro, Inc.,

  80 F. Supp. 2d 712, 717 (S.D. Tex. 2000) (noting that party had common law duty not to commit

  intentional tort of fraudulent misrepresentation). There is thus no need for HarbourVest to point

  to a contractual provision to support its claim.9             Moreover, in order to defend against

  HarbourVest’s claims, the Debtor would need to elicit evidence showing that its employees did

  not make misrepresentations to HarbourVest. Such a defense would require the Debtor to rely

  on the veracity of Mr. Ellington’s testimony, among others. That is a high hurdle, and no

  reasonable person would expect the Debtor to stake the resolution of HarbourVest’s $300 million

  claim on the Debtor’s ability to convince this Court that Mr. Ellington was telling HarbourVest

  9
   Subsequent to filing the Motion, the Objectors requested all agreements between HarbourVest, HCLOF, and the
  Debtor, and such agreements were provided.

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  the truth. This is especially true in light of the evidence supporting Mr. Ellington’s recent

  termination for cause and the evidence recently provided by HarbourVest supporting its claim

  for fraudulent misrepresentations.

          21.      Finally, neither Mr. Dondero nor the “Trusts” even address the third factor

  analyzed by the Fifth Circuit: all other factors bearing on the wisdom of the compromise,

  including “the paramount interest of creditors with proper deference to their reasonable views.”

  This is telling because no creditor or party in interest has objected to the settlement. Mr.

  Dondero and his proxies’ preference for constant litigation should not outweigh the preference of

  the Debtor and its creditors for a reasonable and expeditious settlement of HarbourVest’s claims.

          22.      The HarbourVest Settlement Is a Windfall to HarbourVest.               Both the

  Dondero Objection and the “Trusts” Objection argue that the HarbourVest settlement represents

  a substantial windfall to HarbourVest. Both Mr. Dondero and the “Trusts” ignore the facts.

  Specifically, Mr. Dondero argues that HarbourVest is receiving $60 million dollars in actual

  value for its claims. Mr. Dondero’s contention, however, wrongly assumes that both the $45

  million general unsecured claim and the $35 million subordinated claim provided to

  HarbourVest under the settlement will be paid 100% in full and that HarbourVest will receive

  $80 million in cash. From that $80 million, Mr. Dondero subtracts $20 million, which represents

  the value Mr. Dondero ascribes to HarbourVest’s interests in HCLOF that are being transferred

  to the Debtor. Mr. Dondero’s math ignores the reality of this case.

          23.      The Debtor very clearly disclosed in the projections filed with the Disclosure

  Statement for the Fifth Amended Plan of Reorganization of Highland Capital Management, L.P.,

  [Docket No. 1473] (the “Projections”) that general unsecured claims would receive an 87.44%

  recovery only if the claims of UBS, HarbourVest, Integrated Financial Associates, Inc., Mr.



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  Daugherty, and the Hunter Mountain Investment Trust were zero. Because of the Debtor’s

  success is settling litigation, that assumption is proving to be inaccurate. Regardless, even if

  general unsecured claims receive a recovery of 87.44%, because the subordinated claims are

  junior to the general unsecured claims, the subordinated claims’ projected recovery is currently

  zero. As such, assuming the HCLOF’s interests are worth $22.5 million,10 the actual recovery to

  HarbourVest will be less than $16.8 million. This is not a windfall. HarbourVest’s investment

  in HCLOF was $80 million and its claim against the estate was over $300 million. The

  settlement represents a substantial discount.

           24.      Improper Gerrymandering and/or Vote Buying. Each of Mr. Dondero and the

  Trusts argue in one form or another that the HarbourVest settlement is improper as it provides

  HarbourVest a windfall on its claims in exchange for HarbourVest voting to approve the Plan.

  These unsubstantiated allegations of vote buying should be disregarded. As an initial matter, and

  as set forth above, HarbourVest is not getting a windfall. HarbourVest is accepting a substantial

  discount in the settlement.              HarbourVest’s incentive to support the Plan comes from

  HarbourVest’s determination that the Plan is in its best interests. There is also nothing shocking

  about a settling creditor supporting a plan. Indeed, it would be nonsensical for a creditor to settle

  its claims and then object to the plan that would pay those claims.

           25.      More importantly, HarbourVest’s votes in Class 9 (Subordinated Claims) are not

  needed to confirm the Plan. As will be set forth in the voting declaration, Class 2 (Frontier

  Secured Claim), Class 7 (Convenience Claims), and Class 8 (General Unsecured Claims) have

  voted in favor of the Plan.11 In brief, the Plan was approved without HarbourVest’s Class 9 vote,


  10
     It is currently anticipated that Mr. James P. Seery, Jr., the Debtor’s chief executive officer and chief restructuring
  officer, will testify as to the value of the HCLOF interests to the Debtor’s estate.
  11
     The Debtor anticipates that Mr. Dondero and his related entities will argue that neither Class 7 nor Class 8 voted
  to accept the Plan because of the votes cast against the Plan in those Classes by current and former Debtor

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  and the Debtor, therefore, has no need to “buy” HarbourVest’s Class 9 claims. Accordingly, any

  claims of gerrymandering or vote buying are without merit.

  C.      CLOH Objection

          26.      CLO Holdco (and to a much lesser extent, the “Trusts”) object to HarbourVest’s

  transfer of its interests in HCLOF as part of the settlement.                     Currently, the settlement

  contemplates that HarbourVest will transfer 100% of its collective interests in HCLOF to

  HCMLP Investments, LLC (“HCMLPI”), a wholly-owned subsidiary of the Debtor. As set forth

  in the Transfer Agreement for Ordinary Shares of Highland CLO Funding, Ltd. (which was

  appended as Exhibit A to the Settlement Agreement) [Docket No. 1631-1], each of the Debtor,

  HarbourVest, Highland HCF Advisors, Ltd. (HCLOF’s investment manager) (“HHCFA”), and

  HCLOF agree that HarbourVest is entitled to transfer its interests to HCMLPI pursuant to that

  certain Members Agreement Relating to the Company, dated November 15, 2017 (the “Members

  Agreement”),12 without offering that interest to other investors in HCLOF.

          27.      The only party to object to the transfer of HarbourVest’s interests in HCLOF to

  HCMLPI is CLO Holdco. CLO Holdco holds approximately a 49.02% interest in HCLOF and is

  the wholly-owned subsidiary of the DAF, Mr. Dondero’s donor-advised fund. CLO Holdco

  argues that the Member Agreement requires HarbourVest to offer its interest first to the other

  investors in HCLOF before it can transfer its interests to HCMLPI. In so arguing, CLO Holdco

  attempts to create ambiguity in an unambiguous contract and to use that ambiguity to disrupt the

  Debtor’s settlement with HarbourVest.

          28.      As an initial matter, the Debtor and CLO Holdco agree that the transfer of

  HarbourVest’s interests in HCLOF to HCMLPI is governed by Article 6 (Transfers or Disposals

  employees, including Mr. Ellington and Mr. Isaac Leventon. The Debtor will demonstrate at confirmation that those
  objections are without merit and that Class 7 and Class 8 voted to accept the Plan.
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     A true and accurate copy of the Members Agreement is attached hereto as Exhibit A.

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  of Shares) of the Members Agreement (an agreement governed by Guernsey law). (CLOH Obj.,

  ¶ 3) The parties diverge, however, as to how to interpret Article 6. The Debtor, as set forth

  below, believes Article 6 is clear in that it allows HarbourVest to transfer its interests in HCLOF

  to any “Affiliate of an initial Member party” without requiring the right of first refusal in Section

  6.2 of the Members Agreement.         CLO Holdco’s position appears to be that the Members

  Agreement, despite its clear language, should be interpreted as limiting transfers to an “initial

  Member’s own affiliates” and that any other transfer requires the consent of HHCFA and

  satisfaction of the right of first refusal. (Id. (emphasis added)) CLO Holdco’s reading is

  contrary to the actual language of the Members Agreement.

          29.      First, Section 6.1 of the Members Agreement provides, in pertinent part:




  (Members Agmt, § 6.1 (emphasis added))           Under the Members Agreement, “Affiliate” is

  defined, in pertinent part, as “



  (Id., § 1.1)    A “Member” in turn is a                                            .”   The “initial

  Member[s]” are the initial Members of HCLOF listed on the first page of the Members

  Agreement and include the Debtor, HarbourVest, and CLO Holdco.

          30.      As such, under the plain language of Section 6.1, HarbourVest is entitled –

  without the consent of any party – to “Transfer” its interests in HCLOF to an “Affiliate” of any

  of the Debtor, HarbourVest, or CLO Holdco. And that is exactly what is contemplated by the

  settlement. HarbourVest is transferring its interests to HCMLPI, a wholly owned and controlled

  subsidiary of the Debtor, and therefore an “Affiliate” of the Debtor. That transfer is indisputably

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  allowed under Section 6.1; it is a transfer to an “Affiliate of an initial Member.” CLO Holdco

  may, tongue in cheek, call this structure “convenient” but that sarcasm is an attempt to avoid the

  fact that the Members Agreement clearly allows HarbourVest to transfer its interest to HCMLPI

  without the consent of any party.13 The fact that CLO Holdco does not now like the language it

  previously agreed to when CLO Holdco and the Debtor were both controlled by Mr. Dondero is

  not a reason to re-write Section 6.1 of the Members Agreement.

          31.      Second, Section 6.2 of the Members Agreement is also unambiguous and, by its

  plain language, allows HarbourVest to “Transfer” its interests in HCLOF to “Affiliates of an

  initial Member” (i.e., HCMLPI) without having to first offer those interests to the other Members

  (such obligation, the “ROFO”). CLO Holdco attempts to create ambiguity in Section 6.2 by

  arguing that it must be read in conjunction with Section 6.1 and that interpreting the plain

  language of Section 6.2 to allow HarbourVest to transfer its interests to HCMLPI without

  restriction makes certain other language surplus and meaningless. (CLOH Obj., ¶ 11-13) Again,

  CLO Holdco is attempting to create controversy and ambiguity where none exists.

          32.      Section 6.2 of the Members Agreement provides, in pertinent part:




  (Members Agmt., § 6.2 (emphasis added)) Like Section 6.1, Section 6.2 is clear on its face. It

  exempts from the requirement to comply with the ROFO two categories of “Transfers”: (1)

  Transfers to “affiliates of an initial Member” from Members other than CLO Holdco and the




  13
    Although HHCFA’s consent is not necessary for HarbourVest to transfer its interests to HCMLPI, HHCFA will
  consent to the transfer.

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  “Highland Principals” (i.e., the Debtor and certain of its employees)14 and (2) Transfers from

  CLO Holdco or a Highland Principal to the Debtor, the Debtor’s “Affiliates,” or another

  Highland Principal. The fact that a narrower exemption is provided to CLO Holdco and the

  Debtor than to HarbourVest (or any other Member) under Section 6.2 is of no moment; the

  language says what it says and was agreed to by all Members, including CLO Holdco, when they

  executed the Members Agreement.

             33.      In addition, and although not relevant, the language of Section 6.2 makes sense in

  the context of the deal.           Although CLO Holdco and the Debtor may have disclaimed an

  “Affiliate” relationship, they are related through Mr. Dondero and invest side by side with the

  Debtor in multiple deals.15             The different standards in Section 6.2 serve to ensure that

  HarbourVest’s (or any successor to HarbourVest) right to Transfer its shares without satisfying

  the ROFO is limited to three parties: (i) HarbourVest’s Affiliates, (ii) the Debtor’s Affiliates,

  and (iii) CLO Holdco’s Affiliates. This restriction keeps the relative voting power of each

  Member static and ensures that CLO Holdco and the Debtor, together, will always have more

  than fifty percent of HCLOF’s total interests and that HarbourVest will always have less than

  fifty percent. This counterintuitively also explains the greater restrictions placed on CLO Holdco

  and the “Highland Principals.” The Highland Principals include certain Debtor employees.

  Those employees – as well as CLO Holdco and the Debtor – are prohibited from transferring

  their HCLOF interests outside of the Dondero family. This restriction makes sense. If, for

  example, a Debtor employee wanted to transfer its interests to an Affiliate of HarbourVest,

  HarbourVest could have more than fifty percent of the HCLOF interests because of the thinness

  14
       “Highland Principals” means:


                                                                           (Members Agmt., § 1.1)
  15
       There can be no real dispute that Mr. Dondero effectively controls CLO Holdco.

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  of the Dondero-family’s majority (approximately 0.2%). At the time the Members Agreement

  was executed, CLO Holdco and the Debtor were under common control. Section 6.2 preserves

  those related entities’ control over HCLOF by restricting transactions that would transfer that

  control unless the ROFO is complied with.

           34.      As such, and notwithstanding CLO Holdco’s protestations, Section 6.1 and

  Section 6.2 are consistent as written and clear on their face.                  This consistency is further

  evidenced by HCLOF’s Articles of Incorporation16 and HCLOF’s offering memorandum, which

  each include language identical to Section 6.1 and 6.2 of the Members Agreement.17 It seems

  highly unlikely, if not implausible, that sophisticated parties such as CLO Holdco would include

  the exact same language in six separate places over three documents without a reason for that

  language and without the intent that such language be interpreted as it is clearly written – not as

  CLO Holdco now wants it to be interpreted. Accordingly, since HarbourVest is transferring its

  interests to HCMLPI, an Affiliate of an initial Member, the plain language of Section 6.2

  16
    See Articles of Incorporation, adopted November 15, 2017, a true and correct copy of which is attached hereto as
  Exhibit B.




  (Articles of Incorporation, § 18.1)




  (Id., § 18.2)
  17
     See Offering Memorandum, dated November 15, 2017, a true and correct copy of which is attached hereto as
  Exhibit C.




  (Offering Memorandum, page 89)

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  exempts HarbourVest from having to comply with the ROFO.

          35.      Third, and finally, CLO Holdco makes the nonsensical argument that because

  Section 6.2 provides different treatment to similarly situated Members that this Court should re-

  write Section 6.2. (CLOH Obj., ¶¶ 15-17) Contracts provide different treatment to ostensibly

  similarly situated parties all the time and no one objects that that creates an absurd result. It just

  means that different parties bargained for and received different rights.

          36.      CLO Holdco’s attempt to justify why this Court should re-write the Members

  Agreement to correct the “disparate treatment” is also unavailing. As an example of the absurd

  result caused by the “disparate treatment,” CLO Holdco states: “[B]ecause the HarbourVest

  Members are technically Affiliates of an initial member (each other), they could obtain control of

  all of the interests in HCLOF without any Member receiving a Right of First Refusal for any

  transfer.” (Id., ¶ 16) The scenario posited by CLO Holdco, however, is exactly the scenario

  prevented by the clear language of Section 6.2. For HarbourVest to obtain control of HCLOF, it

  would – as a matter of mathematical necessity – need the interests held by CLO Holdco

  (49.02%) and/or the Highland Principals (1% in the aggregate). Section 6.2, however, expressly

  prohibits CLO Holdco and the Highland Principals from transferring their interests to

  HarbourVest or its Affiliates without satisfying the ROFO. As set forth above, it is Section 6.2

  that prevents control from being transferred away from the Dondero family without compliance

  with the ROFO. In fact, Section 6.2 would only break down if the limiting language in Section

  6.2 were read out of it in the manner advocated by CLO Holdco.

                   37.        Ultimately, Article 6 of the Members Agreement is clear as written and

  expressly allows HarbourVest to transfer its interests to HCMLPI. If CLO Holdco had an

  objection to the rights provided to HarbourVest under the Members Agreement, CLO Holdco



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  should have raised that objection three and a half years ago before agreeing to the Members

  Agreement. CLO Holdco should not be allowed to create ambiguity in an unambiguous contract

  or to re-write that agreement to impose additional restrictions on HarbourVest. See Clardy Mfg.

  Co. v. Marine Midland Bus. Loans Inc., 88 F.3d 347, 352 (5th Cir. 1996) (enforcing the

  “unambiguous language in a contract as written,” noting that where a contract is unambiguous, a

  party may not create ambiguity or “give the contract a meaning different from that which its

  language imports”) (internal quotations omitted); Texas v. Am. Tobacco Co., 463 F.3d 399, 407

  (5th Cir. 2006) (“Courts interpreting unambiguous contracts are confined to the four corners of

  the document, and cannot look to extrinsic evidence to create an ambiguity.”).

                   38.        It should go without saying, but CLO Holdco (and the other parties to the

  Members Agreement) should also be required to satisfy their obligations under the Members

  Agreement and execute the “Adherence Agreement” as required by Section 6.6 of the Members

  Agreement in connection with the Transfer of HarbourVest’s interests to HCMLPI or any other

  permitted Transfer.

          39.      Finally, and notably, although CLO Holdco spends considerable time arguing that

  HarbourVest should be required to comply with the ROFO, nowhere in the CLOH Objection

  does CLO Holdco state that it wishes to purchase HarbourVest’s interests in HCLOF. This

  omission is telling. CLO Holdco and the other Objectors have no interest in actually exercising

  their alleged right of first refusal contained in the Members Agreement. Rather, their only

  interest is in causing the Debtor to spend time and money responding to a legion of related (and

  coordinated) objections.18



  18
    See Debtor’s Amended Witness and Exhibit List with Respect to Evidentiary Hearing to be Held on January 8,
  2021 [Adv. Pro. 20-3190-sgj, Docket No. 46], Exhibit Q; Exhibit T (email from Mr. Dondero as forwarded to Mr.
  Ellington stating “Holy bananas….. make sure we object [to the HarbourVest Settlement]”); Exhibit Y.

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          WHEREFORE, for the reasons set forth above and in the Motion, the Debtor respectfully

  requests that the Court grant the Motion.

  Dated: January 13, 2021                     PACHULSKI STANG ZIEHL & JONES LLP

                                              Jeffrey N. Pomerantz (CA Bar No.143717) (pro hac vice)
                                              Ira D. Kharasch (CA Bar No. 109084) (pro hac vice)
                                              John A. Morris (NY Bar No. 266326) (pro hac vice)
                                              Gregory V. Demo (NY Bar No. 5371992) (pro hac vice)
                                              Hayley R. Winograd (NY Bar No. 5612569)
                                              10100 Santa Monica Blvd., 13th Floor
                                              Los Angeles, CA 90067
                                              Telephone: (310) 277-6910
                                              Facsimile: (310) 201-0760
                                              E-mail:     jpomerantz@pszjlaw.com
                                                          ikharasch@pszjlaw.com
                                                          jmorris@pszjlaw.com
                                                          gdemo@pszjlaw.com
                                                          hwinograd@pszjlaw.com

                                              -and-

                                              HAYWARD PLLC

                                              /s/ Zachery Z. Annable
                                              Melissa S. Hayward
                                              Texas Bar No. 24044908
                                              MHayward@HaywardFirm.com
                                              Zachery Z. Annable
                                              Texas Bar No. 24053075
                                              ZAnnable@HaywardFirm.com
                                              10501 N. Central Expy, Ste. 106
                                              Dallas, Texas 75231
                                              Tel: (972) 755-7100
                                              Fax: (972) 755-7110

                                              Counsel for the Debtor and Debtor-in-Possession




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                              APPENDIX 




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                       IN THE UNITED STATES BANKRUPTCY COURT
   1                     FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION
   2
                                          )    Case No. 19-34054-sgj-11
   3    In Re:                            )    Chapter 11
                                          )
   4    HIGHLAND CAPITAL                  )    Dallas, Texas
        MANAGEMENT, L.P.,                 )    Thursday, January 14, 2021
   5                                      )    9:30 a.m. Docket
                  Debtor.                 )
   6                                      )    - MOTION TO PREPAY LOAN
                                          )      [1590]
   7                                      )    - MOTION TO COMPROMISE
                                          )      CONTROVERSY [1625]
   8                                      )    - MOTION TO ALLOW CLAIMS OF
                                          )      HARBOURVEST [1207]
   9                                      )
  10                         TRANSCRIPT OF PROCEEDINGS
                    BEFORE THE HONORABLE STACEY G.C. JERNIGAN,
  11                      UNITED STATES BANKRUPTCY JUDGE.

  12    WEBEX APPEARANCES:

  13    For the Debtor:                   Jeffrey Nathan Pomerantz
                                          PACHULSKI STANG ZIEHL & JONES, LLP
  14                                      10100 Santa Monica Blvd.,
                                            13th Floor
  15                                      Los Angeles, CA 90067-4003
                                          (310) 277-6910
  16
        For the Debtor:                   John A. Morris
  17                                      Gregory V. Demo
                                          PACHULSKI STANG ZIEHL & JONES, LLP
  18                                      780 Third Avenue, 34th Floor
                                          New York, NY 10017-2024
  19                                      (212) 561-7700

  20    For the Official Committee        Matthew A. Clemente
        of Unsecured Creditors:           SIDLEY AUSTIN, LLP
  21                                      One South Dearborn Street
                                          Chicago, IL 60603
  22                                      (312) 853-7539

  23    For CLO Holdco, Ltd.:             John J. Kane
                                          KANE RUSSELL COLEMAN LOGAN, P.C.
  24                                      901 Main Street, Suite 5200
                                          Dallas, TX 75202
  25                                      (214) 777-4261




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   1    APPEARANCES, cont'd.:
   2    For James Dondero:                John T. Wilson
                                          D. Michael Lynn
   3                                      John Y. Bonds, III
                                          Bryan C. Assink
   4                                      BONDS ELLIS EPPICH SCHAFER
                                            JONES, LLP
   5                                      420 Throckmorton Street,
                                            Suite 1000
   6                                      Fort Worth, TX 76102
                                          (817) 405-6900
   7
        For Get Good Trust and            Douglas S. Draper
   8    Dugaboy Investment Trust:         HELLER, DRAPER & HORN, LLC
                                          650 Poydras Street, Suite 2500
   9                                      New Orleans, LA 70130
                                          (504) 299-3300
  10
        For HarbourVest, et al.:          Erica S. Weisgerber
  11                                      M. Natasha Labovitz
                                          Daniel E. Stroik
  12                                      DEBEVOISE & PLIMPTON, LLP
                                          919 Third Avenue
  13                                      New York, NY 10022
                                          (212) 909-6621
  14
        For Highland CLO Funding,         Rebecca Matsumura
  15    Ltd.:                             KING & SPALDING, LLP
                                          500 West 2nd Street, Suite 1800
  16                                      Austin, TX 78701
                                          (512) 457-2024
  17
        Recorded by:                      Michael F. Edmond, Sr.
  18                                      UNITED STATES BANKRUPTCY COURT
                                          1100 Commerce Street, 12th Floor
  19                                      Dallas, TX 75242
                                          (214) 753-2062
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        Transcribed by:                   Kathy Rehling
  21                                      311 Paradise Cove
                                          Shady Shores, TX 76208
  22                                      (972) 786-3063
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               Proceedings recorded by electronic sound recording;
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   1               DALLAS, TEXAS - JANUARY 14, 2021 - 9:41 A.M.

   2               THE CLERK:     All rise.    The United States Bankruptcy

   3   Court for the Northern District of Texas, Dallas Division, is

   4   now in session, the Honorable Stacey Jernigan presiding.

   5               THE COURT:     Good morning.     Please be seated.       All

   6   right.    We're a little late getting started because we had

   7   lots of reading material for the Court today.             All right.

   8   This is Judge Jernigan, and we have a couple of Highland

   9   settings.     The HarbourVest matters are the primary thing we

  10   have set today, and then we also have a Debtor's motion

  11   pursuant to protocols for authority for Highland Multi-Strat

  12   to prepay a loan.

  13         All right.     Well, let's get a few appearances.          First, for

  14   the Debtor team, who do we have appearing this morning?

  15               MR. POMERANTZ:      Good morning, Your Honor.        It's Jeff

  16   Pomerantz, John Morris, and Greg Demo here on behalf of the

  17   Debtor.

  18               THE COURT:     Okay.    Thank you.

  19         All right.     We have objections on HarbourVest.          Who do we

  20   have appearing for Mr. Dondero this morning?

  21               MR. WILSON:     Your Honor, it's John Wilson, and I'm

  22   also joined by Michael Lynn, John Bonds, and Bryan Assink.

  23               THE COURT:     Okay.    I'm sorry.    Could -- the court

  24   reporter does yeoman's work in this case.            Let me just make

  25   sure we got all three of those names.            Say again, Mr. Wilson.




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   1               MR. WILSON:     John Bonds and Michael Lynn and Bryan

   2   Assink.

   3               THE COURT:     Oh, okay.    So, see, I thought I heard

   4   somebody Wilson in all of that, which was why I was pressing

   5   the issue.

   6         All right.     Is Mr. Dondero present on the video for

   7   today's hearing?

   8               MR. WILSON:     I believe he is, Your Honor.

   9               THE COURT:     Mr. Dondero, could you confirm that you

  10   are out there?      (No response.)      Okay.   My court reporter says

  11   he sees the name out there.         Is he in your office?

  12               MR. WILSON:     Your Honor, he is appearing remotely

  13   from my office.      I'm not sure exactly where he's appearing

  14   from.

  15               THE COURT:     Okay.    Well, Mr. Dondero, if you're out

  16   there and you're speaking up to confirm you're present, we're

  17   not hearing you.       Maybe your device is on mute.         So please

  18   unmute yourself.

  19         (No response.)

  20               THE COURT:     All right.     I'm going to take some other

  21   appearances and you -- you need to try to communicate with

  22   your client and let him know I need to confirm he's present.

  23   Okay?

  24         All right.     Meanwhile, let's go to our other Objectors.

  25   CLO Holdco.     Who do we have appearing today?




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   1               MR. KANE:     John Kane; Kane Russell Coleman & Logan;

   2   on behalf of CLO Holdco.

   3               THE COURT:     All right.     Thank you, Mr. Kane.

   4         We had an objection from Dugaboy Investment Trust and Get

   5   Good Trust.     Who do we have appearing?

   6               MR. DRAPER:     Douglas Draper, Your Honor, for -- for

   7   Draper.

   8               THE COURT:     All right.     Thank you, Mr. Draper.

   9         All right.     I think those were the only written objections

  10   we had.     Mr. Pomerantz, do you confirm, we don't have any

  11   other objectors for the motions set, correct?

  12               MR. POMERANTZ:      Your Honor, there was those three.

  13               THE COURT:     I'm sorry.     I didn't catch your full

  14   sentence.

  15               MR. POMERANTZ:      That is correct, Your Honor.         There

  16   were three objections to the motion.

  17               THE COURT:     Okay.    Mr. Clemente, you're there for the

  18   Creditors' Committee?

  19               MR. CLEMENTE:      Yes.   Good morning, Your Honor.        Matt

  20   Clemente on behalf of the Official Committee of Unsecured

  21   Creditors.

  22               THE COURT:     All right.     Good morning.     Thank you.

  23   All right.     We have a lot of other folks on the video.            I'm

  24   not going to go ahead and take a roll call of other lawyers.

  25               MS. WEISGERBER:      Your Honor?




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   1               THE COURT:     Yes?

   2               MS. WEISGERBER:       Excuse me, Your Honor.       It's Erica

   3   Weisgerber from Debevoise on behalf of HarbourVest.

   4               THE COURT:     Okay.

   5               MS. WEISGERBER:       And I'm joined by Natasha Labovitz

   6   and Dan Stroik --

   7               THE COURT:     Okay.

   8               MS. WEISGERBER:        -- from Debevoise as well.

   9               THE COURT:     Thank you.     I was neglectful in not

  10   getting your appearance, because, of course, you're at the

  11   front and center of this motion to compromise, and I did see

  12   that you filed a reply brief yesterday afternoon.              Okay.

  13   Thank you.

  14         All right.     Do we have -- do we have Mr. Dondero on the

  15   line?    I'm going to check again.

  16         (No response.)

  17               THE COURT:     Mr. Dondero's counsel, I cannot hear you,

  18   so please unmute your device.

  19               MR. WILSON:     Your Honor, it appears to me that Mr.

  20   Dondero's device was unmuted as soon as you asked if he was

  21   available.     I sent him a communication a second ago asking if

  22   he's having technical difficulties.           I have not received a

  23   response, so I --

  24               MR. DONDERO:     Hello.    Can anybody hear me?

  25               THE COURT:     Oh.




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   1               MR. WILSON:     Okay.    I hear him.

   2               THE COURT:     Mr. Dondero?

   3               MR. DONDERO:     Hello?

   4               THE COURT:     Is that you?

   5               MR. DONDERO:     Yeah, it is.      I've been on.     I've heard

   6   everything since the beginning.          It's just we've had technical

   7   difficulties.      I couldn't use the Highland offices.           We've

   8   been trying to set up something else.

   9               THE COURT:     All right.

  10               MR. DONDERO:     But I'm on now, if -- yes.

  11               THE COURT:     All right.     Very good.    Well, I'm glad

  12   we've got you.

  13         All right.     Well, Mr. Pomerantz, how did you want to

  14   proceed this morning?

  15               MR. POMERANTZ:      Your Honor, we could take up the

  16   HarbourVest motion first, and I will turn it over to John

  17   Morris.     He and Greg Demo will be handling that.           And then

  18   after that we can handle the other motion, which is unopposed.

  19               THE COURT:     All right.     Mr. Morris?

  20               MR. KANE:     Your Honor, this is -- sorry.         This is

  21   John Kane for CLO Holdco.         Just very briefly, if I may.        And

  22   this will affect, I think, the Debtor's case in chief, so I'll

  23   expedite things a little bit, I believe.

  24         CLO Holdco has had an opportunity to review the reply

  25   briefing, and after doing so has gone back and scrubbed the




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   1   HCLOF corporate documents.         Based on our analysis of Guernsey

   2   law and some of the arguments of counsel in those pleadings

   3   and our review of the appropriate documents, I obtained

   4   authority from my client, Grant Scott, as Trustee for CLO

   5   Holdco, to withdraw the CLO Holdco objection based on the

   6   interpretation of the member agreement.

   7               THE COURT:     All right.     Well, thank you for that, Mr.

   8   Kane.    I think that -- that eliminates one of the major

   9   arguments that we had anticipated this morning.              So, thank you

  10   for that.

  11         Any other housekeeping matters that maybe someone had that

  12   I didn't ask about?

  13               MS. MATSUMURA:      Yes, Your Honor.      This is Rebecca

  14   Matsumura from King & Spalding representing Highland CLO

  15   Funding, Ltd.      I just wanted to put on the record, we -- our

  16   client had requested that some of its organizational documents

  17   be filed under seal.       But we have given permission for the

  18   parties to present the relevant excerpts, to the extent it's

  19   still relevant after Mr. Kane's announcement, in court.                And

  20   we'd just ask that the underlying documents remain sealed, but

  21   we're not going to object if they show them on a PowerPoint or

  22   anything like that.

  23         So, to the extent that you had that on your radar, I just

  24   wanted to clear that up for the proceedings.

  25               THE COURT:     All right.     Well, I did sign an order




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   1   late last night.      I don't know if it's popped up on the

   2   docket.

   3               MS. MATSUMURA:     Yes, Your Honor.     That's what this

   4   referred to.     That was what -- these are the documents that

   5   were being sealed.       And so I just wanted to note, if you --

   6   you know, if the Debtor puts up an excerpt of those documents

   7   and you're like, wait a minute, didn't I seal those, that we

   8   were the party that requested them be under seal and we're

   9   fine with them being shown in court, as long as the underlying

  10   documents aren't publicly accessible.

  11               THE COURT:    Okay.   Got you.    Thank you.

  12         All right.    Any other housekeeping matters?

  13               MR. MORRIS:    Yes, Your Honor.      This is John Morris

  14   from Pachulski Stang for the Debtor.          Good morning.

  15               THE COURT:    Good morning.

  16               MR. MORRIS:    The only other matter that I wanted to

  17   raise, and I can do it now or I can do it later, or Your Honor

  18   may tell me that it's not appropriate to do at this time, is

  19   to schedule the Debtor's motion to hold Mr. Dondero in

  20   contempt for violation of the TRO.

  21               THE COURT:    All right.    Well, let's do that at the

  22   conclusion today.      And please make sure I do it.        I think I

  23   was going to address this last Friday, and we went very late

  24   and it slipped off my radar screen.          But I did see from my

  25   courtroom deputy that you all were reaching out to her




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   1   yesterday to get this set, and then Mr. Dondero's counsel

   2   reached out to her and said, We're going to file an objection

   3   to a setting next Wednesday, or I think you had asked for a

   4   setting next Tuesday or Wednesday.

   5               MR. MORRIS:    I did.

   6               THE COURT:    And I don't -- I don't know if that

   7   response/objection was ever filed last night.            I haven't seen

   8   it if it was.      So, we'll -- please, make sure I don't forget.

   9   We'll take that up at the end of today's matters.            All right.

  10   Well, --

  11               MR. MORRIS:    All right.     So, --

  12               MS. WEISGERBER:     Your Honor, one last housekeeping

  13   item from -- I'm joined this morning by Michael Pugatch of

  14   HarbourVest, who will present some testimony this morning.                 I

  15   just want to confirm he's on the line and confirm no

  16   objections to him sitting in for the rest of the hearing.

  17               THE COURT:    All right.    Mr. Pugatch, this is Judge

  18   Jernigan.    Could you respond?      Are you there with us?

  19               MR. PUGATCH:    Yes.    Good morning, Your Honor.       Mike

  20   Pugatch from HarbourVest here.

  21               THE COURT:    All right.    Very good.     I think we had

  22   you testify once before in the Acis matter, if I'm not

  23   mistaken.    Maybe.    Maybe not.    Maybe I saw a video deposition.

  24   I can't remember.

  25         All right.    So, we're going to let Mr. Pugatch sit in on




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   1   this.    Anyone want to say anything about that?          I consider him

   2   a party representative, so I don't -- I don't think anyone

   3   could invoke the Rule.

   4         All right.    Very good.     Well, let's go forward if there

   5   are no more housekeeping matters.

   6               MR. MORRIS:    Okay.

   7               THE COURT:    Mr. Morris?

   8               MR. MORRIS:    Thank you.     Thank you very much, Your

   9   Honor.    John Morris; Pachulski Stang Ziehl & Jones; for the

  10   Debtor.

  11         It's a rather straightforward motion today.           It's a motion

  12   under Rule 9019, pursuant to which the Debtor requests the

  13   Court's authority and approval to enter into a settlement

  14   agreement with HarbourVest that will resolve a number of

  15   claims that HarbourVest has filed against the Debtor.

  16         What I -- the way I propose to proceed this morning, Your

  17   Honor, is to give what I hope is an informative but relatively

  18   brief opening statement.       I'll defer to HarbourVest and its

  19   counsel as to whether they want to make a presentation in

  20   advance of the offer of evidence.         Any objecting party, I

  21   suppose, should then be given the opportunity to present their

  22   case to the Court.       Then the Debtor will call Jim Seery, the

  23   Debtor's CEO and CRO.       We will offer documents into evidence.

  24   I would propose then that the objecting parties take the

  25   opportunity to ask Mr. Seery any questions they'd like on the




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   1   matter.

   2         After the Debtor rests, I think HarbourVest would like to

   3   put Mr. Pugatch on the stand to offer some testimony on their

   4   behalf.    And I think that that will conclude the case.           We can

   5   finish up with some closing arguments as to what we believe

   6   the evidence showed, but that's the way that I'd like to

   7   proceed, if that's okay with the Court.

   8                THE COURT:     All right.    That sounds fine.

   9                OPENING STATEMENT ON BEHALF OF THE DEBTOR

  10               MR. MORRIS:    Okay.    So, as I said, Your Honor, this

  11   is a -- this should be a very straightforward motion under

  12   Rule 9019.     The standard is well-known to the Court.          There

  13   are four elements to a 9019 motion.          The Debtor clearly has

  14   the burden of proof on each one.         And we easily meet that

  15   burden, Your Honor.

  16         The standard, just to be clear, the first part is that we

  17   have to establish a probability of success, with due

  18   consideration for uncertainty of law and fact.            The second one

  19   is the complexity, likely duration, expense and inconvenience

  20   of the litigation.      The third part of the test is the

  21   paramount interest of creditors.         And the fourth part of the

  22   test is whether or not the proposed settlement was reached

  23   after arm's-length negotiations.

  24         The Debtor believes that it easily meets this standard,

  25   and frankly, is a little bit frustrated that it's being forced




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   1   to incur the expense by Mr. Dondero in going through this

   2   process.

   3         A plain reading, a fair reading of the economics here

   4   relative to the claim shows that this is a very reasonable

   5   settlement.     I don't need to go beyond that, Your Honor.           I

   6   don't even need to use the word reasonable.           It surely meets

   7   the lowest standard.

   8         We've prepared a couple of demonstrative exhibits, Your

   9   Honor.    I'm going to use them with Mr. Seery.          But I'd like to

  10   just put one up on the screen now, if I may.

  11         Ms. Canty, can you please put up Demonstrative Exhibit #3?

  12         Demonstrative Exhibit #3 is an outline of the economics of

  13   the settlement.      It includes the various pieces, the

  14   components that the parties have agreed to.           And it shows, at

  15   least from the Debtor's perspective, just what HarbourVest is

  16   being given here.

  17         Up on the screen is a demonstrative exhibit.           It has

  18   citations to the evidence that will be admitted by the Court.

  19   The first line shows that HarbourVest will receive a $45

  20   million allowed general unsecured nonpriority claim.             And that

  21   -- that can be found at Debtor's Exhibit EE, Exhibit 1, at

  22   Page 2.

  23         That claim is discounted by the expected recovery that

  24   general unsecured creditors are supposed to get.            As of

  25   November, in the liquidation analysis that was part of the




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   1   disclosure statement -- that's the citation in the footnote --

   2   the Debtor believed that unsecured creditors were estimated to

   3   recover approximately eighty-seven and a half cents on the

   4   dollar.    And so we just did the arithmetic there to get to the

   5   net economic value of the proposed general unsecured claim.

   6         And from that, we reduced $22-1/2 million because that is

   7   the net asset value of HarbourVest's interest in HCLOF, which,

   8   pursuant to the settlement agreement, it will transfer back to

   9   the Debtor, so that the net economic value is approximately

  10   $16.8 million.

  11         You will hear testimony from Mr. Seery that this number

  12   is, in fact, overstated, and it's overstated because, since

  13   the time the disclosure statement was filed in November, a

  14   number of events have occurred that will -- that have caused

  15   the estimated recovery percentage to be reduced from

  16   approximately 87-1/2 percent to something lower than that.                 We

  17   don't have the exact number, Your Honor, but Mr. Seery will --

  18   and the evidence will show that there's been more expenses,

  19   that there's been some resolution of certain claims.             There's

  20   been some positive issues, too.         But that number is probably

  21   in the 70s somewhere.

  22         And in any event, I think the point here is, Your Honor,

  23   HarbourVest invested $80 million in HCLOF, which was going to

  24   participate in the investment in CLOs.          They filed a claim for

  25   $300 million, through treble damages and other claims.             But




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   1   the net economic impact of this is going to be somewhere

   2   probably in between $12 and $14 million.           I'll let Mr. Seery

   3   give more precision to that.        And it represents less than -- a

   4   less than five percent recovery on the total claim.

   5         And we think it's important for the Court to keep that in

   6   mind.    What are the economics here?        Are we overpaying?      Is

   7   this an unreasonable settlement?         And I think the evidence

   8   will show that the Debtor is not, but that this settlement

   9   that you see before you was the product of arm's length, and

  10   I'm going to go in reverse order of the four-part test under

  11   9019.

  12         So, the last part is whether or not the settlement, the

  13   proposed settlement was the product of arm's-length

  14   negotiation.     You'll hear lots of evidence that this

  15   settlement that's up on the screen right now very much was the

  16   product of arm's-length negotiation.

  17         The third part of the test, Your Honor, is whether it

  18   meets the paramount interest of creditors.           You know,

  19   regrettably, Mr. Dondero is the only purported creditor who is

  20   objecting here.      He may have done so through different

  21   vehicles, but every objecting party here is a debtor [sic]

  22   owned and controlled by Mr. Dondero.          No other creditor -- not

  23   the Creditors' Committee, UBS, Acis, Mr. Terry, Mr. Daugherty

  24   -- nobody is objecting to this settlement except for Mr.

  25   Dondero.    And we believe that that highlights the Debtor's




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   1   ability to meet the third prong of the test, and that is these

   2   are -- this settlement is in the paramount interest of

   3   creditors.

   4         Again, going in reverse, the second part of the test is

   5   the complexity, duration, and expense of litigation.             There

   6   will be no disputed evidence that we meet -- the Debtor easily

   7   meets this prong of the test.        The evidence is going to show

   8   that HarbourVest's claim is based on fraud, fraud in the

   9   inducement, fraudulent statements and omissions, the kind of

  10   case, Your Honor, that I'm sure you're familiar with that is

  11   incredibly fact-intensive, that will be incredibly difficult

  12   to navigate through.       It will be prolonged, it will be

  13   expensive, because you're necessarily relying on he said/she

  14   said, basically.      And so we're going to have to get testimony

  15   from every person that spoke in connection with the events

  16   leading up to the transaction.         So we think the second prong

  17   will be easily met, Your Honor.

  18         And then the last prong -- the first prong, if you will --

  19   is the likelihood of success on the merits.           We think that the

  20   settlement, the economic recovery that's up on the screen

  21   here, which ultimately will be less than five percent of the

  22   claimed amount, in and of itself shows that the settlement is

  23   consistent with the Debtor's perception of its likely success

  24   on the merits.     I'm certain that HarbourVest disagrees, but

  25   that's okay, we're here today and that's the Debtor's view,




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   1   and the Court is here to assess the Debtor's business judgment

   2   and whether the Debtor has properly analyzed the issues and

   3   gone through the process.        And the evidence will show

   4   conclusively that it will.        That it has.

   5         Mr. Seery will testify at some length as to the risks that

   6   he saw.    I think that you'll hear counsel for Mr. Dondero ask

   7   both Mr. Seery and Mr. Pugatch a number of questions designed

   8   to elicit testimony about this defense or that defense.              And

   9   it's a little -- it's a little ironic, Your Honor, because,

  10   really, every defense that they're going to try to suggest to

  11   the Court was a valid defense is a defense that the Debtor

  12   considered.     In fact, it's, you know, it's a little spooky,

  13   how they've -- how they've been able to identify kind of the

  14   arguments that the Debtor had already considered in the

  15   prosecution of their objections here.

  16         But be that as it may, the evidence will conclusively show

  17   that the Debtor acted consistent with its fiduciary duties,

  18   acted in the best interests of the Debtor's estate, acted

  19   completely appropriately here in getting yet another very

  20   solid achievement for the Debtor, leaving very few claims that

  21   are disputed at this point, all but one of which I believe are

  22   in the hands of Mr. Dondero.

  23         So, that's what we think that the evidence will show.

  24         I do want to express my appreciation to Mr. Kane for

  25   reflecting on the arguments that we made with respect to the




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   1   ability of the Debtor to engage in the transfer or the

   2   acquisition of the asset from HarbourVest.           I would -- I would

   3   respectfully request that we just enter into a short

   4   stipulation on the record reflecting that the Debtor's

   5   acquisition of HarbourVest's interests in HCLOF is compliant

   6   with all of the applicable agreements between the parties.

   7         And with that, Your Honor, I look forward to putting Mr.

   8   Seery on the stand and presenting the Debtor's case.

   9               THE COURT:    All right.    Other opening statements?

  10             OPENING STATEMENT ON BEHALF OF CLO HOLDCO, LTD.

  11               MR. KANE:    Yes, Your Honor.     Sorry.    John Kane on

  12   behalf of CLO Holdco.

  13         In response to Mr. Morris, I'm not going to enter into a

  14   stipulation on behalf of my client, but the Debtor is

  15   compliant with all aspects of the contract.            We withdrew our

  16   objection, and we believe that's sufficient.

  17               THE COURT:    All right.    Well, I'm content with that.

  18         Other opening statements?

  19                OPENING STATEMENT ON BEHALF OF HARBOURVEST

  20               MS. WEISGERBER:     Your Honor, Erica Weisgerber on

  21   behalf of HarbourVest.

  22         HarbourVest joins in Mr. Morris's comments in support of

  23   the settlement, and we believe that the question of whether

  24   the settlement between HarbourVest and the Debtor satisfies

  25   the Rule 9019 standard is not even a close one.




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   1         Some Objectors have made arguments about the merits of

   2   HarbourVest's claims, which is why we're here.            As Your Honor

   3   will hear this morning, HarbourVest has meaningful and

   4   meritorious claims against Highland, but made the business

   5   decision to avoid the time, expense, and inherent risk of

   6   litigation in the interest of preserving value, both for

   7   itself and for the estate.

   8         Today, Michael Pugatch, a managing director of

   9   HarbourVest, will testify before the Court.           He'll explain

  10   that HarbourVest claims against Highland arise out of certain

  11   misrepresentations and omissions by Highland to HarbourVest in

  12   connection with HarbourVest's purchase of an interest in

  13   HCLOF, one of Highland's managed funds.          Those

  14   misrepresentations and omissions, as Your Honor will hear,

  15   relate to Highland's litigation with its former employee,

  16   Joshua Terry, and transfers that were conducted in 2017 to

  17   strip Acis of value and prevent Mr. Terry from collecting on

  18   an $8 million judgment.

  19         Mr. Pugatch will further explain that HarbourVest would

  20   not have invested in HCLOF had it known the underlying facts

  21   about those Acis transfers.

  22         Mr. Pugatch will also testify that not only did

  23   HarbourVest not know about those transfers, it learned about

  24   those transfers when it was accused of orchestrating the

  25   transfers itself in the Acis bankruptcy.           Your Honor will hear




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   1   that the Acis trustee sought extensive discovery from

   2   HarbourVest after numerous accusations that HarbourVest was

   3   behind the transfers.

   4         Mr. Pugatch will also testify that Highland charged legal

   5   fees for itself and its affiliates to HCLOF, essentially

   6   forcing HCLOF to fund the litigation involving the Acis

   7   bankruptcy and Mr. Terry.

   8         In total, HarbourVest's claims for damages are over a

   9   hundred million dollars in investment-related losses, lost

  10   profits, legal fees inappropriately charged to HCLOF, its own

  11   legal fees.     And that's before interest or trebling damages.

  12         But HarbourVest stands ready to litigate its claims, but

  13   following hard-fought and extensive negotiations with the

  14   Debtors, the parties reached the settlement that's now before

  15   the Court.     Mr. Pugatch's testimony regarding the strong

  16   factual bases for HarbourVest's claims against Highland and

  17   its recoverable damages will further underscore the risks that

  18   the Debtors faced if they chose to litigate these claims, and

  19   why this settlement is fair, equitable, and in the best

  20   interest of the estate.

  21               THE COURT:    All right.    Thank you, Counsel.

  22         Other opening statements?

  23      OPENING STATEMENT ON BEHALF OF GET GOOD AND DUGABOY TRUSTS

  24               MR. DRAPER:    Your Honor, this is Douglas Draper on

  25   behalf of one of the Objectors.         I'd like to just make a few




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   1   comments with respect to what I've heard and what the Court is

   2   going to hear.

   3         The first issue I'd like to address is the comment by

   4   counsel for the Debtor that no other party has objected.              The

   5   9019 motion is one of the issues that this Court has to rule

   6   on, whether or not there was an objection or not.            So the fact

   7   that this may be -- bankruptcy is not a popularity contest and

   8   not an issue of who votes for what and doesn't vote.             This,

   9   along with the 1129(a) tests, are clearly within your

  10   province, and you need to listen carefully because you'll have

  11   to make your own independent analysis whether my objection is

  12   correct or incorrect.

  13         Two other points I'd like to make that I think are very

  14   salient.    Number one is, if you look at the Debtor's

  15   disclosure statement, it basically took the position that the

  16   HarbourVest claim is of little or no value.           And lo and

  17   behold, thirty days later, there's a settlement that brings

  18   about a significant recovery to HarbourVest.           The timing is

  19   interesting, and I think the Court needs to pay careful

  20   attention to what transpired between the two dates.

  21         And then the last point I'd like to make is, as you listen

  22   to the evidence, and what I learned abundantly clear from

  23   hearing the depositions, is that the claim of HarbourVest, if

  24   there is a claim at all, is probably one hundred percent --

  25   should be subordinated in that it appears to arise out of the




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   1   purchase or sale of a security.         And, again, I would ask the

   2   Court to listen carefully to this because that's what it

   3   appears to be and that's what the evidence is going to show to

   4   the Court.

   5               THE COURT:    All right.    Mr. Draper, let me clarify

   6   something I'm not sure if I heard you say or not.            Were you

   7   saying that the Court still needs to drill down on the issue

   8   of whether the Debtor can acquire HarbourVest's interest in

   9   HCLOF?

  10               MR. DRAPER:    No.

  11               THE COURT:    Okay.   I was confused whether you were

  12   saying I needed to take an independent look at that, now that

  13   the objection has been withdrawn of Holdco.           You are not

  14   pressing that issue?

  15               MR. DRAPER:    No, I am not.     Basically, I think it's

  16   the fairness of the settlement.         I think the transferability

  17   of the interest is separate and apart from the fairness of the

  18   settlement itself.       I think the fairness -- the

  19   transferability was a contractual issue between two parties

  20   that the Court does not have to drill down on.

  21               THE COURT:    All right.    I have another question for

  22   you.   I want to clarify your client's standing.           Tell me --

  23   I'm looking through a chart I printed out a while back.              I

  24   guess Dugaboy Investment Trust filed a couple of proofs of

  25   claim; is that right?




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   1               MR. DRAPER:    Yes.

   2               THE COURT:    Okay.   What --

   3               MR. DRAPER:    And objections are pending.

   4               THE COURT:    Pardon?

   5               MR. DRAPER:    Objections to those claims are pending

   6   before the Court, Your Honor, --

   7               THE COURT:    Okay.

   8               MR. DRAPER:    -- and have not been litigated.

   9               THE COURT:    And what about Get Good Trust?

  10               MR. DRAPER:    Get Good Trust has a proof of claim also

  11   that objections are pending to.         Pending.

  12               THE COURT:    Okay.   I don't want to get too

  13   sidetracked here, but I know standing was -- was mentioned as

  14   a legal argument today.       What is the basis for those proofs of

  15   claim?

  16               MR. DRAPER:    The first one is, with respect to the

  17   proof of claim for Dugaboy, there is an investment that

  18   Dugaboy made that was then funneled, we believe, up to the

  19   Debtor.    And the -- the loan that exists, we believe is a

  20   Debtor loan, as opposed to a loan to the entity that we made

  21   the loans to.

  22         And, again, it's a matter that the Court is going to hear.

  23   The claim may or may not be allowed.          It has not been

  24   disallowed yet.

  25         The second part to the Dugaboy ownership is we own an




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   1   interest in the Debtor.       And so we are, in fact, a party in

   2   interest.

   3               THE COURT:     Okay.

   4               MR. DRAPER:     It may be a small interest, but it is an

   5   interest.

   6               THE COURT:     It has a limited partnership interest in

   7   the Debtor?

   8               MR. DRAPER:     Yes.

   9               THE COURT:     Is that correct?

  10               MR. DRAPER:     Yes.

  11               THE COURT:     Okay.   Well, I'll move forward.       Thank

  12   you.

  13          Does that cover -- any other opening statements?           I think

  14   that covered everyone who was -- who filed some sort of

  15   pleading today.      No.

  16               MR. WILSON:     Your Honor, John Wilson on behalf of --

  17               THE COURT:     I'm sorry.   I'm sorry.

  18               MR. WILSON:     -- Mr. Dondero.

  19               THE COURT:     I missed Mr. Dondero's counsel.        I knew

  20   we had visited at some point this morning.           I just got

  21   confused there.      Go ahead, Mr. Wilson.

  22               MR. WILSON:     No problem, Your Honor.      I was just

  23   going to say that we will reserve our comments until after the

  24   conclusion of the testimony.

  25               THE COURT:     All right.   Very well.




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   1         Mr. Morris, you may call your first witness.

   2               MR. MORRIS:    Thank you, Your Honor.       Before I do,

   3   just two very, very quick points.

   4               THE COURT:    Okay.

   5               MR. MORRIS:    To be clear, Dugaboy's interest in the

   6   Debtor is 0.1866 percent.         Less than two-tenths of one

   7   percent.

   8         Secondly, the argument that Mr. Draper just made with

   9   respect to subordination is one that appears in nobody's

  10   papers.    And, in fact, not only doesn't it appear in anybody's

  11   papers, but Mr. Dondero, I believe, specifically took issue

  12   with the fact that a portion of the consideration that

  13   HarbourVest would receive would be on a subordinated basis,

  14   and he would -- and I think he took the position there is no

  15   basis to give them a subordinated claim.

  16         So, I just wanted to point those items out to the Court,

  17   not that I think either one makes a large difference today,

  18   but I do want to deal with the facts.

  19               THE COURT:    Thank you.

  20               MR. MORRIS:    The Debtor would call -- you're welcome,

  21   Your Honor.     The Debtor calls Mr. James Seery.

  22               THE COURT:    All right.    Mr. Seery, welcome back to

  23   virtual court.     If you could say, "Testing, one, two" so I can

  24   see you and swear you in.

  25               MR. SEERY:    Testing, one, two.




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   1                 THE COURT:    All right.   I heard you but I'm not yet

   2   seeing your video.         Is your video turned on?

   3                 MR. SEERY:    Video is on.   Yes, Your Honor.

   4                 THE COURT:    Okay.   I see you now.    Please raise your

   5   right hand.

   6                    JAMES SEERY, DEBTOR'S WITNESS, SWORN

   7                 THE COURT:    Thank you.   Mr. Morris?

   8                 MR. MORRIS:    Thank you, Your Honor.

   9                                DIRECT EXAMINATION

  10   BY MR. MORRIS:

  11   Q     Good morning, Mr. Seery.       Can you hear me?

  12   A     I can.    Thank you, Mr. Morris.

  13   Q     Okay.    Let's just cut to the chase here.        Are you familiar

  14   with HarbourVest's claims filed against the Debtor?

  15   A     I am, yes.

  16   Q     And did you personally review them?

  17   A     I did, yes.

  18   Q     Do you recall that over the summer the Debtor objected to

  19   HarbourVest's claim?

  20   A     Yes, we did.

  21   Q     Why -- can you explain to the judge why Harbour -- why the

  22   Debtor objected to HarbourVest's claim last summer?

  23   A     Sure.    The HarbourVest claims, I believe there are about

  24   six of them, initially were filed, and they were -- they were

  25   relatively vague in terms of what the specifics of the claims




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   1   were.

   2         So, we saw the claims but didn't, frankly, pay a lot of

   3   attention to the underlying transaction that was referred to

   4   in the proofs of claim and the losses that HarbourVest had

   5   claimed to suffer -- to suffer with respect to their purchase

   6   of securities related to HCLOF and the damages caused by the

   7   Acis case.     So we filed a pretty pro forma objection.          I

   8   believe it was a simply stated objection that we didn't have

   9   any record that there was anything in the Debtor's books and

  10   records that they had a valid claim for any amount against the

  11   Debtor.

  12   Q     Are you aware that HarbourVest subsequently filed a

  13   response to the Debtor's objection to their claims?

  14   A     Yes.   Yes, I am aware.

  15   Q     And did you familiarize yourself with that particular

  16   response?

  17   A     I did indeed.     It was a pretty extensive response, really

  18   developing the full panoply of their claims, which included

  19   claims for expenses relating to the Acis case, which

  20   HarbourVest viewed as being improperly charged to HCLOF by its

  21   manager, which is effectively Highland.          Those expenses,

  22   HarbourVest took the view, were excessive, had nothing to do

  23   with the investment, and were simply a pursuit of a personal

  24   vendetta against Mr. Terry and his interests by Mr. Dondero,

  25   and using HCLOF's money to actually pursue those interests.




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   1         In addition, and this was the first time we saw that,

   2   HarbourVest brought forth its claims that it was entitled to

   3   effectively rescind the transaction.          And I say rescind the

   4   transaction:     In security parlance, they claim that they were

   5   induced by fraud, I think as most are -- to enter into the

   6   transaction.

   7         As most are aware, the liability limitations in the OMs

   8   and the exculpation in the documents are pretty broad, and

   9   HarbourVest's position was that they weren't going to be

  10   subject to those limitations because the actual transaction

  11   that they entered into was a fraud on them, designed by Mr.

  12   Dondero, Mr. Ellington, and the Highland team.

  13   Q     All right.    Let's talk about your understanding, the

  14   Debtor's understanding of the factual background to

  15   HarbourVest's claim.       What is your understanding of the

  16   investment that HarbourVest made?

  17   A     Well, HarbourVest made an investment in the Highland CLO

  18   business.    The Highland CLO business was -- was Acis.           And

  19   effectively, the business had been separated, but in name

  20   only.    Acis was just a shell, with a few partners --

  21   obviously, Mr. Terry as well -- but it was all Highland

  22   personnel doing all the work.

  23         And what they were trying to do with Acis was, in essence,

  24   resuscitate a business that had been in a bit of a decline

  25   from its pre-crisis heyday.




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